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        IRA KLEIMAN (ESTATE OF DAVID KLEIMAN), ET AL. vs CRAIG WRIGHT
        IRA KLEIMAN on 04/08/2019                                                 ·

  ·1· · · · · · · · UNITED STATES DISTRICT COURT

  ·2· · · · · · · · SOUTHERN DISTRICT OF FLORIDA

  ·3· · · · · · · · ·CASE NO. 9:18-cv-80176-BB/BR

  ·4
  · ·   ·IRA KLEIMAN, as the personal
  ·5·   ·representative of the Estate of
  · ·   ·David Kleiman, and W&K Info Defense
  ·6·   ·Research, LLC

  ·7
  · ·   · · · · · ·Plaintiffs,
  ·8
  · ·   ·-vs-
  ·9
  · ·   ·CRAIG WRIGHT
  10
  · ·   · · · · · ·Defendant.
  11

  12· ·* * * * * * * * * * * * * * * * * * *

  13· ·VIDEOTAPED DEPOSITION OF IRA KLEIMAN

  14· ·DATE TAKEN: April 8, 2019

  15· ·TIME: 10:10 - 2:55 p.m.

  16· ·PLACE:100 S.E. 2nd Street

  17· ·Miami, Florida 33131

  18
  · · ·TAKEN BEFORE: RICK E. LEVY, RPR, FPR
  19· · · · · · · · ·AND NOTARY PUBLIC

  20

  21· ·* * * * * * * * * * * * * * * * * * *

  22      Defendant's Designations
                          g
          Plaintiffs' Objections
  23      Plaintiffs' Counters
  24

  25


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  ·1· ·APPEARANCES:

  ·2· ·On behalf of the Plaintiff:

  ·3·   ·   ·   ·   KYLE ROCHE, ESQUIRE
  · ·   ·   ·   ·   BOIES, SCHILLER & FLEXNER LLP
  ·4·   ·   ·   ·   333 Main Street
  · ·   ·   ·   ·   Armonk, NY 10504
  ·5
  · ·   ·   ·   ·   VEL FREEDMAN, ESQUIRE
  ·6·   ·   ·   ·   ANDREW BRENNER, ESQUIRE
  · ·   ·   ·   ·   BOIES, SCHILLER & FLEXNER LLP
  ·7·   ·   ·   ·   100 S.E. 2nd Street
  · ·   ·   ·   ·   Suite 2800
  ·8·   ·   ·   ·   Miami, Florida 33131

  ·9

  10· ·On behalf of the Defendant:

  11
  · ·   ·   ·   ·   BRYAN PASCHAL, ESQUIRE
  12·   ·   ·   ·   AMANDA MCGOVERN, ESQUIRE
  · ·   ·   ·   ·   ANDRES RIVERO, ESQUIRE (VIA PHONE)
  13·   ·   ·   ·   RIVERO MESTRE, LLP
  · ·   ·   ·   ·   2525 Ponce de Leon Boulevard
  14·   ·   ·   ·   Suite 1000
  · ·   ·   ·   ·   Coral Gables, Florida 33134
  15

  16

  17· ·Also Present: Rene Lavandera, The Videographer

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  ·1· · · · · · · · · · · · · ·-· - -
  · · · · · · · · · · · · · · I N D E X
  ·2· · · · · · · · · · · · · ·-· - -

  ·3· ·WITNESS:· · · ·DIRECT· · CROSS· ·REDIRECT· ·RECROSS
  · · ·IRA KLEIMAN
  ·4· ·BY MR. PASCHAL· ·5

  ·5· · · · · · · · · · · · · ·-· - -
  · · · · · · · · · · · · ·E X H I B I T S
  ·6· · · · · · · · · · · · · ·-· - -

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  ·1· · · · · · · · · · P R O C E E D I N G S
  ·2· · · · · · · · · · · · · · - - -
  ·3· · · · Deposition taken before Rick E. Levy,
  ·4· ·Registered Professional Reporter and Notary Public
  ·5· ·in and for the State of Florida at Large, in the
  ·6· ·above cause.
  ·7· · · · · · · · · · · · · ·-· -                    -
  ·8· · · · · · ·THE VIDEOGRAPHER:· Good morning.· We are now
  ·9· · · · on the record in the matter of Kleiman, Ira and the
  10· · · · estate of David Kleiman vs. Wright, Craig.· Today
  11· · · · is April 8th 2019.· The time is now 10:10 a.m.
  12· · · · · · ·This is the video recorded deposition of
  13· · · · Mr. Ira Kleiman being taken here at 100 Southeast
  14· · · · 2nd Street, Suite 2800, Miami, Florida 33131.· My
  15· · · · name is Rene Lavandera representing First Choice
  16· · · · Reporting located in Orlando, Florida.
  17· · · · · · ·The court reporter this morning is Mr. Rick
  18· · · · Levy.· Will all counsel present please introduce
  19· · · · yourselves for the record?
  20· · · · · · ·MR. PASCHAL:· Bryan Paschal for Dr. Craig
  21· · · · Wright and Amanda McGovern for Dr. Craig Wright as
  22· · · · well.
  23· · · · · · ·MR. RIVERO:· Andres Rivero on the telephone
  24· · · · also representing Dr. Craig Wright.
  25· · · · · · ·MR. ROCHE:· Kyle Roche of Boies, Schiller &


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  ·1· · · · Flexner representing plaintiffs.
  ·2· · · · · · ·MR. FREEDMAN:· Vel Freedman, Boies, Schiller
  ·3· · · · representing plaintiff.
  ·4· · · · · · ·THE VIDEOGRAPHER:· Mr. Court reporter, you may
  ·5· · · · swear in the witness.
  ·6· ·Thereupon,
  ·7· · · · · · · · · · · · (Ira Kleiman)
  ·8· · · · · · ·having been first duly sworn or affirmed,
  ·9· ·was examined and testified as follows:
  10· · · · · · · · · · · DIRECT EXAMINATION
  11· · · · · · ·THE WITNESS:· Yes.
  12· ·BY MR. PASCHAL:
    · · · · Q.· ·Could you please state your full name?
  13·
    · · · · A.· ·Ira Kleiman.
  14·
  15· · · · Q.· ·Ira, have you ever been deposed before?
  16· · · · A.· ·No.
  17· · · · Q.· ·I'll go over a few basics how a deposition is
  18· ·going to work today.· We need you to provide clear, oral
  19· ·responses so the court reporter, this is the court
  20· ·reporter, can hear you.· Please keep in mind the court
  21· ·reporter can only take down one person at a time so only
  22· ·one person can talk at a time.· Do you understand?
  23· · · · A.· ·Yes.
  24· · · · Q.· ·If at any time I ask you a question that you
  25· ·do not understand please let me know right away


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  ·1· ·otherwise I'll assume that you understood the question;
  ·2· ·okay?
  ·3· · · · A.· ·Yes.
  ·4· · · · Q.· ·If at any point you remember something or want
  ·5· ·to clarify an answer you previously gave please do so.
  ·6· ·You understand?
  ·7· · · · A.· ·Yes.
  ·8· · · · Q.· ·If you need to take a break at any point just
  ·9· ·let me know, okay?
  10· · · · A.· ·(Indicating).
  11· · · · Q.· ·Is there any reason preventing you from giving
  12· ·your best deposition testimony today?
  13· · · · A.· ·No.
  14· · · · Q.· ·Are you currently on any prescribed
  15· ·medication?
  16· · · · A.· ·No.
  17· · · · Q.· ·Is there any medical condition or other reason
  18· ·why it might be difficult for you understand my
  19· ·questions today?
  20· · · · A.· ·No.
  21· · · · · · ·MR. PASCHAL:· This is going to be Exhibit 1.
  22· · · · · · ·(Defendant's Exhibit No. 1 was
  23· · · · · · ·marked for identification.)
  24· ·BY MR. PASCHAL:
  25· · · · Q.· ·If you turn to page two of that exhibit this


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  ·1· ·is the topics that you're to -- you're here for today in
  ·2· ·this deposition.
  ·3· · · · A.· ·Okay.
  ·4· · · · Q.· ·When did you first see this list?
  ·5· · · · A.· ·When did I first receive this list?
  ·6· · · · Q.· ·When did you review this list?
  ·7· · · · A.· ·I believe my attorneys sent it to me maybe --
  ·8· · · · · · ·MR. FREEDMAN:· One second.· Don't discuss
  ·9· · · · anything that we spoke with you.· If you can answer
  10· · · · the question by just giving a date, good.· If not
  11· · · · you can't recall you can't recall.
  12· · · · · · ·THE WITNESS:· I don't remember exactly.
  13· ·BY MR. PASCHAL:
  14· · · · Q.· ·Did you see this list before today?
  15· · · · A.· ·Yes.
  16· · · · Q.· ·Are you prepared to discuss these topics
  17· ·today?
  18· · · · A.· ·Yes.
  19· · · · Q.· ·What did you do to prepare?
  20· · · · · · ·MR. FREEDMAN:· Again don't discuss anything
  21· · · · you spoke about with your attorneys but to the
  22· · · · extent you've done preparation you should answer
  23· · · · the question.
  24· · · · · · ·THE WITNESS:· I haven't done anything to
  25· · · · prepare.


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  ·1· · · · · · ·MS. MCGOVERN:· Can you speak up a little bit?
  ·2· · · · · · ·THE WITNESS:· Yes, I haven't done anything.
  ·3· ·BY MR. PASCHAL:
  ·4· · · · Q.· ·Did you look at any documents?
  ·5· · · · A.· ·I reviewed some of my old e-mails, yes.
  ·6· · · · Q.· ·About how many e-mails did you review?
  ·7· · · · A.· ·I don't know.
  ·8· · · · Q.· ·You met with your attorneys, right?
  ·9· · · · A.· ·Yes.
  10· · · · Q.· ·What's your date of birth?
  11· · · · A.· ·                       1970.
  12· · · · Q.· ·Where were you born?
  13· · · · A.· ·New Jersey.
  14· · · · Q.· ·When did you move to Florida?
  15· · · · A.· ·1975.
  16· · · · Q.· ·Have you always lived in Palm Beach Gardens?
  17· · · · A.· ·No.
  18· · · · Q.· ·Where else did you live?
  19· · · · A.· ·Hollywood, Florida.
  20· · · · Q.· ·How long did you live in Hollywood, Florida?
  21· · · · A.· ·Maybe two or three years.
  22· · · · Q.· ·Is that right after you moved from Jersey?
  23· · · · A.· ·Yes -- no.· We went from New Jersey to
  24· ·California for I think just about one year and then
  25· ·Hollywood.


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  ·1· · · · Q.· ·So when did you move to Palm Beach Gardens?
  ·2· · · · A.· ·Probably around 1978.
  ·3· · · · Q.· ·From 1998 -- I show that you purchased the
  ·4· ·home in 1998.· Was that your first home that you
  ·5· ·purchased?
  ·6· · · · A.· ·Yes.
  ·7· · · · Q.· ·Then you have that home until 2014 and it was
  ·8· ·located at                                      in Palm Beach Gardens; is
  ·9· ·that right?
  10· · · · A.· ·Yes.
  11· · · · Q.· ·2014 through today you have a home that's
  12· ·located at                                in Palm Beach Gardens; is
  13· ·that correct?
  14· · · · A.· ·Yes.
  15· · · · Q.· ·How long have you been married?
  16· · · · A.· ·Since 2009.
  17· · · · Q.· ·What is your wife's name?
  18· · · · A.· ·Ju.
  19· · · · Q.· ·Ju Kleiman?
  20· · · · A.· ·Yes.
  21· · · · Q.· ·Did she go by the name of Sasithorn?
  22· · · · A.· ·Yes.
  23· · · · Q.· ·When did she change her name?
  24· · · · A.· ·I guess Sasithorn would be her official Thai
  25· ·name.· Ju is what she goes by in the States.


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 ·1· · · · Q.· ·That's her legal name?
 ·2· · · · A.· ·I suppose so.· Sasithorn.
 ·3· · · · Q.· ·Sasithorn is her legal name?
 ·4· · · · A.· ·Yes.
 ·5· · · · Q.· ·What is your wife's occupation?
 ·6· · · · A.· ·She doesn't work.
 ·7· · · · Q.· ·You have two other siblings; right?
 ·8· · · · A.· ·Yes, I had two siblings, yes.
 ·9· · · · Q.· ·Was that Dave and Leonard Kleiman?
 10· · · · A.· ·Yes.
 11· · · · Q.· ·How did Leonard pass away?
 12· · · · A.· ·I believe a drug overdose.
 13· · · · Q.· ·Did you speak with him often?
 14· · · · A.· ·Not too often, no.
 15· · · · Q.· ·Do you know why Dave excluded Leonard from his
 16· ·will?
 17· · · · A.· ·They were --
 18· · · · · · ·MR. FREEDMAN:· Hold on, you're outside the
 19· · · · scope of your deposition unless you can tell me
 20· · · · what topic you're tied to then I'm happy to let you
 21· · · · proceed.· Otherwise I think you're outside the
 22· · · · scope.
 23· · · · · · ·MR. PASCHAL:· You're going to instruct him not
 24· · · · to answer?
 25· · · · · · ·MR. FREEDMAN:· Unless you tell me what topic,


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 ·1· · · · yes.
 ·2· · · · · · ·MR. PASCHAL:· I think this ties into location
 ·3· · · · of evidence of the case.· I think that was a
 ·4· · · · general order from the Court.
 ·5· · · · · · ·MR. FREEDMAN:· How does the reason Dave
 ·6· · · · Kleiman did or did not exclude one of his brothers
 ·7· · · · tie into the --
 ·8· · · · · · ·MR. PASCHAL:· This is my deposition.· I'm
 ·9· · · · asking him.
 10· · · · · · ·MR. FREEDMAN:· Don't answer the question.
 11· ·BY MR. PASCHAL:
 12· · · · Q.· ·Have you ever been sued?
 13· · · · A.· ·No.
 14· · · · Q.· ·Have you ever sued someone or an entity
 15· ·excluding this lawsuit?
 16· · · · A.· ·Yes.
 17· · · · Q.· ·What lawsuit was that?
 18· · · · A.· ·A case against Computer Forensics, LLC.
 19· · · · Q.· ·What is currently happening in that case?
 20· · · · A.· ·It's still ongoing.
 21· · · · Q.· ·There's another lawsuit here it might not be
 22· ·you it says Steve Kleiman vs. Metropolitan Health
 23· ·Networks?
 24· · · · A.· ·Not me.
 25· · · · Q.· ·Sometimes you go by your middle name Steven?


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 ·1· · · · A.· ·Yes.
 ·2· · · · Q.· ·Is there a reason you --
 ·3· · · · A.· ·Certain amount of years I went by Steve and
 ·4· ·earlier people that know me from a younger age always
 ·5· ·call me Ira.
 ·6· · · · Q.· ·So it's interchangeable?
 ·7· · · · A.· ·Yes.
 ·8· · · · Q.· ·Have you ever been charged or accused of a
 ·9· ·crime?
 10· · · · A.· ·No.
 11· · · · Q.· ·What schools have you attended?
 12· · · · A.· ·Palm Beach Gardens High School and Palm Beach
 13· ·Community College.
 14· · · · Q.· ·Was the community college, that was the last
 15· ·school attended?
 16· · · · A.· ·Yes.
 17· · · · Q.· ·What degrees and certifications do you have?
 18· · · · A.· ·I just have a high school diploma.
 19· · · · Q.· ·So you didn't graduate from the community
 20· ·college?
 21· · · · A.· ·No.
 22· · · · Q.· ·Did you get any certifications from the
 23· ·community college?
 24· · · · A.· ·No.
 25· · · · Q.· ·Do you have any professional licenses?


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 ·1· · · · A.· ·No.
 ·2· · · · Q.· ·What is your current profession?
 ·3· · · · A.· ·Self employed, web site designer, affiliate
 ·4· ·marketing.
 ·5· · · · Q.· ·What type of web sites do you design?
 ·6· · · · A.· ·Basically I just design my own type of web
 ·7· ·sites that are related to affiliate marketing.
 ·8· · · · Q.· ·What's affiliate marketing?
 ·9· · · · A.· ·Like take Amazon as an example.· Put up a web
 10· ·site and you advertise other people's products and if
 11· ·someone clicks through you would -- you receive a
 12· ·commission when someone purchases.
 13· · · · Q.· ·So do you typically do work for companies or
 14· ·individuals?
 15· · · · A.· ·Just myself.
 16· · · · Q.· ·I guess the way that you get -- how do you
 17· ·charge people, it's by the clicking?
 18· · · · A.· ·I receive commission.· That's it.
 19· · · · Q.· ·Do you work from home or an office?
 20· · · · A.· ·From home.
 21· · · · Q.· ·Is that your primary source of income?
 22· · · · A.· ·And trading stocks.
 23· · · · Q.· ·How much money more or less do you make from
 24· ·trading stocks?
 25· · · · · · ·MR. FREEDMAN:· Wait, stop.· You're outside the


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 ·1· · · · scope of your deposition.· Instruct him not to
 ·2· · · · answer unless you tie it to a topic.
 ·3· · · · · · ·MR. PASCHAL:· These are background questions
 ·4· · · · trying to find out.
 ·5· · · · · · ·MR. FREEDMAN:· Don't answer the question.
 ·6· · · · · · ·MR. PASCHAL:· I can't find out about his
 ·7· · · · professional --
 ·8· · · · · · ·MR. FREEDMAN:· Not unless you tie it to topic
 ·9· · · · you disclosed.· Tie it to a topic and I'll give it
 10· · · · to you.
 11· · · · · · ·MR. PASCHAL:· Are you instructing him not to
 12· · · · answer?
 13· · · · · · ·MR. FREEDMAN:· Yes, unless you tie it to a
 14· · · · topic.
 15· ·BY MR. PASCHAL:
 16· · · · Q.· ·How much -- what was your income for your
 17· ·affiliate marketing?
 18· · · · · · ·MR. FREEDMAN:· Same instruction.
 19· · · · · · ·MR. PASCHAL:· Not to answer?
 20· · · · · · ·MR. FREEDMAN:· Don't answer unless you tie it
 21· · · · to a topic.
 22· ·BY MR. PASCHAL:
 23· · · · Q.· ·From 2012 to today relatively what was your
 24· ·income?
 25· · · · · · ·MR. FREEDMAN:· Again don't answer unless he


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 ·1· · · · ties it to a topic.
 ·2· ·BY MR. PASCHAL:
 ·3· · · · Q.· ·What was your previous occupations?
 ·4· · · · A.· ·The last time I worked for somebody I think it
 ·5· ·was for a company called Active Frame.· I was also doing
 ·6· ·web design for them.· Prior to that just like part-time
 ·7· ·jobs, florist delivery, stock person at pharmacy.· For
 ·8· ·the most part I've pretty much always worked for myself.
 ·9· · · · · · ·MR. FREEDMAN:· Just one housekeeping matter.
 10· · · · I forgot to do this before we started we're going
 11· · · · the mark the whole deposition transcript
 12· · · · confidential and then we'll go through it obviously
 13· · · · with the timeframe.· For now everything is
 14· · · · confidential.
 15· · · · · · ·MS. MCGOVERN:· We disagree with that position.
 16· · · · · · ·MR. FREEDMAN:· The same for Dr. Wright just so
 17· · · · you know.
 18· · · · · · ·MS. MCGOVERN:· I think it was a different
 19· · · · situation.
 20· · · · · · ·MR. FREEDMAN:· Is it your position that you'll
 21· · · · disclose things from the deposition immediately?
 22· · · · · · ·MS. MCGOVERN:· Not taking any position with
 23· · · · respect to Dr. Wright's deposition.
 24· · · · · · ·MR. FREEDMAN:· I need to know if you intend to
 25· · · · disclose things from the deposition immediately or


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 ·1· · · · if you're going to give me time to dictate a
 ·2· · · · report?
 ·3· · · · · · ·MS. MCGOVERN:· Absolutely, no.· Would never do
 ·4· · · · that.· Not going to disclose anything.· I don't
 ·5· · · · think a blanket confidential stamp over the
 ·6· · · · plaintiff's deposition is appropriate in this case.
 ·7· · · · Just stating that for the record.
 ·8· · · · · · ·MR. FREEDMAN:· Okay.· Just so it's clear --
 ·9· · · · the record is clear I'm saying it's temporary.
 10· · · · We're just saying don't disclose anything, we'll go
 11· · · · through it and then we'll --
 12· · · · · · ·MR. PASCHAL:· That's fine.· I want to go back
 13· · · · to the questions you told him not to answer.· We
 14· · · · did ask for his technical experience and how much
 15· · · · money he was making off this technical experience.
 16· · · · · · ·MR. FREEDMAN:· Disagree with that.· Take that
 17· · · · up with the judge.
 18· · · · · · ·MR. PASCHAL:· So you did not object in your
 19· · · · e-mail but you're going to tell him not to --
 20· · · · instruct him?
 21· · · · · · ·MR. FREEDMAN:· Don't agree this goes to the
 22· · · · technical experience.· The amount of money they
 23· · · · make doesn't go to technical experience.
 24· ·BY MR. PASCHAL:
 25· · · · Q.· ·Have you ever been fired from a job?


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 ·1· · · · A.· ·No.
 ·2· · · · Q.· ·Have you ever been asked to resign from a job?
 ·3· · · · A.· ·No.
 ·4· · · · Q.· ·I want to ask you about a few companies you've
 ·5· ·been involved with.· What was the business purpose of
 ·6· ·The Gigabyte Connection?
 ·7· · · · A.· ·I set that company up a long time ago.                    I
 ·8· ·don't even remember what I was doing with that.· I'm not
 ·9· ·even sure I actually used it or not.
 10· · · · Q.· ·How long ago did you set it up?
 11· · · · A.· ·I think it was in the '90s.
 12· · · · Q.· ·Do you know how long it lasted?
 13· · · · A.· ·No, I don't remember.
 14· · · · Q.· ·Did you set it up with any business partners?
 15· · · · A.· ·No, it was my own company.· Probably going to
 16· ·do some kind of computer related type of business with
 17· ·it.
 18· · · · Q.· ·So Future World Shopper, Inc.· What was the
 19· ·business purpose of that company?
 20· · · · A.· ·I intended on setting up like an online
 21· ·portal.· I guess at the time I think they only had like
 22· ·BBSs.· I don't think the internet existed and I was
 23· ·thinking of creating a portal where people could log
 24· ·into it and purchase products.· I guess similar to what
 25· ·people do with Amazon today.· It never got off the


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 ·1· ·ground.
 ·2· · · · Q.· ·What about Hackers, Inc.?
 ·3· · · · A.· ·That wasn't my company.· That was my
 ·4· ·brother's.
 ·5· · · · Q.· ·Which brother?
 ·6· · · · A.· ·David.
 ·7· · · · Q.· ·Did you work with Dave in that company?
 ·8· · · · A.· ·No.
 ·9· · · · Q.· ·Do you know what was the purpose of that
 10· ·company?
 11· · · · A.· ·I think he was doing some kind of computer
 12· ·consulting with a partner.
 13· · · · Q.· ·Do you know who that partner was?
 14· · · · A.· ·I think his name was Scott Howell.
 15· · · · Q.· ·What's the status of that company?
 16· · · · A.· ·That was closed many years -- that was like
 17· ·early '90s.
 18· · · · Q.· ·It was closed?
 19· · · · A.· ·Yes.
 20· · · · Q.· ·What about Steve's Web Design?
 21· · · · A.· ·I don't think I ever did anything with it.
 22· · · · Q.· ·You just created it?
 23· · · · A.· ·Yes.
 24· · · · Q.· ·Did you have any partners in that?
 25· · · · A.· ·No.


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 ·1· · · · Q.· ·Ira, how many computers do you own?
 ·2· · · · A.· ·Primarily one laptop.
 ·3· · · · Q.· ·Do you own any computers from Dave?
 ·4· · · · A.· ·Oh, yes, if you're including Dave's.
 ·5· · · · Q.· ·In all how many computers do you own?
 ·6· · · · A.· ·I think Dave had three laptops.
 ·7· · · · Q.· ·What was his three laptops?
 ·8· · · · A.· ·Two of them were Alienware.· One was a Dell
 ·9· ·laptop.
 10· · · · Q.· ·What's the one computer that you own?
 11· · · · A.· ·I believe it's an ASIS.
 12· · · · Q.· ·ASIS.· What year did you purchase that
 13· ·computer?
 14· · · · A.· ·I don't remember.
 15· · · · Q.· ·Was it after 2013?
 16· · · · A.· ·I don't know.
 17· · · · Q.· ·Did you purchase it with a credit card?
 18· · · · A.· ·I'm not sure.· I may have got it like from one
 19· ·of my affiliate marketing web sites where it's possible
 20· ·I didn't need a credit card to purchase it.
 21· · · · Q.· ·Do you own any Bitcoin or crypto currency?
 22· · · · A.· ·Yes.
 23· · · · Q.· ·How much?
 24· · · · · · ·MR. FREEDMAN:· Don't answer the question.
 25· · · · You're outside the scope of your deposition.


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 ·1· · · · MR. PASCHAL:· How much Bitcoin he has is
 ·2· ·outside the scope?
 ·3· · · · MR. FREEDMAN:· You tell me where the topics
 ·4· ·that list the amount of crypto assets that are
 ·5· ·being held.
 ·6· · · · MR. PASCHAL:· I don't know.· Let me ask this
 ·7· ·then.· That was your topic we put it on here and
 ·8· ·you guys asked that question so is it your position
 ·9· ·that's not -- that asking how much Bitcoin somebody
 10· ·has is outside the scope?· I'm fine if that's your
 11· ·response.
 12· · · · MR. FREEDMAN:· Is it in yours?
 13· · · · MR. PASCHAL:· I copied yours.· I put that in
 14· ·and you had no objection.
 15· · · · MR. FREEDMAN:· Where is the topic that says
 16· ·the amount of Bitcoin mined or owned I think is the
 17· ·question.
 18· · · · MR. PASCHAL:· One of them and you asked that
 19· ·question.
 20· · · · MR. FREEDMAN:· If you show it to me I can read
 21· ·it.· If you don't show it to me --
 22· · · · MR. PASCHAL:· Let me ask this question.· If
 23· ·you asked that at your depo are you saying it was
 24· ·outside the scope of your deposition topics?
 25· · · · MR. FREEDMAN:· My questions were different --


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 ·1· · · · my list of topics are different than your list of
 ·2· · · · topics.· I had just off the top of my head I
 ·3· · · · remember I had the words Satoshi Yakamoto in mine
 ·4· · · · and I don't see it in yours.· This isn't an
 ·5· · · · identical copy of my list.
 ·6· · · · · · ·MR. PASCHAL:· So you're instructing him not to
 ·7· · · · answer the question?
 ·8· · · · · · ·MR. FREEDMAN:· Correct.
 ·9· ·BY MR. PASCHAL:
 10· · · · Q.· ·Are you familiar with how Bitcoin is stored on
 11· ·a device?
 12· · · · A.· ·Not really.
 13· · · · Q.· ·Have you read any literature on Bitcoin and
 14· ·crypto currency?
 15· · · · A.· ·I've read articles about it.
 16· · · · Q.· ·If you own Bitcoin how are you not familiar in
 17· ·the manner in which it's owned?
 18· · · · · · ·MR. FREEDMAN:· Hold on a second.· Can you
 19· · · · repeat the question?
 20· · · · · · ·MR. PASCHAL:· Want me to repeat it or want the
 21· · · · reporter?
 22· · · · · · ·MR. FREEDMAN:· You can repeat it or the
 23· · · · reporter, whatever your preference.
 24· ·BY MR. PASCHAL:
 25· · · · Q.· ·If you own Bitcoin how are you not familiar


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 ·1· ·with how it's stored?
 ·2· · · · · · ·MR. FREEDMAN:· Objection.· You can answer the
 ·3· · · · question.
 ·4· · · · · · ·THE WITNESS:· I don't know the technical
 ·5· · · · workings of how it works.· I just know you can
 ·6· · · · purchase it.
 ·7· ·BY MR. PASCHAL:
 ·8· · · · Q.· ·Is it stored on your computer?
 ·9· · · · · · ·MR. FREEDMAN:· Objection, hold on.· If you
 10· · · · know what the question means you can answer.
 11· · · · · · ·THE WITNESS:· Is it --
 12· · · · · · ·MR. PASCHAL:· You can have a standing
 13· · · · objection to form but we're not going to have
 14· · · · speaking objections so let's not do that today,
 15· · · · okay?
 16· · · · · · ·MR. FREEDMAN:· Isn't that ironic?
 17· · · · · · ·MR. PASCHAL:· You can answer the question.
 18· · · · · · ·THE WITNESS:· I've heard that it can be stored
 19· · · · on a computer.
 20· ·BY MR. PASCHAL:
 21· · · · Q.· ·So as you own Bitcoin do you know how it's
 22· ·held?
 23· · · · · · ·MR. FREEDMAN:· Objection.· Go ahead and
 24· · · · answer.
 25· · · · · · ·THE WITNESS:· Not really.


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 ·1· ·BY MR. PASCHAL:
 ·2· · · · Q.· ·I want to ask you a few questions about your
 ·3· ·relationship with Dave.· Before Dave passed away when
 ·4· ·was the last time you spoke with him?
 ·5· · · · · · ·MR. FREEDMAN:· Hold on, Ira.· What topic does
 ·6· · · · this relate to?
 ·7· · · · · · ·MR. PASCHAL:· His communications with Dave.
 ·8· · · · · · ·MR. FREEDMAN:· I think you're a little bit
 ·9· · · · outside.· I'll give you some leeway.· Go ahead Ira,
 10· · · · answer the question.
 11· · · · · · ·THE WITNESS:· 2009 November.
 12· ·BY MR. PASCHAL:
 13· · · · Q.· ·That was the last time you spoke with him?
 14· · · · A.· ·No, that's the last time I saw him.· The last
 15· ·time I spoke with him would probably be sometime late
 16· ·2012.
 17· · · · Q.· ·Was that by phone or e-mail?
 18· · · · A.· ·I think I have an e-mail around that date and
 19· ·I also think I spoke with him on the phone around then
 20· ·too.
 21· · · · Q.· ·What did you talk about?
 22· · · · A.· ·I would have to go back and look at the
 23· ·e-mail.· On the phone I don't remember.
 24· · · · Q.· ·Do you remember what his mood was like when
 25· ·you spoke to him?


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 ·1· · · · A.· ·I --
 ·2· · · · · · ·MR. FREEDMAN:· Objection.
 ·3· · · · · · ·THE WITNESS:· Not really.
 ·4· ·BY MR. PASCHAL:
 ·5· · · · Q.· ·So in 2009 you met Dave in person -- or you
 ·6· ·saw him in person.· From then though just relatively how
 ·7· ·many times would you speak with him per year, was it
 ·8· ·monthly, weekly?
 ·9· · · · · · ·MR. FREEDMAN:· Objection.
 10· · · · · · ·THE WITNESS:· It would vary.
 11· ·BY MR. PASCHAL:
 12· · · · Q.· ·I just want to be clear the last time that you
 13· ·saw your brother was 2009; right?
 14· · · · A.· ·I believe so.
 15· · · · Q.· ·Under what circumstances was that?
 16· · · · A.· ·We were having Thanksgiving dinner.
 17· · · · Q.· ·Did you have any other business ventures with
 18· ·Dave?
 19· · · · A.· ·No.
 20· · · · Q.· ·Did you ever work together with Dave in any
 21· ·business?
 22· · · · A.· ·No.
 23· · · · Q.· ·Dave's autopsy report showed that he had
 24· ·cocaine in his system.· Did you know anything about
 25· ·that?


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 ·1· · · · · · ·MR. FREEDMAN:· Objection.· What topic is this
 ·2· · · · relating to?
 ·3· · · · · · ·MR. PASCHAL:· If he is not going to answer
 ·4· · · · tell him.
 ·5· · · · · · ·MR. FREEDMAN:· You can't tell me which topics
 ·6· · · · this relates to?
 ·7· · · · · · ·MR. PASCHAL:· This goes to background
 ·8· · · · information.· Trying to find documents that was the
 ·9· · · · general mandate from the Court.
 10· · · · · · ·MR. FREEDMAN:· I just don't see how Ira's
 11· · · · knowledge of cocaine in Dave's system has anything
 12· · · · to do with the --
 13· ·BY MR. PASCHAL:
 14· · · · Q.· ·Do you have any documents showing that Dave
 15· ·had cocaine in his system?
 16· · · · A.· ·I would have to look at the autopsy report
 17· ·again.
 18· · · · Q.· ·That's the only document that you have?
 19· · · · A.· ·Yes, that's the only one I have.
 20· · · · Q.· ·Are there any communications between you and
 21· ·Dave when you spoke about cocaine?
 22· · · · A.· ·No.
 23· · · · Q.· ·Do you know any of Dave's girlfriends?
 24· · · · A.· ·Not personally -- I mean I've heard of them.
 25· ·I don't personally know them.


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 ·1· · · · Q.· ·Which ones have you heard of?
 ·2· · · · A.· ·One named Kirsten and another named Lynada and
 ·3· ·a very old girlfriend named Angela.
 ·4· · · · Q.· ·How did you learn about these girlfriends?
 ·5· · · · A.· ·Angela we knew -- he was like dating her in
 ·6· ·high school.· Kirsten I believe I met once at my
 ·7· ·parent's wedding anniversary and Lynada I only found out
 ·8· ·after he passed away.
 ·9· · · · Q.· ·Have you been in contact with any of these
 10· ·three girlfriends?
 11· · · · A.· ·I think I spoke with Angela a little bit.
 12· · · · Q.· ·You didn't speak to Lynada?
 13· · · · A.· ·No.
 14· · · · Q.· ·Who was the last girlfriend that you know that
 15· ·Dave had?
 16· · · · A.· ·That would be Lynada.
 17· · · · Q.· ·You haven't spoken to her?
 18· · · · A.· ·No.
 19· · · · Q.· ·When did you speak with Angela?
 20· · · · A.· ·Maybe like a year ago.
 21· · · · Q.· ·What circumstances did you speak with her,
 22· ·what were the circumstances?
 23· · · · A.· ·I think I saw her -- she left like a Facebook
 24· ·posting on my dad's web site -- I mean my dad's Facebook
 25· ·page and then I responded to her Facebook posting.


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 ·1· · · · Q.· ·So there's a Facebook message where you
 ·2· ·responded to her?
 ·3· · · · A.· ·Yes, I think so.· No, I just e-mailed her.
 ·4· ·She left a Facebook posting and then I e-mailed her.
 ·5· · · · Q.· ·When did you e-mail her?
 ·6· · · · A.· ·I think it could have been like a year, year
 ·7· ·and a half ago.
 ·8· · · · Q.· ·What did the Facebook posting say, do you
 ·9· ·remember?
 10· · · · A.· ·No.
 11· · · · Q.· ·What did you discuss with Angela?
 12· · · · A.· ·We talked about David a little bit.
 13· · · · Q.· ·What did you talk to her about, talking about
 14· ·David?
 15· · · · A.· ·At first just general things I think.
 16· · · · Q.· ·We'll get into that a little later.· When did
 17· ·you learn that Dave was appointed as the representative
 18· ·of -- or that Dave appointed you as the representative
 19· ·of his estate, sorry?
 20· · · · A.· ·After he passed away.
 21· · · · Q.· ·So Dave never discussed that with you before
 22· ·he passed away?
 23· · · · A.· ·No.
 24· · · · Q.· ·Were you surprised to learn --
 25· · · · · · ·MR. FREEDMAN:· Objection, don't answer the


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 ·1· ·question.
 ·2· · · · MR. PASCHAL:· What's the reason for
 ·3· ·instructing him?
 ·4· · · · MR. FREEDMAN:· Don't see how it has anything
 ·5· ·to do with your topics.
 ·6· · · · MR. PASCHAL:· Just asking --
 ·7· · · · MR. FREEDMAN:· His state of mind when he found
 ·8· ·out whether or not Dave Kleiman appointed him as
 ·9· ·the personal representative.· Where is that any of
 10· ·your topics?
 11· · · · MR. PASCHAL:· I am going to say for the record
 12· ·that these topics are helpful but the judge mandate
 13· ·was really that hey, I want to have a depo so you
 14· ·can figure out what discovery is and a number of
 15· ·times you shut down inquiries because you just
 16· ·don't think that these match the topic which isn't
 17· ·helpful for us to.· It will force us to have to go
 18· ·to the Court unnecessarily and bring Ira back here
 19· ·for another deposition to do that.· Purpose to find
 20· ·out where documents are and find out where evidence
 21· ·is.· I just don't think it's helpful for the record
 22· ·for you to instruct him not to answer background
 23· ·questions, very basic questions.
 24· · · · MR. FREEDMAN:· Just so the record is complete
 25· ·the parties set the tone that we had to stay


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 ·1· · · · strictly by the disclosed topics at Dr. Wright's
 ·2· · · · deposition where we were held strictly to the
 ·3· · · · topics --
 ·4· · · · · · ·MR. PASCHAL:· And I don't believe you did
 ·5· · · · so --
 ·6· · · · · · ·MR. FREEDMAN:· If it's the defendant's
 ·7· · · · position that refusing to answer background
 ·8· · · · questions should necessitate a second deposition we
 ·9· · · · might just able to agree to reach a second
 10· · · · deposition.· Do you want to agree to a second
 11· · · · deposition?
 12· · · · · · ·MR. PASCHAL:· I'm just moving on with you.
 13· · · · Just --
 14· · · · · · ·MR. FREEDMAN:· Okay.
 15· · · · · · ·MR. PASCHAL:· I want to ask you about what
 16· · · · you're alleging in the complaint so we know what
 17· · · · documents we're looking for.· I'm going to give you
 18· · · · a copy of the complaint.
 19· · · · · · ·(Defendant's Exhibit No. 2 was
 20· · · · · · ·marked for identification.)
 21· ·BY MR. PASCHAL:
 22· · · · Q.· ·Can you turn to page 37.· Under Count I you
 23· ·have a claim for conversion.· Do you see that?
 24· · · · A.· ·Yes.
 25· · · · Q.· ·If you go down to paragraph 171 you allege


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 ·1· ·that Dr. Wright converted to his own use, Bitcoins,
 ·2· ·forked assets and intellectual properties that were the
 ·3· ·property of, and owned by, the estate and/or W&K.· Do
 ·4· ·you see that?
 ·5· · · · A.· ·Yes.
 ·6· · · · Q.· ·If you can turn to 46 and 47.
 ·7· · · · · · ·MR. FREEDMAN:· Bryan, I think you just asked
 ·8· · · · the witness to turn to two pages.· Which one?
 ·9· · · · · · ·MR. PASCHAL:· I said page 46 and 47.
 10· · · · · · ·MR. FREEDMAN:· Which one do you want him to
 11· · · · start at?
 12· ·BY MR. PASCHAL:
 13· · · · Q.· ·Start at 46.· It's Count X, 46 and 47.· You
 14· ·have a claim for civil theft, you see that?
 15· · · · A.· ·Yes.
 16· · · · Q.· ·In that claim you allege that Dr. Wright took
 17· ·with felonious criminal intent Bitcoins, forked assets
 18· ·and intellectual properties that were the property of
 19· ·and owned by the estate and/or W&K.· You see that?
 20· · · · A.· ·Yes.
 21· · · · Q.· ·Ira, is it your position that Dr. Wright stole
 22· ·from Dave?
 23· · · · · · ·MR. FREEDMAN:· Hold on a second.· Go ahead
 24· · · · answer the question.
 25· · · · · · ·THE WITNESS:· I believe so.


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 ·1· ·BY MR. PASCHAL:
 ·2· · · · Q.· ·You believe so?
 ·3· · · · A.· ·Yes.
 ·4· · · · Q.· ·I want you to turn to page 16 of your
 ·5· ·complaint.· There you have a bold heading saying -- are
 ·6· ·you there?
 ·7· · · · A.· ·Yes.
 ·8· · · · Q.· ·You have a bold heading saying Dave and/or W&K
 ·9· ·owned a substantial amount of Bitcoin.· You see that?
 10· · · · A.· ·Yes.
 11· · · · Q.· ·Ira, do you have any e-mails from Dave where
 12· ·he told you he had a substantial amount of Bitcoin?
 13· · · · A.· ·No.
 14· · · · Q.· ·Do you have any text messages from Dave where
 15· ·he said that he had a substantial amount of Bitcoin?
 16· · · · A.· ·No.
 17· · · · Q.· ·Do you have any handwritten letters where Dave
 18· ·says to you I have a substantial amount of Bitcoin?
 19· · · · A.· ·No.
 20· · · · Q.· ·Did he put that in his personal will -- let me
 21· ·say it differently.· Did Dave put in his will that he
 22· ·has a substantial amount of Bitcoin?
 23· · · · A.· ·No.
 24· · · · Q.· ·Are there any documents from Dave to you
 25· ·stating that he has a substantial amount of Bitcoin?


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 ·1· · · · A.· ·No.
 ·2· · · · Q.· ·After Dave died did you go through his
 ·3· ·possessions?
 ·4· · · · A.· ·Yes.
 ·5· · · · · · ·MR. FREEDMAN:· Objection.
 ·6· ·BY MR. PASCHAL:
 ·7· · · · Q.· ·Did you find any mention of a substantial
 ·8· ·amount of -- any evidence to suggest there was a
 ·9· ·substantial amount of Bitcoin?
 10· · · · A.· ·No.
 11· · · · Q.· ·Do you have any documents where Dave tells you
 12· ·about W&K and Info Defense Fund Research, LLC?
 13· · · · A.· ·No.
 14· · · · Q.· ·After Dave died did you find any documents at
 15· ·his house regarding W&K?
 16· · · · A.· ·No.
 17· · · · Q.· ·When you became the personal representative
 18· ·for Dave's estate did you look on SunBiz.org?· Are you
 19· ·familiar with that web site?
 20· · · · A.· ·Yes.
 21· · · · Q.· ·Did you look on SunBiz.org to see if he owned
 22· ·any companies?
 23· · · · A.· ·I was only aware of Computer Forensics
 24· ·Company.
 25· · · · Q.· ·But just my question was did you go on


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 ·1· ·SunBiz.org to search to see if he owned any companies?
 ·2· · · · A.· ·I don't think so.
 ·3· · · · Q.· ·Did you first learn of W&K from Dr. Wright?
 ·4· · · · A.· ·Yes.
 ·5· · · · Q.· ·Ira, you're aware that Dave was receiving debt
 ·6· ·collection calls in mid 2012?
 ·7· · · · A.· ·2012, I was not aware of it.
 ·8· · · · Q.· ·Do you have documents reflecting Dave's debt?
 ·9· · · · A.· ·The autopsy report.
 10· · · · Q.· ·Sorry.· Do you have documents reflecting
 11· ·Dave's debt?
 12· · · · A.· ·Oh, debt.· Sorry.
 13· · · · Q.· ·My mistake, sorry.
 14· · · · A.· ·I don't think so.
 15· · · · Q.· ·Do you know how much debt Dave had when he
 16· ·died?
 17· · · · A.· ·I remember getting some kind of paperwork.                 I
 18· ·may have handed it over to my estate attorney so he
 19· ·might have the actual number but I don't remember.
 20· · · · Q.· ·Is that attorney Joseph Karp?
 21· · · · A.· ·Yes.
 22· · · · Q.· ·Do you remember what that document was?
 23· · · · A.· ·No.· I didn't really look at it.
 24· · · · Q.· ·Do you have any bank account statements for
 25· ·Dave?


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 ·1· · · · A.· ·Bank account statement, I don't think so.
 ·2· · · · Q.· ·What efforts did you take to locate any bank
 ·3· ·accounts?· Did you take any efforts?
 ·4· · · · A.· ·I believe so.
 ·5· · · · Q.· ·What did you do?
 ·6· · · · A.· ·I think I contacted Joe Karp about that.
 ·7· · · · Q.· ·Sorry, what did you say?
 ·8· · · · A.· ·I think I contacted Joe Karp about that.                        I
 ·9· ·think he looked into it to see if Dave had any -- what
 10· ·bank accounts.
 11· · · · Q.· ·Was Joe Karp was he your attorney at that
 12· ·time?
 13· · · · A.· ·Yes.
 14· · · · Q.· ·So we went over documents regarding the
 15· ·substantial Bitcoin.· Have you spoken to any witnesses
 16· ·that told you that Dave had a substantial amount of
 17· ·Bitcoin?
 18· · · · · · ·MR. FREEDMAN:· Objection to form.
 19· · · · · · ·THE WITNESS:· No.
 20· ·BY MR. PASCHAL:
 21·
   · · · · Q.· ·So just to clarify then.· There are no
   · ·witnesses
 22·  witnesses -- no testimony that says that Dave has a
      w
   · ·substantial
 23·  substantial amount of Bitcoin that you have?                        Relevance

 24· · · · · · ·MR. FREEDMAN:· Objection.
   · · · · · · ·
 25·           ·THE WITNESS:· Not that I'm aware of.


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 ·1· · · · · · ·MR. PASCHAL:· Ira, I'm showing you a complaint
 ·2· · · · that was filed against Dave by Wells Fargo Bank.
 ·3· · · · · · ·(Defendant's Exhibit No. 3 was
 ·4· · · · · · ·marked for identification.)
 ·5· · · · · · ·MR. FREEDMAN:· Do you have a copy for us?
 ·6· · · · · · ·MR. PASCHAL:· (Indicating).
 ·7· ·BY MR. PASCHAL:
 ·8· · · · Q.· ·Can you go to page two of that complaint.· If
 ·9· ·you look at paragraph five Wells Fargo alleges that
 10· ·there's been a default under the note and mortgage held
 11· ·by plaintiff and that payment due October 1, 2012 and
 12· ·all subsequent payments have not been made?
 13· · · · · · ·MR. FREEDMAN:· Bryan, where are you?
 14· · · · · · ·MR. PASCHAL:· Page two, paragraph five.
 15· · · · · · ·MR. FREEDMAN:· Page two, paragraph five I
 16· · · · don't see that.
 17· · · · · · ·MR. PASCHAL:· Not page numbered.· Just turn to
 18· · · · the next page.
 19· · · · · · ·MR. FREEDMAN:· There is a number on the bottom
 20· · · · page.
 21· · · · · · ·THE WITNESS:· Five up top.
 22· · · · · · ·MR. PASCHAL:· Yes, paragraph five.
 23· ·BY MR. PASCHAL:
 24· · · · Q.· ·Do you see that?
 25· · · · A.· ·Where it says there's been a default?


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 ·1· · · · Q.· ·Yes.· Are you aware that Dave stopped making
 ·2· ·payments on his house October 1st 2012?
 ·3· · · · A.· ·I wasn't aware.
 ·4· · · · Q.· ·So Dave never told you that?
 ·5· · · · A.· ·No.
 ·6· · · · Q.· ·When was the first time that you learned this?
 ·7· · · · A.· ·I think after he passed away.
 ·8·
 ·8 · · · Q.· ·Ira, did you speak to Dave while he was in the
 ·9·
 ·9 ·V.A.
     V.A. Hospital?
     V                                   Relevance, unduly prejudi
                                                           prejudicial,
                                                                 icial,
                                         subject to pending motion
                                                                 n
 10·
 10 · · · A.· ·I think couple times, yes.in limine (through line 1
                                     yes.                        16
                                                                  6 --
                                         withdraw counter at 17-19
                                                                 9
 11·
 11 · · · Q.· ·About how many?           if these are disallowed).

 12·
 12 · · · A.· ·Don't remember.
 13·
 13 · · · Q.· ·You say less than ten?
 14·
 14 · · · A.· ·Maybe.
 15·
 15 · · · Q.· ·Did you visit him while he was in the V.A.?
 16·
 16 · · · A.· ·No.
 17· · · · Q.· ·Did you exchange e-mails with him while he was
 18· ·in the V.A.?
 19· · · · A.· ·Yes.
 20· · · · Q.· ·How many e-mails did you exchange roughly?
 21· · · · A.· ·I would have to go look.· Couldn't tell you
 22· ·off the top of my head.
 23· · · · Q.· ·What e-mail account did you use to e-mail him,
 24· ·do you remember?
 25· · · · A.· ·Mostly Dex561@                             .


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 ·1· · · · Q.· ·What e-mail did you send to Dave -- I mean not
 ·2· ·e-mail but what e-mail address was -- for Dave would you
 ·3· ·send it to?
 ·4· · · · A.· ·Are you talking about that period of time when
 ·5· ·he was in the V.A.?
 ·6· · · · Q.· ·When you sent those e-mails in the V.A.
 ·7· · · · A.· ·I think at that time he was probably using
 ·8· ·Dave@                          .
 ·9· · · · Q.· ·Do you remember what you talked about with
 10· ·Dave?
 11· · · · A.· ·No.· I would have to go back and look.
 12· · · · · · ·MR. FREEDMAN:· Are you done with this?
 13· · · · · · ·MR. PASCHAL:· Yes.
 14· · · · · · ·MR. FREEDMAN:· Don't want to lose them.
 15· · · · · · ·MR. PASCHAL:· May want to keep them close
 16· · · · because I may go back.
 17· · · · · · ·MR. FREEDMAN:· Just keep them right here.
 18· ·BY MR. PASCHAL:
 19· · · · Q.· ·Did Dave ever ask you for money in 2012?
 20· · · · A.· ·I don't think so.
 21· · · · Q.· ·Do you know if anyone made any personal loans
 22· ·to Dave?
 23· · · · A.· ·I remember his friend Patrick mentioning that
 24· ·he may have loaned Dave money like once in a while but
 25· ·as far as like an amount I don't know.


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 ·1· · · · Q.· ·Do you have any documents related to those
 ·2· ·loans or no?
 ·3· · · · A.· ·No.
 ·4· · · · Q.· ·Did Dave ever tell you he needed help paying
 ·5· ·V.A. bills?
 ·6· · · · A.· ·Paying V.A. bills, no.
 ·7· · · · Q.· ·So you -- did you ever help him pay any V.A.
 ·8· ·bills?
 ·9· · · · A.· ·No.
 10· · · · · · ·MR. PASCHAL:· Mark this as Exhibit 4.
 11· · · · · · ·(Defendant's Exhibit No. 4 was
 12· · · · · · ·marked for identification.)
 13· ·BY MR. PASCHAL:
 14· · · · Q.· ·Showing you an e-mail from Dave to Dr. Wright
 15· ·dated October 11, 2012.· In that e-mail Dave says to
 16· ·Dr. Wright, "Craig, if you don't mind please do transfer
 17· ·in USD from Liberty.· If you can handle it that way I
 18· ·would be grateful.· I have been in the V.A. again.
 19· ·Nothing to worry about more of a routine as we have to
 20· ·live with.· But I am not sure when I'll be able to get
 21· ·back home for enough time to manage all the exchanges.
 22· ·The cost of the hospital also comes as the reason for
 23· ·this request.· Nothing I need help on but the funds in
 24· ·USD will make my life easier right now."· Have you seen
 25· ·this e-mail before?


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 ·1· · · · · · ·MR. FREEDMAN:· Objection.· Go ahead.
 ·2· · · · · · ·THE WITNESS:· I recently saw it in one of the
 ·3· · · · produced documents that Craig turned over, yes.
 ·4· · · · But I have never seen it before.
 ·5· ·BY MR. PASCHAL:
 ·6· · · · Q.· ·In this case?
 ·7· · · · A.· ·Yes, in this case.
 ·8· · · · Q.· ·Do you know if Dr. Wright helped Dave with his
 ·9· ·V.A. bills?
 10· · · · A.· ·No.
 11·
   · · · · Q.· ·Ira, do you have any communications or
 12· ·documents or anything from Dave to Dr. Wright accusing
   · ·
 13· ·him of theft?
   · ·                                                                    Relevance
 14·
   · · · · A.· ·No.
 15· · · · Q.· ·Do you still have the October -- going back to
 16· ·the October 11th e-mail do you have any documents -- do
 17· ·you have any documents showing that Dave had a foreign
 18· ·account with the bank called Liberty Reserve?
 19· · · · A.· ·No.
 20· · · · Q.· ·Did you know that Liberty Reserve was seized
 21· ·by the United States Government?
 22· · · · A.· ·I remember hearing that from Craig.
 23· · · · Q.· ·When did you hear that from Craig?
 24· · · · A.· ·In one of the e-mails that he sent me.                            I
 25· ·don't remember when it was.


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 ·1· · · · Q.· ·Have you done any research on Liberty Reserve?
 ·2· · · · A.· ·I looked it up to see what it was.
 ·3· · · · Q.· ·What did you learn?
 ·4· · · · A.· ·It was some kind of like money exchange
 ·5· ·business.
 ·6· · · · · · ·MR. PASCHAL:· Can you mark that as the next
 ·7· · · · exhibit?
 ·8· · · · · · ·(Defendant's Exhibit No. 5 was
 ·9· · · · · · ·marked for identification.)
 10· ·BY MR. PASCHAL:
 11· · · · Q.· ·Showing you the unsealed indictment for the
 12· ·United States Government versus Liberty Reserve.· Can
 13· ·you turn to page -- paragraph 20 and that's going to be
 14· ·on page nine?· If you look at the second sentence there
 15· ·it starts "with the merchants who accepted."· Do you see
 16· ·that?
 17· · · · A.· ·Did you say the second sentence?
 18· · · · Q.· ·Yes, on paragraph 20 "the merchants who
 19· ·accepted."· You can read the whole paragraph but I'm
 20· ·starting with "the merchants who accepted."
 21· · · · A.· ·"To further enable to use of Liberty Reserve"
 22· ·on 20.
 23· · · · Q.· ·I'll just read the whole thing.· "To further
 24· ·enable the use of Liberty Reserve for criminal activity,
 25· ·its website offered shopping cart interface that


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 ·1· ·merchant web sites could use to access LR, which means
 ·2· ·Liberty Reserve, currency as a form of payment.· The
 ·3· ·merchants who accepted LR, being Liberty Reserve,
 ·4· ·currency was overwhelmingly criminal in nature.· They
 ·5· ·included, for example traffickers of stolen credit card
 ·6· ·data and personal identity information, peddlers of
 ·7· ·various types of online Ponzi and get-rich-quick
 ·8· ·schemes, computer hackers for hire, unregulated gambling
 ·9· ·enterprises and underground drug dealing web sites."
 10· · · · · · ·MR. FREEDMAN:· Objection.
 11· ·BY MR. PASCHAL:
 12· · · · Q.· ·Aside from any documents we produced to you do
 13· ·you have any documents showing that Dave was involved in
 14· ·developing software for gambling activities?
 15· · · · A.· ·No.
 16· · · · Q.· ·Do you have any knowledge of that?
 17· · · · A.· ·No.· Knowledge of him creating gambling type
 18· ·software, no.
 19· · · · Q.· ·Have you heard that he was doing that before
 20· ·today?
 21· · · · A.· ·I heard of Craig mentioned that he was
 22· ·involved in that type of stuff but -- and I think he
 23· ·mentioned that Dave may have assisted him in some
 24· ·capacity but I don't have any evidence of Dave ever
 25· ·doing that type of stuff.


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 ·1· · · · Q.· ·Did you learn from any third parties that --
 ·2· ·aside from Craig that Dave may have been involved in
 ·3· ·online gambling activities?
 ·4· · · · A.· ·I don't believe so, no.
 ·5· · · · Q.· ·Is that your testimony today?
 ·6· · · · A.· ·Yes.
 ·7· · · · Q.· ·One second --
 ·8· · · · A.· ·I think the ATO may have mentioned something
 ·9· ·about Liberty Reserve but I don't know if they were
 10· ·specifically saying that Dave was involved or not but
 11· ·yes, I think I did get a document from ATO.
 12· · · · Q.· ·Let me ask you this.· Did you ever exchange an
 13· ·e-mail with Patrick Paige where you mentioned you were
 14· ·surprised to find out that Dave was --
 15· · · · A.· ·Yes.
 16· · · · Q.· ·Let me finish that question.· E-mail with
 17· ·Patrick Paige where you said you were surprised to learn
 18· ·that Dave was involved with gambling activities?
 19· · · · A.· ·Yes.
 20· · · · · · ·MR. FREEDMAN:· You have to wait until he
 21· · · · finishes the question and then answer so that he
 22· · · · has a clean record.
 23· ·BY MR. PASCHAL:
 24· · · · Q.· ·Have you made any efforts to find the Liberty
 25· ·Reserve account that Dave had?


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 ·1· · · · A.· ·No.
 ·2· · · · Q.· ·Have you spoken to the Southern District of
 ·3· ·New York about Liberty Reserve?
 ·4· · · · A.· ·No.
 ·5· · · · Q.· ·Have you spoken to the FBI agents that were
 ·6· ·investigating Liberty Reserve?
 ·7· · · · A.· ·No.
 ·8· · · · Q.· ·So you mentioned the Thanksgiving dinner
 ·9· ·earlier and you allege in your complaint so let's talk
 10· ·about that.· The 2009 Thanksgiving dinner.· Who was at
 11· ·that dinner?
 12· · · · A.· ·Myself, my wife, my six month old daughter,
 13· ·Dave and my father.
 14· · · · Q.· ·Now, in your complaint I don't know if you
 15· ·want a copy but you say at paragraph 61 that Dave told
 16· ·you that he was working on something bigger than
 17· ·Facebook by creating his own digital money.· Do you
 18· ·remember that?
 19· · · · A.· ·Yes.
 20· · · · Q.· ·Do you have any pictures from that day?
 21· · · · A.· ·Yes.
 22· · · · Q.· ·Do you know if they were produced in
 23· ·discovery?
 24· · · · A.· ·I'm not sure.
 25· · · · Q.· ·After the Thanksgiving dinner did you have any


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 ·1· ·communications with Dave in 2009 regarding the digital
 ·2· ·money that he said would be bigger than Facebook?
 ·3· · · · A.· ·No.
 ·4· · · · Q.· ·Do you have any communications with Dave in
 ·5· ·2010 regarding the digital money that Dave said would be
 ·6· ·bigger than Facebook?
 ·7· · · · A.· ·No.
 ·8· · · · Q.· ·Do you have any communications with Dave in
 ·9· ·2011 regarding the digital money that Dave said would be
 10· ·bigger than Facebook?
 11· · · · A.· ·No.
 12· · · · Q.· ·Do you have any communications with Dave in
 13· ·2012 regarding the digital money that Dave said would be
 14· ·bigger than Facebook?
 15· · · · A.· ·No.
 16· · · · Q.· ·Do you have any communications with Dave up
 17· ·until April 2013 regarding the digital money that Dave
 18· ·said would be bigger than Facebook?
 19· · · · A.· ·No.
   · · · · Q.· ·After Dave died I understand that you formated
 20·
   · ·some of Dave's hard drives and threw out a bunch of his
 21·
   · ·work papers; is that correct?
 22·
 23· · · · · · ·MR. FREEDMAN:· Objection.
 24· · · · · · ·THE WITNESS:· I did discard some papers and
 24
 25·
 25 · · · hard drives I first examined to see if there was


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 ·1· · · · anything on them and once I found out that there
 ·2· · · · wasn't I believe there were two hard drives that I
 ·3· · · · formated.
 ·4· ·BY MR. PASCHAL:
 ·5· · · · Q.· ·Before you formated and before you threw those
 ·6· ·papers away did you find any evidence of the digital
 ·7· ·currency that Dave said would be bigger than Facebook?
 ·8· · · · A.· ·No.
 ·9· · · · · · ·MR. PASCHAL:· I want to show you an e-mail
 10· · · · exchange that you had with Dr. Wright.
 11· · · · · · ·(Defendant's Exhibit No. 6 was
 12· · · · · · ·marked for identification.)
 13· ·BY MR. PASCHAL:
 14· · · · Q.· ·So if you look at the bottom of page one and
 15· ·you sent this e-mail -- do you remember this e-mail?· Go
 16· ·ahead and read it.
 17· · · · · · ·MR. FREEDMAN:· What exhibit number is this?
 18· · · · · · ·MR. PASCHAL:· I think it's 6.
 19· · · · · · ·THE WITNESS:· Yes, I remember.
 20· ·BY MR. PASCHAL:
 21· · · · Q.· ·You remember this e-mail?
 22· · · · A.· ·Yes.
 23· · · · Q.· ·At the bottom you'll say "hi Craig, I would
 24· ·like to ask for your advice if I may.· After everything
 25· ·you have shared with me I feel like I can completely


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 ·1· ·trust you.· As mysterious and exciting as all this news
 ·2· ·is I also feel nervous about making mistakes.· I very
 ·3· ·well could have already made some mistakes months ago by
 ·4· ·throwing away of bunch of Dave's papers and formating
 ·5· ·drives that I could not access."· Do you remember that
 ·6· ·statement?
 ·7· · · · · · ·MR. FREEDMAN:· Objection.
 ·8· · · · · · ·THE WITNESS:· Yes.
 ·9· · · · · · ·MR. FREEDMAN:· Wait one second let me object
 10· · · · and then go ahead and answer the question.
 11· ·BY MR. PASCHAL:
 12· · · · Q.· ·Do you remember that statement?
 13· · · · A.· ·Yes.
 14· · · · Q.· ·I just want to go over this e-mail.· First you
 15· ·say that you may have made some mistakes some months
 16· ·ago.· When you say "some months ago" what timeframe are
 17· ·you talking about, how many months ago?
 18· · · · A.· ·Sometime in 2013.
 19· · · · Q.· ·Was it before Thanksgiving, after
 20· ·Thanksgiving?
 21· · · · · · ·MR. FREEDMAN:· Objection.
 22· · · · · · ·THE WITNESS:· You're talking about 2013?
 23· ·BY MR. PASCHAL:
 24· · · · Q.· ·Yes, November 2013 Thanksgiving.
 25· · · · A.· ·It could have been before that.


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 ·1· · · · Q.· ·Our analysis shows that two drives were
 ·2· ·formated and installed with Windows on November 10, 2013
 ·3· ·would that date be about right?
 ·4· · · · A.· ·Possibly, yes.
 ·5· · · · Q.· ·Did you purchase the Windows software
 ·6· ·installed on those drives?
 ·7· · · · A.· ·I don't remember.
 ·8· · · · Q.· ·You don't remember?
 ·9· · · · A.· ·(Indicating).
 10· · · · Q.· ·Would any -- do you have any documents like
 11· ·credit card receipts showing you purchased the Windows
 12· ·software?
 13· · · · A.· ·I don't know.
 14· · · · Q.· ·You don't know?
 15· · · · A.· ·Could have been a version of Windows that my
 16· ·brother had.
 17· · · · Q.· ·You also say that you threw out a bunch of
 18· ·Dave's work papers.· How much is a bunch?
 19· · · · A.· ·Just when I was cleaning out his house.                   I
 20· ·don't remember exactly how many.
 21· · · · Q.· ·When you threw these papers out was it the
 22· ·same day November 10th 2013 or November of 2013?
 23· · · · A.· ·No.· This was like shortly after he passed
 24· ·away when I was going through his house, going through
 25· ·his stuff.


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 ·1·
   · · · · Q.· ·Did you keep any of the documents that he had,
   · ·any of his work papers?
 ·2·
   · · · · A.· ·I couldn't really find any like work papers.
 ·3·
   · ·I only found things like related to the certificates
 ·4·
   · ·that he earned like security related certificates.
 ·5·
   · · · · Q.· ·You threw away his certificates?
 ·6·
   · · · · A.· ·No, I'm saying I kept --
 ·7·
   · · · · Q.· ·You kept those?
 ·8·
   · · · · A.· ·Right.
 ·9·
   · · · · Q.· ·When you say the working papers you threw away
 10·
   · ·what are you referring to?
 11·
 12·
   · · · · A.· ·Actually I'm not even sure they were work
   · ·papers.· I guess they looked like things that didn't
 13·
   · ·look relevant to keeping.
 14·
   · · · · Q.· ·Did you read all the papers before you threw
 15·
   · ·them away?
 16·
   · · · · A.· ·Briefly.
 17·
   · · · · Q.· ·So I guess none of it seemed important?
 18·
   · · · · A.· ·Exactly.
 19·
 20· · · · Q.· ·Let me ask you.· If any of those documents had
 21· ·a random set of numbers and letters and just random
 22· ·gibberish you would haven't considered that important,
 23· ·would you?
 24· · · · · · ·MR. FREEDMAN:· Objection.
 25· · · · · · ·THE WITNESS:· I don't know.· I don't know.


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 ·1· ·BY MR. PASCHAL:
   · · · · Q.· ·So what did you do to determine whether or not
 ·2·
   · ·something was important?
 ·3·
   · · · · A.· ·Just whatever I looked at -- I don't know
 ·4·
   · ·specifically.· I mean like I was just going through
 ·5·
   · ·papers quickly and if something looked like it was
 ·6·
   · ·connected to him I would keep it.
 ·7·
   · · · · Q.· ·Say the last part again, I couldn't hear you.
 ·8·
   · · · · A.· ·If something looked like it was connected to
 ·9·
   · ·him I would keep it.· Like certificates, things he
 10·
 11·
   · ·earned, anything personal.
 12·
   · · · · Q.· ·So --
 13·
   · · · · A.· ·Like a lot of stuff I threw out could have
 14·
   · ·just been like junk mail.· That was unimportant I didn't
 15·
   · ·need to keep it.
 16·
   · · · · Q.· ·How would you consider something junk mail?
 17·
   · · · · A.· ·Like advertisement type stuff.
 18· · · · Q.· ·Let me just -- when you were formating or when
 19· ·you threw out the papers were you already the personal
 20· ·representative of the estate?· Let me rephrase that.· Do
 21· ·you know -- do you know that you were the personal
 22· ·representative of the estate when you --
 23· · · · A.· ·I'm not sure if I knew at that time.
 24· · · · Q.· ·Okay.
 25· · · · · · ·MR. FREEDMAN:· We've been going an hour.· Can


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 ·1· · · · we take a break?
 ·2· · · · · · ·MR. PASCHAL:· Can we --
 ·3· · · · · · ·MR. FREEDMAN:· If you have more questions go
 ·4· · · · ahead.
 ·5· · · · · · ·MR. PASCHAL:· Few more questions and then we
 ·6· · · · can take a break.
 ·7· ·BY MR. PASCHAL:
 ·8· · · · Q.· ·So you said if it was connected to Dave you
 ·9· ·would keep it.· So if something I'm just trying to
 10· ·figure out what the measurement that was.· If there was
 11· ·scribbling on papers would you just throw that away?
 12· · · · · · ·MR. FREEDMAN:· Objection.
 13· · · · · · ·THE WITNESS:· I don't know.· Possibly.
 14· ·BY MR. PASCHAL:
 15· · · · Q.· ·When did you become familiar with Bitcoin?
 16· · · · · · ·MR. FREEDMAN:· Do you think maybe we can take
 17· · · · a break here?· Sounds like you're going to a
 18· · · · different topic.
 19· · · · · · ·MR. PASCHAL:· Let's take a break.
 20· · · · · · ·THE VIDEOGRAPHER:· The time is 11:03 a.m. and
 21· · · · we're off the record.
 22· · · · · · ·(Thereupon, a brief recess was taken.)
 23· · · · · · ·THE VIDEOGRAPHER:· The time is now 11:17 a.m.
 24· · · · and we're back on the record.
 25


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 ·1· ·BY MR. PASCHAL:
   · · · · Q.· ·Sorry.· Just briefly before we left off and
 ·2·
 ·3·
   · ·earlier today.· I have some follow-up questions.· Did
 ·4·
   · ·Dave live in Palm Beach Gardens?
 ·5·
   · · · · A.· ·It might be officially called like Riviera
 ·6·
   · ·Beach.
 ·7·
   · · · · Q.· ·It's in the area, right?
 ·8·
   · · · · A.· ·Yes.
 ·9·
   · · · · Q.· ·Palm Beach County?
 10·
   · · · · A.· ·Yes.
 11·
   · · · · Q.· ·Last time you saw Dave was in 2009?
                                         Relevance, unduly prejudicial, subject
 12·
   · · · · A.· ·Yes.                     to pending MIL (through line 17)
 13·
   · · · · Q.· ·And you guys lived in the same county?
 14·
   · · · · A.· ·Yes.
 15·
   · · · · Q.· ·About how far apart did you guys live from
 16·
   · ·each
      each other?
 17·
   · · · · A.· ·Five to ten minutes.
 18·
   · · · · Q.· ·When we left off we were talking about on the
 19·
   · ·e-mail where you formated and you said you formated
 20·
   · ·threw out some of Dave's work papers so I think we were
 21·
   · ·talking about the work papers.· Why were you throwing
   · ·the papers away?
 22·
 23·
 23· · · · A.· ·Like I said it just looked like it was
 24·
 24· ·unimportant stuff.· Everyday stuff you get in the mail
 25·
 25· ·just advertisements, news clipping type and things.


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 ·1· · · · Q.· ·So if you go back to that e-mail in front of
 ·2· ·you you say that you were concerned that you made a
 ·3· ·mistake?
 ·4· · · · A.· ·Yes.
 ·5· · · · Q.· ·How were you concerned?
 ·6· · · · · · ·MR. FREEDMAN:· You said how or what?
 ·7· ·BY MR. PASCHAL:
 ·8· · · · Q.· ·Why?· Why were you concerned?
 ·9· · · · A.· ·What's that?
 10· · · · Q.· ·Why were you concerned?
 11· · · · A.· ·Because I had just discarded some of his
 12· ·stuff.
 13· · · · Q.· ·But you said the stuff you discarded was junk
 14· ·mail?
 15· · · · A.· ·Right.· And I was using his drives.
 16· · · · Q.· ·So you were concerned because you were using
 17· ·his drives, not because you threw out his work papers?
 18· · · · A.· ·No.· I was concerned about a little of
 19· ·everything.
 20· · · · Q.· ·But sitting here today you can't tell us the
 21· ·content of the papers that you threw out?
 22· · · · · · ·MR. FREEDMAN:· Objection.
 23· · · · · · ·THE WITNESS:· No.
 24· ·BY MR. PASCHAL:
   · · · · Q.· ·But you were concerned that you were throwing
 25·


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 ·
 ·1· ·them out and formated certain drives?
 ·2· · · · · · ·MR. FREEDMAN:· Objection.
 ·3· · · · · · ·THE WITNESS:· Well, the drives that I formated
 ·4· · · · there was nothing on them.
 ·5· ·BY MR. PASCHAL:
 ·6· · · · Q.· ·We're going to talk about that more but you
 ·7· ·said you were concerned because you were using the
 ·8· ·drives; right?
 ·9· · · · A.· ·Yes.· After -- after he passed away yes, I
 10· ·started using them.
 11· · · · Q.· ·And you were concerned you were using them.
 12· ·Did you continue to use them in 2014?
 13· · · · A.· ·Yes.
 14· · · · Q.· ·Did you continue to use them in 2015?
 15· · · · A.· ·Yes.
 16· · · · Q.· ·Did you continue to use them in 2016?
 17· · · · A.· ·Yes.
 18· · · · Q.· ·Did you continue to use them in 2017?
 19· · · · A.· ·Yes.
 20· · · · Q.· ·Did you continue to use them in 2018?
 21· · · · A.· ·I believe so.
 22· · · · Q.· ·After you filed the lawsuit you continued to
 23· ·use Dave's devices; right?
 24· · · · A.· ·Yes.
 25· · · · Q.· ·When did you stop using Dave's devices?


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 ·1· · · · A.· ·I don't remember exactly.
 ·2· · · · Q.· ·Was it maybe like a few months ago, few weeks
 ·
 ·3· ·ago?
 ·
 ·4· · · · · · ·MR. FREEDMAN:· Objection.
 ·5· · · · · · ·THE WITNESS:· In the range of like around this
 ·6· · · · lawsuit but --
 ·7· ·BY MR. PASCHAL:
 ·8· · · · Q.· ·Sorry, go ahead.
 ·9· · · · A.· ·I was just putting my personal files on them.
 1
 10· ·I never touched Dave's stuff.
 11· · · · Q.· ·Let me break that statement down.· So what
 12· ·caused you to stop using the devices?
 13· · · · · · ·MR. FREEDMAN:· If you can answer this question
 14· · · · without going into conversation you had with your
 15· · · · lawyers then answer it.
 16· · · · · · ·THE WITNESS:· Well, I just didn't want to
 17· · · · tamper with anything.
 18· ·BY MR. PASCHAL:
 19· · · · Q.· ·So you were using them in 2018 you were
 20· ·tampering with it?
 21· · · · · · ·MR. FREEDMAN:· Objection.
 22· · · · · · ·THE WITNESS:· No.· I mean I -- I was just
 23· · · · using it for my own personal use.
 24· ·BY MR. PASCHAL:
 25· · · · Q.· ·I want to go back two questions ago and you


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 ·1· ·just said that you stopped using the devices because you
 ·2· ·didn't want to tamper with anything.· So were you
 ·3· ·concerned that you were tampering with anything in 2018?
 ·4· · · · A.· ·I was never concerned about tampering with
 ·5· ·anything of Dave's.· I was concerned about tampering
 ·6· ·with my own personal things like -- like through the
 ·7· ·lawsuit you might view that I was somehow like deleting
 ·8· ·my own stuff or something that might be a bad thing but
 ·9· ·I wasn't --
 10· · · · Q.· ·Let me say it this way.· Because of the
 11· ·lawsuit you were concerned that it would appear that you
 12· ·were trying to delete things by using the devices; is
 13· ·that fair to say?
 14· · · · · · ·MR. FREEDMAN:· Objection.
 15· · · · · · ·THE WITNESS:· Can you repeat that?
 16· ·BY MR. PASCHAL:
 17· · · · Q.· ·Yes, was it because of the lawsuit that you
 18· ·stopped using the devices because you were concerned
 19· ·that it would appear that you were trying to delete
 20· ·things?
 21· · · · · · ·MR. FREEDMAN:· Objection.
 22· · · · · · ·THE WITNESS:· I guess that's part of it.
 23· ·BY MR. PASCHAL:
 24· · · · Q.· ·When do you remember that you first considered
 25· ·suing or bringing this action against Dr. Wright?


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 ·1· · · · · · ·MR. FREEDMAN:· Hold on.· What topic are you
 ·2· · · · in?
 ·3· · · · · · ·MR. PASCHAL:· That goes to the facts alleged
 ·4· · · · in the amended complaint.
 ·5· · · · · · ·MR. FREEDMAN:· Which number?
 ·6· · · · · · ·MR. PASCHAL:· That goes to the facts alleged
 ·7· · · · in the alleged complaint.· Goes to preservation of
 ·8· · · · device, chain of custody.· I think it goes to
 ·9· · · · several topics.· You want to go through them all?
 10· · · · · · ·MR. FREEDMAN:· Where -- can you show me the
 11· · · · number?
 12· · · · · · ·MR. PASCHAL:· Preservation of devices I think
 13· · · · that's like the first five.· That's the very
 14· · · · purpose of this deposition.
 15· · · · · · ·MR. FREEDMAN:· I don't think so.· He can
 16· · · · answer.· I'll allow the question but keeping an eye
 17· · · · on you.
 18· · · · · · ·MR. PASCHAL:· Can you read my question back?
 19· · · · · · ·(Thereupon, a portion of the record
 20· · · · · · ·was read back by the reporter.)
 21· · · · · · ·THE WITNESS:· I don't remember the exact date.
 22· ·BY MR. PASCHAL:
 23· · · · Q.· ·Was it 2016?
 24· · · · A.· ·I don't know.
 25· · · · Q.· ·Could it have been after that?


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 ·1· · · · A.· ·It could have been after that.
 ·2· · · · Q.· ·So I'm going to show you an e-mail that you
 ·3· ·had with Patrick Paige, March 31st 2016.
 ·4· · · · · · ·(Defendant's Exhibit No. 7 was
 ·5· · · · · · ·marked for identification.)
 ·6· ·BY MR. PASCHAL:
 ·7· · · · Q.· ·If you turn to the second page and you can
 ·8· ·look at what you said before but you say there are a lot
 ·9· ·of details left out -- you're discussing Craig and
 10· ·things you think about Dr. Wright.· "There are a lot of
 11· ·details left out that I may have to reserve until
 12· ·litigation."· You see that?
 13· · · · A.· ·Yes.
 14· · · · Q.· ·So this was March 31st 2016.· So as early at
 15· ·least March 31st 2016 you were considering litigation?
 16· · · · · · ·MR. FREEDMAN:· Objection.
 17· · · · · · ·THE WITNESS:· I'm not sure about that.
 18· ·BY MR. PASCHAL:
 19· · · · Q.· ·So what were you considering to reserve until
 20· ·litigation when you were talking to Patrick Paige?· Who
 21· ·were you planning on litigating against?
 22· · · · · · ·MR. FREEDMAN:· Ira, if you need to read the
 23· · · · whole e-mail read the whole e-mail and answer the
 24· · · · question.
 25· · · · · · ·MR. PASCHAL:· Take your time.


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 ·1· · · · · · ·THE WITNESS:· Yes, I guess --
 ·2· · · · · · ·MR. FREEDMAN:· Don't guess Ira.· Answer the
 ·3· · · · question if you know it.· Not going to help them if
 ·4· · · · you guess.
 ·5· · · · · · ·THE WITNESS:· I may have been considering
 ·6· · · · litigation against him at that time.
 ·7· ·BY MR. PASCHAL:
 ·8· · · · Q.· ·March 31st 2016?
 ·9· · · · A.· ·I don't believe I filed anything -- it was
 10· ·just --
 11· · · · Q.· ·Just asking --
 12· · · · A.· ·I was thinking about it, yes.
 13· · · · Q.· ·Are there any documents to reflect an earlier
 14· ·date than that?
 15· · · · A.· ·I don't know.
 16· · · · Q.· ·You don't know?· Sorry, I didn't hear you.
 17· · · · A.· ·I don't know.
 18· · · · · · ·MR. PASCHAL:· Showing you an article that
 19· · · · Dr. Wright and your brother wrote.
 20· · · · · · ·(Defendant's Exhibit No. 8 was
 21· · · · · · ·marked for identification.)
 22· ·BY MR. PASCHAL:
 23· · · · Q.· ·It's called Overwriting Hard Drive Data: The
 24· ·Great Wiping Controversy.· You produced this document to
 25· ·us, do you recall that?


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 ·1· · · · A.· ·I guess if we produced it we --
 ·2· · · · Q.· ·Have you read this?
 ·3· · · · A.· ·No.
 ·4· · · · Q.· ·You have what, 20 plus years of experience
 ·5· ·with computers; right?
 ·6· · · · A.· ·Just general use, yes.
 ·7· · · · Q.· ·You're generally familiar with how to
 ·8· ·preserve, overwrite or delete data on a hard drive?
 ·9· · · · A.· ·I don't have any special training in that.                 I
 10· ·just have general computer use.
 11· · · · Q.· ·To my question you have general experience
 12· ·with how to overwrite, preserve or delete data from a
 13· ·hard drive?
 14· · · · A.· ·Not preserve.· If you're talking about like
 15· ·how a forensic specialist might know how to secure data
 16· ·I don't have any training in that type of thing.· I just
 17· ·know how to general --
 18· · · · Q.· ·Generally do you know how to preserve,
 19· ·overwrite and delete data from a hard drive?
 20· · · · · · ·MR. FREEDMAN:· Objection.
 21· · · · · · ·THE WITNESS:· I just know how to generally
 22· · · · store data on a hard drive.
 23· ·BY MR. PASCHAL:
 24· · · · Q.· ·You understand you're under oath today;
 25· ·correct?


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 ·1· · · · A.· ·Yes.
 ·2· · · · Q.· ·You understand the importance when you're
 ·3· ·under oath you have to give complete and truthful
 ·4· ·answers to the best of your ability; correct?
 ·5· · · · A.· ·Yes.
 ·6· · · · · · ·MR. PASCHAL:· I'm showing you your responses
 ·7· · · · to our interrogatories.· This is going to be number
 ·8· · · · eight?
 ·9· · · · · · ·MR. FREEDMAN:· 9.
 10· · · · · · ·(Defendant's Exhibit No. 9 was
 11· · · · · · ·marked for identification.)
 12· · · · · · ·MR. FREEDMAN:· Do you have a copy for us?
 13· · · · · · ·MR. PASCHAL:· Yes.
 14· ·BY MR. PASCHAL:
 15· · · · Q.· ·If you turn to page six a response to request
 16· ·it should be interrogatory number 20 at the second
 17· ·sentence you say "additionally Ira has been employed in
 18· ·web site design and affiliate marketing for the past 22
 19· ·years and uses computers extensively as a part of his
 20· ·work.· During this time Ira became generally familiar
 21· ·with how to preserve, overwrite or erase data on
 22· ·electronic devices."· Is that your statement?
 23· · · · A.· ·Yes.
 24· · · · Q.· ·And you swore this under penalty of perjury
 25· ·just like you did here today; correct?


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 ·1· · · · A.· ·Yes.
 ·2· · · · Q.· ·So do you know or do you have general
 ·3· ·experience with how to preserve, overwrite or delete
 ·4· ·data from a hard drive?
 ·5· · · · A.· ·That's just general every day use.· Just like
 ·6· ·an average computer --
 ·7· · · · Q.· ·With that general knowledge you were in
 ·8· ·possession of overwriting paper that Dave and Dr. Wright
 ·9· ·wrote from March of 2016 you continued to use Dave's
 10· ·electronic devices for your personal use until well
 11· ·after -- almost a year after this litigation was filed;
 12· ·is that correct?
 13· · · · · · ·MR. FREEDMAN:· Objection.
 14· · · · · · ·THE WITNESS:· Yes.
 15· ·BY MR. PASCHAL:
 16· · · · Q.· ·So could we go back to the February 2014
 17· ·e-mail that you had with Craig?
 18· · · · · · ·MR. FREEDMAN:· What exhibit number?
 19· · · · · · ·MR. PASCHAL:· I wasn't writing them down.                 I
 20· · · · think that might be three.
 21· · · · · · ·MR. FREEDMAN:· No, three is the verified
 22· · · · complaint.
 23· · · · · · ·MR. PASCHAL:· Four?· Maybe it's five.
 24· · · · · · ·MR. FREEDMAN:· Four is the 11th October 2012
 25· · · · e-mail.


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 ·1· · · · · · ·MR. PASCHAL:· Yes, that's it, four.
 ·2· ·BY MR. PASCHAL:
 ·3· · · · Q.· ·So we talked about the work papers.· Let's
 ·4· ·talk about the formating of the drives.· You said in
 ·5· ·that e-mail that you couldn't --
 ·6· · · · · · ·MR. FREEDMAN:· Give me one second to grab it
 ·7· · · · myself.· Okay.· Go ahead.
 ·8· ·BY MR. PASCHAL:
 ·9· · · · Q.· ·So you said in that e-mail that you formated
 10· ·drives you could not access.· You see that?
 11· · · · A.· ·Yes.
 12· · · · Q.· ·What did --
 13· · · · · · ·MR. FREEDMAN:· Wait, this is the wrong e-mail.
 14· · · · This is not that e-mail.· This is from Dave Kleiman
 15· · · · to Craig Wright.· What's the date on it?
 16· · · · · · ·MR. PASCHAL:· You know what, you can borrow
 17· · · · mine and give it back to me after this question.
 18· · · · · · ·MR. FREEDMAN:· He doesn't have it in front of
 19· · · · him either.· This is Exhibit 4.
 20· · · · · · ·THE WITNESS:· I know what you're talking
 21· · · · about.
 22· · · · · · ·MR. FREEDMAN:· Hold on a second.
 23· · · · February 14th.· It's Exhibit 6.
 24· ·BY MR. PASCHAL:
 25· · · · Q.· ·Ira, you said you know what I'm talking about.


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 ·1· ·So you said that you couldn't -- you formated drives you
 ·2· ·couldn't access?
 ·3· · · · A.· ·I formated drives that prompted me that they
 ·4· ·could only be formated.
 ·5· · · · Q.· ·Sorry, say that again.
 ·6· · · · A.· ·When I tried to access the drive the pop up
 ·7· ·screen appears and it says that the drive needs to be
 ·8· ·formated.· So I take that as the drive's empty and I
 ·9· ·could format it.
 10· · · · Q.· ·Let's break that down then.· So before you
 11· ·formatted the drive did you ask for any professional
 12· ·help in recovering any data from the drive?
 13· · · · A.· ·No.
 14· · · · Q.· ·When you say I take that as the drive is empty
 15· ·what are you basing that -- your -- that statement on?
 16· · · · A.· ·Just my general computer use.
 17· · · · Q.· ·Your general -- what I discussed before your
 18· ·general knowledge of preserving, deleting and
 19· ·overwriting data?
 20· · · · · · ·MR. FREEDMAN:· Objection.
 21· · · · · · ·THE WITNESS:· My general use of hard drives,
 22· · · · computers.
 23· ·BY MR. PASCHAL:
 24· · · · Q.· ·So Ira, I mean in 2009 Dave tells you that he
 25· ·is working on something that's bigger than Facebook,


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 ·1· ·this digital currency, you have two hard drives and you
 ·2· ·format them; right?
 ·3· · · · A.· ·Yes.
 ·4· · · · Q.· ·And then you continue to use them for several
 ·5· ·years; right?
 ·6· · · · A.· ·Yes.
 ·7· · · · · · ·MR. PASCHAL:· I'm showing you your second
 ·8· · · · amended responses and objections to our first set
 ·9· · · · of interrogatories.· This is going to be number
 10· · · · ten.
 11· · · · · · ·(Defendant's Exhibit No. 10 was
 12· · · · · · ·marked for identification.)
 13· ·BY MR. PASCHAL:
 14· · · · Q.· ·Can you look at response number two and that
 15· ·interrogatory two is identify all electronic devices
 16· ·that Dave Kleiman owned or possessed at the time of his
 17· ·death.· You see that?
 18· · · · A.· ·Yes.
 19· · · · Q.· ·Is this a complete list or is there anything
 20· ·else that needs to be added to this list?
 21· · · · A.· ·I believe that's a complete list.
 22· · · · Q.· ·So these were all electronic devices that Dave
 23· ·had?
 24· · · · A.· ·Yes.
 25· · · · Q.· ·Which of these drives did you format?


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 ·1· · · · A.· ·I believe it was two of the Seagate Momentus.
 ·2· · · · Q.· ·So there's the first one, right the Seagate
 ·3· ·Momentus 500GB, that one?
 ·4· · · · A.· ·I think so.
 ·5· · · · Q.· ·Then it said the amount of data currently
 ·6· ·stored is 17.6 GBs.· You see that?
 ·7· · · · A.· ·Yes.
 ·8· · · · Q.· ·Now, you said that you took the prompt as to
 ·9· ·format the drive there was no information on the drives.
 10· ·Is this entire 17.6 GBs your personal information?
 11· · · · A.· ·I think that's probably mostly the operating
 12· ·system that I installed on it.
 13· · · · Q.· ·And then the next Seagate would be the -- I
 14· ·think three down it's a Seagate Momentus 500 GB.· Are
 15· ·those the same types of drive, just two of them?
 16· · · · A.· ·I believe so.
 17· · · · Q.· ·The third one that's the other one that you
 18· ·formated?
 19· · · · A.· ·I think so.
 20· · · · Q.· ·Did you format the drives so that you could
 21· ·use them personally?
 22· · · · A.· ·Yes.
 23· · · · Q.· ·Well, now if you've been using them for so
 24· ·long why is it saying on the third one the amount of
 25· ·data currently stored is zero?


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 ·1· · · · A.· ·I'm not sure the amount of data on that one is
 ·2· ·accurate.· I'm not sure if that one was reported
 ·3· ·accurately.
 ·4· · · · Q.· ·Would that be for the same one -- scratch
 ·5· ·that.· Strike that.· Would that be the same for the
 ·6· ·first one where you said 17.6 GB was for the operating
 ·7· ·system alone; is that accurate?
 ·8· · · · A.· ·I believe so.
 ·9· · · · Q.· ·You've been using that device for years you
 10· ·haven't stored anything on it?
 11· · · · A.· ·I don't think I really used it that much.                 I
 12· ·remember installing operating systems on those two
 13· ·drives but I never really used it much.
 14· · · · Q.· ·So you formated them so you could use them;
 15· ·right?
 16· · · · A.· ·Yes.· I may have not used it for a very
 17· ·limited amount of time.
 18· · · · Q.· ·When was that limited amount of time?
 19· · · · A.· ·I don't remember.
 20· · · · Q.· ·What are you storing on those devices?
 21· · · · A.· ·I think just the operating systems.· I may
 22· ·have also put like maybe some web site design program on
 23· ·there.
 24· · · · Q.· ·That's it?
 25· · · · A.· ·As far as I can recall.


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 ·1· · · · Q.· ·Ira, are you storing any commercial videos on
 ·2· ·those devices?
 ·3· · · · A.· ·Commercial videos?· I don't know.
 ·4· · · · Q.· ·Are you storing any commercial music files on
 ·5· ·those devices?
 ·6· · · · · · ·MR. FREEDMAN:· Objection.
 ·7· · · · · · ·THE WITNESS:· I would have to look at that, I
 ·8· · · · don't know.
 ·9· ·BY MR. PASCHAL:
 10· · · · Q.· ·Are you storing any personal photos of your
 11· ·family on those devices?
 12· · · · · · ·MR. FREEDMAN:· Objection.
 13· · · · · · ·THE WITNESS:· Are you talking about just the
 14· · · · Seagate?
 15· ·BY MR. PASCHAL:
 16· · · · Q.· ·On these two you formated.
 17· · · · A.· ·I don't know.· I don't think so.· I don't
 18· ·think I put any photos on there.
 19· · · · Q.· ·Were you able to access the remainder of all
 20· ·of Dave's drives?
 21· · · · A.· ·No.
 22· · · · · · ·MR. FREEDMAN:· Objection.
 23· ·BY MR. PASCHAL:
 24· · · · Q.· ·That's in this list.
 25· · · · A.· ·Yes, right.


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 ·1· · · · Q.· ·You weren't able to access them?
 ·2· · · · A.· ·I think there might be one or two that we
 ·3· ·weren't able to access.
 ·4· · · · Q.· ·What were those?
 ·5· · · · A.· ·I think the Hitachi Travelstar.
 ·6· · · · Q.· ·What was the other one?
 ·7· · · · A.· ·I don't remember.
 ·8· · · · Q.· ·What did you do to access the Hitachi
 ·9· ·Travelstar 100 GB?
 10· · · · A.· ·I think I just plugged it in.
 11· · · · Q.· ·You haven't done anything else to it?
 12· · · · A.· ·No.
 13· · · · Q.· ·There's no forensic image of it?
 14· · · · A.· ·There was like you mean after litigation
 15· ·started?· Not prior to litigation.
 16· · · · Q.· ·There was none.· There was one done after the
 17· ·litigation?
 18· · · · A.· ·Yes.
 19· · · · Q.· ·When was that done?
 20· · · · A.· ·I don't remember the date.
 21· · · · Q.· ·Was it this year?
 22· · · · A.· ·Yes.
 23· · · · Q.· ·Are you storing any commercial videos on any
 24· ·of these devices?
 25· · · · A.· ·I don't remember.


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 ·1· · · · Q.· ·Are you storing any commercial music files on
 ·2· ·any of these devices?
 ·3· · · · A.· ·I would have to look at them.· I don't know.
 ·4· · · · Q.· ·You didn't look at them before today?
 ·5· · · · A.· ·Yes, I've looked at them before today but I
 ·6· ·don't remember it exactly what was on them.
 ·7· · · · Q.· ·Do you remember storing any pictures of your
 ·8· ·family on any of those devices?
 ·9· · · · A.· ·I think -- yes, I think I put some photos.                 I
 10· ·mean I would imagine that some of these drives have
 11· ·photos.
 12· · · · Q.· ·Which drives have photos?
 13· · · · A.· ·I don't know specifically.
 14· · · · Q.· ·Can you look at I think it's seven down where
 15· ·you say four to five hard drives that are no longer in
 16· ·the estate's possession.· You see that?
 17· · · · A.· ·Yes.
 18· · · · Q.· ·Then a footnote you say "Ira gave three or
 19· ·four drives that were possessed by Dave Kleiman at the
 20· ·time of his death to Patrick Paige (Dave's business
 21· ·partner in Computer Forensics LLC) as Patrick informed
 22· ·him they were Computer Forensic LLC drives with business
 23· ·data stored on them.· There was one other drive that was
 24· ·on Dave's bedroom counter.· This drive was broken and
 25· ·would not power on.· Ira disposed of this drive in


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 ·1· ·2013."· Do you recall that?
 ·2· · · · A.· ·Yes.
 ·3· · · · Q.· ·I'm going to just break that down.· Can you
 ·4· ·tell me today whether it's three or four drives that you
 ·5· ·gave to Patrick Paige and Carter Conrad?
 ·6· · · · A.· ·I don't remember.
 ·7· · · · · · ·MR. FREEDMAN:· Objection.
 ·8· ·BY MR. PASCHAL:
 ·9· · · · Q.· ·Can you say your answer again?
 10· · · · A.· ·I don't remember the exact number.
 11· · · · Q.· ·Do you recall when you gave him those drives?
 12· · · · · · ·MR. FREEDMAN:· Objection.
 13· · · · · · ·THE WITNESS:· I believe it was maybe within
 14· · · · like a month after Dave passed away.
 15· ·BY MR. PASCHAL:
 16· · · · Q.· ·Did they ever give those drives back to you?
 17· · · · A.· ·No.
 18· · · · Q.· ·I want to go into that but let me ask you
 19· ·this.· You said you found this drive on the bedroom
 20· ·counter.· Did Dave have an office at his house?
 21· · · · A.· ·Yes, he had a room in the back, yes.
   · · · · Q.· ·Was this -- were the three or four drives you
 22·
   · ·you gave to Patrick Paige, were those in his bedroom or
 23·
   · ·were they in his office?
 24·
   · · · · A.· ·They were in his office.
 25·


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 ·1· · · · Q.· ·Before you gave those drives to Patrick Paige
 ·2· ·did you get any professional analysis to see what was on
 ·3· ·the drives?
 ·4· · · · A.· ·No.
 ·5· · · · Q.· ·Did you look in the drives yourself?
 ·6· · · · A.· ·No.
 ·7· · · · Q.· ·Did you access the drives?
 ·8· · · · A.· ·No.
 ·9· · · · Q.· ·How was Patrick able to access the drives?
 10· · · · A.· ·Repeat that.
 11· · · · Q.· ·How was Patrick able to access the drives?
 12· · · · A.· ·I don't know.
 13· · · · Q.· ·So how did Patrick know that -- well, did
 14· ·Patrick tell you how did you know that those drives
 15· ·belonged to Computer Forensics?
 16· · · · A.· ·He told me that they belonged to Computer
 17· ·Forensics.
 18· · · · Q.· ·Did you --
 19· · · · A.· ·I don't remember if they were labeled or not.
 20· · · · Q.· ·But so other than Patrick's word they belonged
 21· ·to Computer Forensics did you have anything else to show
 22· ·that they may have not been belonged to Computer
 23· ·Forensics?
 24· · · · · · ·MR. FREEDMAN:· Objection.
 25· · · · · · ·THE WITNESS:· No.


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 ·1· ·BY MR. PASCHAL:
 ·2· · · · Q.· ·You don't know what was stored on those
 ·3· ·drives, do you?
 ·4· · · · A.· ·Correct.
 ·5· · · · Q.· ·So if a Bitcoin wallet was on that drive you
 ·6· ·wouldn't know?
 ·7· · · · A.· ·Yes, I don't know -- I never looked at the
 ·8· ·drives.
 ·9· · · · Q.· ·Have you asked for those drives back from
 10· ·Patrick?
 11· · · · A.· ·No.
 12· · · · Q.· ·Now, you say that there was a drive on the
 13· ·bedroom counter that you couldn't power on and you
 14· ·disposed of it.· Do you recall that?
 15· · · · A.· ·Yes.
 16· · · · Q.· ·Dave had an office so was this the only drive
 17· ·that was in his bedroom?
 18· · · · A.· ·No.· I believe there were -- he kept his
 19· ·backpack.
 20· · · · Q.· ·So let me do this then.· I'm not going to show
 21· ·you the photo but on his counter he had a backpack, a
 22· ·blue backpack?
 23· · · · A.· ·Not on the counter.· In his bedroom.· You
 24· ·asked if there were other hard drives in his bedroom.
 25· · · · Q.· ·Okay.· Were there any hard drives in his


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 ·1· ·bedroom?
 ·2· · · · A.· ·Yes.
 ·3· · · · Q.· ·What other drives were in his bedroom?
 ·4· · · · A.· ·I believe most of the drives that you have
 ·5· ·listed here.
 ·6· · · · Q.· ·So he kept all of his drives in his bedroom?
 ·7· · · · A.· ·In a backpack, yes.
 ·8· · · · Q.· ·But the three or four drives that he didn't
 ·9· ·have in the backpack they were in his office?
 10· · · · A.· ·Yes.
 11· · · · Q.· ·Now, this one drive was on the bedroom
 12· ·counter; right?
 13· · · · A.· ·Yes.
 14· · · · Q.· ·It was the only drive that was on the bedroom
 15· ·counter?
 16· · · · A.· ·Yes.
 17· · · · Q.· ·What was on his bedroom counter?
 18· · · · · · ·MR. FREEDMAN:· Objection.
 19· · · · · · ·THE WITNESS:· I don't remember exactly.
 20· ·BY MR. PASCHAL:
 21· · · · Q.· ·What did this drive look like?
 22· · · · A.· ·I just remember it was an external drive.
 23· · · · Q.· ·Do you remember what color it was?
 24· · · · A.· ·No.
 25· · · · Q.· ·You don't know what type it was either?


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 ·1· · · · A.· ·Not offhand.
 ·2· · · · Q.· ·Do you remember how big it was?
 ·3· · · · A.· ·Maybe like six or seven inches high by a
 ·4· ·couple inches wide.
 ·5· · · · Q.· ·So like --
 ·6· · · · A.· ·Yes.
 ·7· · · · Q.· ·It was a big hard drive?
 ·8· · · · A.· ·I don't --
 ·9· · · · Q.· ·It wasn't like a laptop hard drive, let me ask
 10· ·that?
 11· · · · A.· ·No, it wasn't a laptop drive.· It was an
 12· ·external drive.
 13· · · · Q.· ·For like a tower computer?
 14· · · · A.· ·For a tower computer?
 15· · · · Q.· ·For like a regular computer?· For like a
 16· ·desktop computer?
 17· · · · A.· ·It could be used with anything.
 18· · · · Q.· ·You just plug it in?
 19· · · · A.· ·You can connect it to any type of computer.
 20· · · · Q.· ·I'm not going to show the picture but on
 21· ·Dave's countertop he had a blue backpack, he had a
 22· ·yellow shirt, he had another bag, he had a bottle of
 23· ·beer.· There was a wine glass that was empty and then he
 24· ·had his glass mirror here.· There was a cell phone on
 25· ·the top of a white box and then right below it there was


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 ·1· ·a very, very small black box, that doesn't fit the
 ·2· ·description of the hard drive you're talking about but
 ·3· ·could that have been the hard drive?
 ·4· · · · · · ·MR. FREEDMAN:· Objection.
 ·5· · · · · · ·THE WITNESS:· Where are you getting this
 ·6· · · · picture?· I don't even -- I don't understand the
 ·7· · · · picture that you're just painting.
 ·8· ·BY MR. PASCHAL:
 ·9· · · · Q.· ·The pictures that the police took after when
 10· ·they --
 11· · · · A.· ·You have actual photos?
 12· · · · Q.· ·Yes.· I can show them.
 13· · · · A.· ·Yes, it would help if I could see the photo
 14· ·then I might -- I don't know.
 15· · · · · · ·MR. PASCHAL:· Can we print here?
 16· · · · · · ·MR. FREEDMAN:· Yes.
 17· · · · · · ·MR. PASCHAL:· So on our next break I'll print
 18· · · · it and show you.· I don't know -- the reason why I
 19· · · · did not show you is because it's -- it is graphic.
 20· · · · So I don't know if -- at the next break you guys
 21· · · · decide if you want to see it and I can point it out
 22· · · · to you, okay?
 23· · · · · · ·THE WITNESS:· Okay.
 24· ·BY MR. PASCHAL:
 25· · · · Q.· ·So the pictures that the police took from the


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 ·1· ·day that they went to Dave's house you haven't seen any
 ·2· ·of those pictures?
 ·3· · · · A.· ·No.
 ·4·
 ·4· · · · Q.· ·On the drive that you -- you threw away you
 ·5·
 ·5  ·wouldn't
   · ·wouldn't be able to tell us today one way or another
 ·6·
 ·6  ·whether
   · ·whether or not there was Bitcoin
                                  coin wallets or Bitcoin
                                                    Improper predicate, argumentati
                                                                        argumentative
                                                                                  ive
                                                                                  i e
 ·7·
 ·7  ·information
   · ·information on that drive?                    (through line 21)
 ·8· · · · A.· ·I was never able to access it.
 ·8
 ·9·
 ·9· · · · Q.· ·So you wouldn't be able to tell us today
 10·
 1
 10  ·whether
   · ·whether or not Bitcoin wallets or Bitcoin were on that
 11·
 1
 11  ·drive?
   · ·drive?
 12· · · · · · ·MR. FREEDMAN:· Objection.
 13·
 13· · · · · · ·THE WITNESS:· Again I wasn't able to access
 14·
 14· · · · it.
 15·
 15· ·BY MR. PASCHAL:
 16·
 16· · · · Q.· ·Is it a yes or no?
 17·
 17· · · · A.· ·Anything could have been on it.
 18·
 18· · · · Q.· ·But you wouldn't know?
 19·
 19· · · · A.· ·I wouldn't know because I couldn't access it.
 20·
 20· · · · Q.· ·And you threw it away?
 21·
 21· · · · A.· ·Yes.· It was -- it didn't work.
 22· · · · Q.· ·Just going back.· So when you came in
 23· ·possession of Dave's computers did you have your own
 24· ·personal computer?
 25· · · · A.· ·Yes.


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 ·1· · · · Q.· ·So why did you format Dave's devices so that
 ·2· ·you could use those computers?
 ·3· · · · A.· ·I guess I needed more storage space.· Maybe my
 ·4· ·computer was full with stuff, other stuff.
 ·5· · · · Q.· ·So sitting here today you can't tell us why
 ·6· ·you decided to use Dave's computers, you're speculating,
 ·7· ·are you?
 ·8· · · · A.· ·Why I couldn't use --
 ·9· · · · Q.· ·Why did you use Dave's computers rather than
 10· ·your own?
 11· · · · A.· ·I put the operating systems on there because
 12· ·my computer might have had a different operating system.
 13· ·For one reason or another I needed to use like Windows 7
 14· ·or Windows 8 so that's why I formated those two and put
 15· ·those operating systems on there.
 16· · · · Q.· ·Why didn't you just get another hard drive or
 17· ·computer?
 18· · · · · · ·MR. FREEDMAN:· Objection.
 19· · · · · · ·THE WITNESS:· His were laying around and
 20· · · · they -- they said they could be formated.
 21· ·BY MR. PASCHAL:
 22· · · · Q.· ·Who said they could be formated?
 23· · · · A.· ·When I plugged them in the pop up screen said
 24· ·that the drives need to be formated.· So that to me that
 25· ·appears that the drives were empty.


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 ·1· · · · Q.· ·When you had the drive that was broken what
 ·2· ·made you think it was broken?
 ·3· · · · A.· ·It wouldn't turn on.· You didn't hear like the
 ·4· ·platter spinning or anything.
 ·5· · · · Q.· ·Did you ask for any professional help trying
 ·6· ·to get it to start, to turn on?
 ·7· · · · A.· ·No.
 ·8· · · · Q.· ·So just -- you tried turning it on it didn't
 ·9· ·turn on so you threw it away?
 10· · · · A.· ·Yes.
 11· · · · · · ·MR. FREEDMAN:· Objection.
 12· ·BY MR. PASCHAL:
 13· · · · Q.· ·So when you became the personal representative
 14· ·of the estate of Dave Kleiman what steps did you take to
 15· ·preserve the assets of the estate?
 16· · · · A.· ·Well, I reached out to my attorney --
 17· · · · · · ·MR. FREEDMAN:· Ira, if you can answer the
 18· · · · question without revealing what you discussed with
 19· · · · your attorney then answer it.· But don't discuss
 20· · · · anything that you discussed with your attorney.
 21· · · · · · ·MR. PASCHAL:· Your objection is don't talk
 22· · · · about Karp?
 23· · · · · · ·MR. FREEDMAN:· Just discussions with your
 24· · · · lawyer.
 25· · · · · · ·MR. PASCHAL:· Don't tell me about your


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 ·1· · · · conversations with Karp.
 ·2· ·BY MR. PASCHAL:
 ·3· · · · Q.· ·When you became the personal representative
 ·4· ·what did you do to preserve the assets of the estate?
 ·5· · · · A.· ·My attorney assisted me with doing that.
 ·6· · · · Q.· ·But what did you do like did you -- what did
 ·7· ·you do personally to preserve whatever was in Dave's
 ·8· ·house?
 ·9· · · · · · ·MR. FREEDMAN:· Objection.
 10· · · · · · ·THE WITNESS:· I collected his personal things.
 11· ·BY MR. PASCHAL:
 12· · · · Q.· ·And what did you collect?
 13· · · · A.· ·Well, his computer equipment, some guns in his
 14· ·gun safe.· Some of his clothing.· Just personal items.
 15· ·Like I said, his computer certificates, things like
 16· ·that.
 17· · · · Q.· ·Can you go back to the February 2014 e-mail
 18· ·that you had with Dr. Wright where you discussed
 19· ·formating the drives?
 20· · · · · · ·MR. FREEDMAN:· Which exhibit number?
 21· · · · · · ·MR. PASCHAL:· I didn't write it down.· Do you
 22· · · · have it?
 23· · · · · · ·MR. FREEDMAN:· I think it's Exhibit 6.
 24· ·BY MR. PASCHAL:
 25· · · · Q.· ·So if you go to the second page that's the


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 ·1· ·second paragraph where you start with Patrick.· You say
 ·2· ·"Patrick and his partner e-mailed me the other day and
 ·3· ·would like me to bring over his, I guess that means
 ·4· ·Dave's, drives.· I haven't spoken with them about what
 ·5· ·happened if they did manage to access his account.                  I
 ·6· ·assume that anything in it cannot be traced when there
 ·7· ·is a withdrawal.· Being that I've only met Patrick a
 ·8· ·couple times in my life I was wondering if there are any
 ·9· ·safety measures you can recommend to me so I don't make
 10· ·another mistake."· So let's break this down.· What did
 11· ·you mean by another mistake?
 12· · · · A.· ·I guess I was thinking that if I discarded
 13· ·anything that could have been important or related to
 14· ·Bitcoin.
 15· · · · Q.· ·Then the section before you say "being that
 16· ·I've only met Patrick a couple times in my life I was
 17· ·wondering if there were any safety measures to
 18· ·recommended to me again so I don't make another
 19· ·mistake."· This is in February 2014 and you're saying
 20· ·that you have only met Patrick a couple times in my
 21· ·life?
 22· · · · · · ·MR. FREEDMAN:· Objection.
 23· ·BY MR. PASCHAL:
 24· · · · Q.· ·Is that correct?
 25· · · · · · ·MR. FREEDMAN:· Objection.


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 ·1· · · · · · ·THE WITNESS:· Yes.
 ·2· ·BY MR. PASCHAL:
 ·3· · · · Q.· ·But one month after Dave died you gave him
 ·4· ·three or four of Dave's hard drives; right?
 ·5· · · · A.· ·Correct.
 ·6· · · · Q.· ·That was only based on him telling you these
 ·7· ·belong to Computer Forensics?
 ·8· · · · A.· ·Yes.
 ·9· · · · Q.· ·I want to be clear you take any images of the
 10· ·drives that you gave to Patrick; right?
 11· · · · A.· ·No.
 12· · · · Q.· ·So you have no copies?
 13· · · · A.· ·No.
 14· · · · Q.· ·So if you go back to the e-mail you say you're
 15· ·going to give certain drives to Patrick and Conrad for
 16· ·them to analyze.· Do you see that?
 17· · · · A.· ·Yes.
 18· · · · Q.· ·Did you give them drives?
 19· · · · A.· ·No.
 20· · · · Q.· ·Why didn't you give them any drives excluding
 21· ·the three or four that you had already given him why
 22· ·didn't you give him drives at this point?
 23· · · · A.· ·I didn't -- what date are we talking about
 24· ·again?
 25· · · · Q.· ·So in February of 2014 you told Craig that you


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 ·1· ·were going to give Patrick and Conrad some of Dave's
 ·2· ·electronic devices to analyze.· Did you give Patrick and
 ·3· ·Conrad Dave's --
 ·4· · · · A.· ·No.
 ·5· · · · Q.· ·The answer is no?
 ·6· · · · A.· ·No, I didn't.
 ·7· · · · · · ·MS. MCGOVERN:· Just finish the question.
 ·8· ·BY MR. PASCHAL:
 ·9· · · · Q.· ·And why didn't you give Patrick and Conrad the
 10· ·drives?
 11· · · · A.· ·I thought that the best idea would be to allow
 12· ·Craig to examine them.
 13· · · · Q.· ·So you didn't give any drives to Patrick
 14· ·Paige?
 15· · · · A.· ·No.
 16· · · · Q.· ·Except for the three or four; right?
 17· · · · A.· ·Right.
 18· · · · · · ·MR. PASCHAL:· I'm showing you the first
 19· · · · amended complaint you filed against Patrick Paige
 20· · · · and Carter Conrad.· This is going to be what
 21· · · · exhibit?
 22· · · · · · ·THE COURT REPORTER:· 11.
 23· · · · · · ·(Defendant's Exhibit No. 11 was
 24· · · · · · ·marked for identification.)
 25


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 ·1· ·BY MR. PASCHAL:
 ·2· · · · Q.· ·Can you turn to paragraph 18?· Let me know
 ·3· ·when you're there.
 ·4· · · · A.· ·Okay.
 ·5· · · · Q.· ·So at paragraph 18 you say "shortly after
 ·6· ·David Kleiman's passing plaintiff, and that's you, also
 ·7· ·entrusted Computer Forensics and Patrick Paige with a
 ·8· ·smart phone owned by decedent, being Dave, which was
 ·9· ·provided the defendants for the purpose of unlocking the
 10· ·phone as it was password protected in aid of plaintiff's
 11· ·efforts to develop information as to assets of the
 12· ·estate.
 13· · · · · · ·The phone has never been returned to plaintiff
 14· ·and defendant Paige has since claimed that he, a
 15· ·computer forensic consultant, had thrown away the phone
 16· ·after he had dropped the phone and cracked the screen."
 17· ·Do you recall making this allegation?
 18· · · · A.· ·Yes.
 19· · · · Q.· ·So you attempted to access the device being
 20· ·the phone by giving it to Patrick Paige; correct?
 21· · · · A.· ·Yes.
 22· · · · Q.· ·But he never gave you any information from
 23· ·that device?
 24· · · · A.· ·Correct.
 25· · · · Q.· ·Did he ever give it back to you?


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 ·1· · · · A.· ·No.
 ·2· · · · Q.· ·When did you give that phone to -- that device
 ·3· ·to Patrick?
 ·4· · · · A.· ·It was the same time that I handed him -- when
 ·5· ·he took the three drives from Dave's home.
 ·6· · · · Q.· ·Why did you give him something?
 ·7· · · · A.· ·Because I couldn't access it and he is a
 ·8· ·computer forensics expert I thought he would have a
 ·9· ·better chance at it than I would.
 10· · · · · · ·MR. PASCHAL:· Showing you your response and
 11· · · · objections to our first set of interrogatories.
 12· · · · · · ·(Defendant's Exhibit No. 12 was
 13· · · · · · ·marked for identification.)
 14· ·BY MR. PASCHAL:
 15· · · · Q.· ·Can you turn to the last page of this
 16· ·document?· Can you read that statement that you made?
 17· · · · A.· ·"I, Ira Kleiman declare under penalty of
 18· ·perjury under the laws in the United States and the
 19· ·State of Florida that the foregoing is true and
 20· ·correct."
 21· · · · Q.· ·Can you turn to interrogatory response number
 22· ·three?
 23· · · · A.· ·Okay.
 24· · · · Q.· ·We ask you "describe with specificity all
 25· ·attempts you have made to access Dave Kleiman's


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 ·1· ·electronic devices."· Your response was "Ira did not
 ·2· ·keep a record of every attempt he made to access Dave
 ·3· ·Kleiman's electronic devices.· That said, Ira states
 ·4· ·that he personally reviewed all drives that were
 ·5· ·accessible.· During this review Ira looked through each
 ·6· ·individual folder and each individual file contained on
 ·7· ·these drives to find anything of importance."
 ·8· · · · · · ·You didn't mention in here that you gave a
 ·9· ·device the cell phone to Patrick Paige for them to
 10· ·access; is that correct?
 11· · · · A.· ·Well, those drives from what I believe --
 12· · · · Q.· ·Not the drives I'm asking you -- go ahead.
 13· · · · A.· ·What are you referring to?
 14· · · · Q.· ·The phone, the device, the one that you allege
 15· ·in the Computer Forensic lawsuit.
 16· · · · A.· ·Yes, I didn't give him the cell phone.· I just
 17· ·asked him to access it.
 18· · · · Q.· ·So in your amended complaint for Computer
 19· ·Forensics you didn't allege that you gave the phone to
 20· ·Patrick to access the phone and that he told you that he
 21· ·cracked the screen and threw it away?
 22· · · · A.· ·I handed the phone to him with an expectation
 23· ·that it would be returned to me.
 24· · · · Q.· ·But you gave it to him so he could access the
 25· ·phone; right?


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 ·1· · · · A.· ·Yes.
 ·2· · · · Q.· ·Your testimony earlier was you gave it to him
 ·3· ·because he is a computer forensic expert so you can
 ·4· ·access the device?
 ·5· · · · A.· ·Yes.
 ·6· · · · Q.· ·I'm asking you you gave this answer under the
 ·7· ·penalty of perjury.· When we asked you describe with
 ·8· ·specificity all attempts you made to access Dave
 ·9· ·Kleiman's devices.· You did not say in this answer that
 10· ·you gave an electronic device, being the phone, to
 11· ·Patrick to access?
 12· · · · A.· ·I thought we listed that phone on here.
 13· · · · Q.· ·I'm looking just this one interrogatory right
 14· ·here.· You can go through them but nowhere in there do
 15· ·you say you gave the phone to Patrick Paige.
 16· · · · A.· ·Okay.
 17· · · · Q.· ·So is this an untruthful response?
 18· · · · A.· ·It's possible we just missed including the
 19· ·cell phone.
 20· · · · Q.· ·Can you go to your amendment to this
 21· ·interrogatory which is second amended response and
 22· ·objection to Dr. Wright's first set of interrogatories.
 23· ·That's Exhibit 10.
 24· · · · · · ·MR. FREEDMAN:· Are you done with 12?
 25· · · · · · ·MR. PASCHAL:· We're going to use it again.


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 ·1· ·BY MR. PASCHAL:
 ·2· · · · Q.· ·Can you turn to page 11, that's the last page.
 ·3· ·You took an oath to the court reporter today and you
 ·4· ·also signed this verification.· Can you read it out to
 ·5· ·me?
 ·6· · · · A.· ·"I, Ira Kleiman, declare under penalty of
 ·7· ·perjury under the law of the United States and State of
 ·8· ·Florida that the foregoing is true and correct."
 ·9· · · · Q.· ·Can you go back to that same interrogatory
 10· ·request number three.· In the first paragraph you say
 11· ·the same thing that you said -- just so I'm clear on
 12· ·these you revised them you served us on March 21, 2019,
 13· ·okay?· Your first interrogatory responses the first
 14· ·version of this you served on March 7th 2019.· So two
 15· ·weeks later we get this revised response.· If you look
 16· ·in the second paragraph you add one paragraph to this
 17· ·response.· You want to go ahead and read that?
 18· · · · A.· ·Where are you?
 19· · · · Q.· ·Interrogatory three, the same one we're
 20· ·talking about.· It says request number three but it
 21· ·should be -- you say describe with specificity?
 22· · · · A.· ·"Describe with specificity all the attempts
 23· ·you have made to access Dave Kleiman's electronic
 24· ·devices."
 25· · · · Q.· ·Now, that first paragraph it's the same


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 ·1· ·paragraph you had in your previous version to this
 ·2· ·interrogatory; right?
 ·3· · · · A.· ·Yes.
 ·4· · · · Q.· ·Now, if you turn the page you added the
 ·5· ·paragraph.· In this paragraph you mention that you gave
 ·6· ·an electronic device to Patrick Paige to access?
 ·7· · · · A.· ·Apparently not.
 ·8· · · · Q.· ·So in the two week span that you revised you
 ·9· ·did not include that additional information in this
 10· ·interrogatory response; correct?
 11· · · · A.· ·I guess we missed it.
 12· · · · Q.· ·In the two weeks that you served the first
 13· ·response and the second response what information did
 14· ·you get to remember that you installed Windows operating
 15· ·systems on two drives in an effort to gain access to the
 16· ·drives in 2013?· What caused you to remember that that
 17· ·information was missing?
 18· · · · · · ·MR. FREEDMAN:· Objection.
 19· · · · · · ·THE WITNESS:· Can you repeat that again?
 20· ·BY MR. PASCHAL:
 21· · · · Q.· ·Yes, you give us a response on March 7th 2019;
 22· ·right?
 23· · · · A.· ·Yes.
 24· · · · Q.· ·You supplement that response two weeks later
 25· ·to add a new paragraph in that second paragraph here


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 ·1· ·where you're saying you installed windows on the drives
 ·2· ·which you didn't include in your first version to these
 ·3· ·interrogatories.
 ·4· · · · A.· ·I don't know.
 ·5· · · · · · ·MR. FREEDMAN:· Objection.
 ·6· ·BY MR. PASCHAL:
 ·7· · · · Q.· ·Are there any documents that shows why you
 ·8· ·remembered that your first answer was incomplete?
 ·9· · · · · · ·MR. FREEDMAN:· Objection.
 10· · · · · · ·THE WITNESS:· I don't know.
 11· ·BY MR. PASCHAL:
 12· · · · Q.· ·Is this a truthful answer?
 13· · · · A.· ·At the time I believe it was.
 14· · · · Q.· ·Is it truthful today?
 15· · · · A.· ·It's possible some information was missed.
 16· · · · Q.· ·Is it truthful?
 17· · · · · · ·MR. FREEDMAN:· Objection.
 18· · · · · · ·THE WITNESS:· If it's missing some information
 19· · · · I guess it's not completely.
 20· ·BY MR. PASCHAL:
 21· · · · Q.· ·While we're on the interrogatories I'm showing
 22· ·you an e-mail that you had with Patrick Paige and this
 23· ·is June 27, 2015.· I think that's Exhibit 12.
 24· · · · · · ·MR. ROCHE:· 13.
 25


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 ·1· · · · · · ·(Defendant's Exhibit No. 13 was
 ·2· · · · · · ·marked for identification.)
 ·3· ·BY MR. PASCHAL:
 ·4· · · · Q.· ·In this e-mail you start by saying "hi
 ·5· ·Patrick, I don't think I'm going to be able to meet up
 ·6· ·this week.· Need to finish a client's web site.· But for
 ·7· ·now I stored the drives in a safe deposit box so they'll
 ·8· ·remain safe and as Craig mentioned there's no time limit
 ·9· ·with this stuff so we have time to figure it all out."
 10· ·Do you remember this e-mail?
 11· · · · A.· ·Yes.
 12· · · · Q.· ·Just as an initial matter is there any
 13· ·reason -- what computer did you send this e-mail from?
 14· · · · A.· ·I guess my personal computer.
 15· · · · Q.· ·Is there a reason why the date is set for the
 16· ·day to go first then the month and then the year?
 17· · · · A.· ·Can you repeat that?
 18· · · · Q.· ·If you look at the sent the time where it says
 19· ·Saturday and then it says the date 27 and then it says
 20· ·the month 6 and then the year 2015?
 21· · · · A.· ·Right.
 22· · · · Q.· ·Is there -- was is it unusual to you that it's
 23· ·set like that?
 24· · · · A.· ·I never really paid attention to it.
 25· · · · Q.· ·Your e-mail is -- your e-mail sends out using


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 ·1· ·that date format; right?
 ·2· · · · · · ·MR. FREEDMAN:· Objection.
 ·3· · · · · · ·THE WITNESS:· I don't know.· I never paid
 ·4· · · · attention to it.
 ·5· ·BY MR. PASCHAL:
 ·6· · · · Q.· ·There's no cause for concern let me ask you
 ·7· ·that that your e-mails are sending out --
 ·8· · · · · · ·MR. FREEDMAN:· Objection.
 ·9· ·BY MR. PASCHAL:
 10· · · · Q.· ·No, right?
 11· · · · A.· ·No.
 12· · · · Q.· ·Would it be surprising to you if Dave had
 13· ·e-mails that also had -- used that same date
 14· ·configuration?
 15· · · · · · ·MR. FREEDMAN:· Objection.
 16· ·BY MR. PASCHAL:
 17· · · · Q.· ·Date, month, year?
 18· · · · A.· ·I suppose not.
 19· · · · Q.· ·In the February 2000 -- February 15, 2014
 20· ·e-mail you told Patrick that you put the drives in a
 21· ·safe deposit box; correct?
 22· · · · · · ·MR. FREEDMAN:· Objection.
 23· · · · · · ·THE WITNESS:· Yes.
 24· ·BY MR. PASCHAL:
 25· · · · Q.· ·Now, can you turn to your responses and


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 ·1· ·objections to the second set of interrogatories.                    I
 ·2· ·don't have an exhibit number on that but you guys have
 ·3· ·it.
 ·4· · · · · · ·MR. FREEDMAN:· Second amended?
 ·5· · · · · · ·MR. PASCHAL:· Not the second amended, the
 ·6· · · · second set of interrogatories.
 ·7· · · · · · ·MR. FREEDMAN:· I have responses objections to
 ·8· · · · Wright's first set of interrogatories to plaintiff.
 ·9· · · · I have plaintiff's second amended responses and
 10· · · · objection to Wright's first set of interrogatories.
 11· · · · · · ·MR. PASCHAL:· Is it in that stack?
 12· · · · · · ·MR. FREEDMAN:· It should be identical.· One is
 13· · · · marked and one is not.
 14· · · · · · ·MR. ROCHE:· Plaintiff's responses and
 15· · · · objections to plaintiff's second set?
 16· · · · · · ·MR. FREEDMAN:· What number?
 17· · · · · · ·MR. ROCHE:· Nine.
 18· ·BY MR. PASCHAL:
 19· · · · Q.· ·So at 14 we ask you to describe with
 20· ·specificity all efforts you made to preserve Dave
 21· ·Kleiman's electronic devices and data contained on them.
 22· ·Do you see that interrogatory?
 23· · · · A.· ·Yes.
 24· · · · Q.· ·Under the penalty of perjury again you said "I
 25· ·restored all of Dave Kleiman's electronic devices in the


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 ·1· ·exact same place that he found them in Dave's computer
 ·2· ·backpack?"
 ·3· · · · A.· ·Yes.
 ·4· · · · Q.· ·Are they in a backpack or safety deposit box?
 ·5· · · · A.· ·In a back pack.
 ·6· · · · Q.· ·So you never put them in a safe deposit box?
 ·7· · · · A.· ·I was thinking about them putting them in a
 ·8· ·save deposit.· Then I decided to keep them where I found
 ·9· ·them.
 10· · · · Q.· ·You said when Ira reviewed these devices he
 11· ·found nothing of importance or out of ordinary but you
 12· ·did find the true crypt file on the drive which you
 13· ·could not access.· You made copies of these files?
 14· · · · · · ·MR. FREEDMAN:· Objection.
 15· ·BY MR. PASCHAL:
 16· · · · Q.· ·You see that?
 17· · · · A.· ·Yes.
 18· · · · Q.· ·How did you determine what was of importance
 19· ·or whether something was out of the ordinary?
 20· · · · A.· ·I basically kept everything of Dave's, all of
 21· ·his files.· But are you -- are you asking me about the
 22· ·true crypt file specifically?
 23· · · · Q.· ·I'm asking in that sentence.· "When I reviewed
 24· ·Dave's devices he found nothing of importance or out of
 25· ·the ordinary."· These are Dave's work laptops; correct,


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 ·1· ·some of them were his personal laptops, work laptops;
 ·2· ·right?
 ·3· · · · · · ·MR. FREEDMAN:· Objection.
 ·4· · · · · · ·THE WITNESS:· I don't know what drives were in
 ·5· · · · his laptops.
 ·6· ·BY MR. PASCHAL:
 ·7· · · · Q.· ·But these drives had Dave's work on them;
 ·8· ·right?
 ·9· · · · A.· ·It had forensic related software on them.                 I
 10· ·don't know.
   · · · · Q.· ·How did you determine that there was nothing
 11·
 12·
   · ·of importance or out of the ordinary on Dave's drives?
   · · · · A.· ·I kept all of his stuff.
 13·
   · · · · Q.· ·That's not my question.· My question is how
 14·
   · ·did you determine whether something was of importance or
 15·
   · ·out of the ordinary?
 16·
   · · · · A.· ·Being that I didn't delete any of his
 17·
   · ·things -- I just kept everything.
 18·
 19· · · · Q.· ·You made a statement here that he found or you
 20· ·found nothing of importance out of the ordinary.· What
 21· ·were you looking for in those drives to determine
 22· ·whether anything was of importance or was out of the
 23· ·ordinary?
 24· · · · A.· ·I don't know.
 25· · · · Q.· ·I'm sorry, could you say that again?


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 ·1· · · · A.· ·I don't know.
 ·2· · · · Q.· ·The true crypt file, what have you done to
 ·3· ·access that file?
 ·4· · · · A.· ·I just stored it -- I just made copies of it.
 ·5· ·There's been no attempt to access it.
 ·6· · · · · · ·THE VIDEOGRAPHER:· The time is 12:18 p.m. and
 ·7· · · · we're off the record.
 ·8· · · · · · ·(Thereupon, a brief recess was taken.)
 ·9· · · · · · ·THE VIDEOGRAPHER:· The time is now 1:11 p.m.
 10· · · · and we are now back on the record.
 11· ·BY MR. PASCHAL:
 12· · · · Q.· ·So Ira, when we left off we were talking about
 13· ·where Dave's devices were located, whether they were in
 14· ·a safety deposit box or computer bag.· You said they're
 15· ·in the computer bag?
 16· · · · A.· ·Yes.
 17· · · · Q.· ·Where is that computer bag located?
 18· · · · A.· ·In my home.
 19· · · · Q.· ·So you have the hard drives and the bag?
 20· · · · A.· ·Yes.
 21· · · · Q.· ·What type of bag is it?
 22· · · · A.· ·Just a large backpack.
 23· · · · Q.· ·Do you know the brand?
 24· · · · A.· ·Not offhand.
 25· · · · Q.· ·Where in your house are you keeping it?


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 ·1· · · · A.· ·I think it's in my bedroom.
 ·2· · · · Q.· ·You think or -- are you guessing, do you know
 ·3· ·for sure?
 ·4· · · · A.· ·Well, I sometimes move around.· Sometimes if I
 ·5· ·was like using the drives it would be in my bedroom.
 ·6· ·Other times I would store it in an extra room.
 ·7· · · · Q.· ·You said when you use the drives, what are you
 ·8· ·using the drives for?
 ·9· · · · A.· ·Just my personal files.
 10· · · · Q.· ·What personal files?
 11· · · · A.· ·I don't recall exactly.
 12· · · · Q.· ·Because earlier we spoke and on the drives
 13· ·you -- strike that.· So I'm going back to Computer
 14· ·Forensics, the complaint you filed against Computer
 15· ·Forensics and Patrick Paige.· Do you have that in front
 16· ·of you?
 17· · · · · · ·MR. FREEDMAN:· 11, right?
 18· · · · · · ·MR. PASCHAL:· Yes.· Do you have it?
 19· · · · · · ·MR. FREEDMAN:· Yes.
 20· ·BY MR. PASCHAL:
 21· · · · Q.· ·So if you go to paragraph 32 on page eight.
 22· ·That's a Count III and you're seeking a permanent
 23· ·injunction.· Do you see that?
 24· · · · A.· ·32?
 25· · · · Q.· ·The heading Count III seeking a permanent


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 ·1· ·injunction?
 ·2· · · · A.· ·Yes.
 ·3· · · · Q.· ·If you go to paragraph 32 and you look at the
 ·4· ·last sentence you say "further upon information and
 ·5· ·belief David Kleiman created and maintained Bitcoin
 ·6· ·wallets which were his personal property during the time
 ·7· ·he was a member of Computer Forensics."· Do you recall
 ·8· ·making that allegation?
 ·9· · · · A.· ·I don't remember saying those exact words
 10· ·but --
 11· · · · Q.· ·But this is your complaint; right?
 12· · · · A.· ·Yes.
 13· · · · Q.· ·Now, if you go to paragraph 35 at the last
 14· ·sentence as a part of your permanent injunction you say
 15· ·to the extent that Computer Forensics, Paige or Conrad
 16· ·have retained any Bitcoin wallets that were the personal
 17· ·property of David Kleiman Computer Forensics should be
 18· ·enjoined from monetizing, transferring or otherwise
 19· ·converting such Bitcoin to its use and that's a typo it
 20· ·should be or it says of or the use of its principals or
 21· ·third parties.· Do you see that allegation that you
 22· ·made?
 23· · · · A.· ·Yes.
 24· · · · Q.· ·So can you turn to your second amended
 25· ·responses to our first interrogatories I think that's


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 ·1· ·ten.
 ·2· · · · · · ·MR. FREEDMAN:· Second amended responses?
 ·3· · · · · · ·MR. PASCHAL:· Yes.
 ·4· · · · · · ·MR. FREEDMAN:· It is ten.
 ·5· · · · · · ·MR. PASCHAL:· 10.
 ·6· ·BY MR. PASCHAL:
 ·7· · · · Q.· ·Can you turn to page four?· You ready?· You
 ·8· ·say "describe with specificity all attempts you made to
 ·9· ·determine the identity and location of any crypto
 10· ·currency that David Kleiman owned or possessed at the
 11· ·time of his death."
 12· · · · · · ·In your answer under the penalty of perjury
 13· ·you did not make any mention that you're seeking a
 14· ·permanent injunction against Computer Forensics, Patrick
 15· ·Paige, Carter Conrad for the return of David Kleiman's
 16· ·personal Bitcoin wallets, do you?
 17· · · · A.· ·Could you repeat that?
 18· · · · Q.· ·Yes.· Can you read it back?
 19· · · · · · ·(Thereupon, a portion of the record
 20· · · · · · ·was read back by the reporter.)
 21· · · · · · ·THE WITNESS:· I don't know -- I suppose we
 22· · · · missed that.
 23· ·BY MR. PASCHAL:
 24· · · · Q.· ·Ira, so can you go to the last page of this
 25· ·interrogatory.· This is your signature, right?


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 ·1· · · · A.· ·Yes.
 ·2· · · · Q.· ·And you are swearing the under penalty of
 ·3· ·perjury that the foregoing answers are true and correct;
 ·4· ·correct?
 ·5· · · · A.· ·Yes.
 ·6· · · · Q.· ·And the question we're asking is whether all
 ·7· ·attempts that you've made to find or locate or access
 ·8· ·David Kleiman's Bitcoin, right?
 ·9· · · · A.· ·Yes.
 10· · · · Q.· ·Isn't it important to mention that you're
 11· ·seeking a permanent injunction against three or two
 12· ·people in a company to get those very Bitcoin?
 13· · · · · · ·MR. FREEDMAN:· Objection.
 14· · · · · · ·THE WITNESS:· We didn't know if they possessed
 15· · · · any Bitcoin.
 16· ·BY MR. PASCHAL:
 17· · · · Q.· ·You made the allegation without knowing?
 18· · · · A.· ·I don't know.
 19· · · · Q.· ·You don't know if you made the allegation in
 20· ·this complaint without knowing whether it was true or
 21· ·not?
 22· · · · · · ·MR. FREEDMAN:· Objection.
 23· · · · · · ·THE WITNESS:· I don't remember.
 24· ·BY MR. PASCHAL:
 25· · · · Q.· ·But aside from whether it's true or not you


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 ·1· ·did not mention that you were seeking an injunction in
 ·2· ·the sworn interrogatory?
 ·3· · · · · · ·MR. FREEDMAN:· Objection.
 ·4· ·BY MR. PASCHAL:
 ·5· · · · Q.· ·Did you?
 ·6· · · · · · ·MR. FREEDMAN:· Objection.
 ·7· · · · · · ·THE WITNESS:· I don't know.
 ·8· ·BY MR. PASCHAL:
 ·9· · · · Q.· ·Is that a yes or no?
 10· · · · A.· ·I don't know.
 11· · · · Q.· ·You don't know in this interrogatory response
 12· ·whether you make any mention of the injunction that
 13· ·you're seeking against Patrick Paige, Carter Conrad and
 14· ·Computer Forensics?
 15· · · · · · ·MR. FREEDMAN:· Objection.
 16· · · · · · ·THE WITNESS:· I don't know.
 17· ·BY MR. PASCHAL:
 18· · · · Q.· ·Ira, you can turn to the interrogatory and
 19· ·read it if you would like.
 20· · · · A.· ·What page?
 21· · · · Q.· ·It's on page four.
 22· · · · A.· ·What is your question?
 23· · · · Q.· ·Nowhere in here do you mention that you're
 24· ·seeking a permanent injunction for David Kleiman's
 25· ·Bitcoin for Patrick Paige, Carter Conrad and Computer


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 ·1· ·Forensics?
 ·2· · · · · · ·MR. FREEDMAN:· Objection.
 ·3· · · · · · ·THE WITNESS:· I don't know.
 ·4· ·BY MR. PASCHAL:
 ·5· · · · Q.· ·Ira, it's really a yes or no.· In this answer
 ·6· ·do you mention that you're seeking an injunction against
 ·7· ·Patrick Paige, Carter Conrad and Computer Forensics?
 ·8· ·You're under oath today just like you were under oath
 ·9· ·under these interrogatories.
 10· · · · · · ·MR. FREEDMAN:· Objection.
 11· · · · · · ·THE WITNESS:· My attorneys drafted this and I
 12· · · · don't -- I don't completely understand what an
 13· · · · injunction is.
 14· ·BY MR. PASCHAL:
 15· · · · Q.· ·Well, without understanding what an injunction
 16· ·is you do allege here in Computer Forensics' complaint
 17· ·that to the extent that Computer Forensics, Paige,
 18· ·Conrad have retained any Bitcoin wallets that were the
 19· ·personal property of David Kleiman, Computer Forensics
 20· ·should be enjoined from monetizing, transferring or
 21· ·otherwise converting Bitcoin to its use or its use to
 22· ·third parties.· Do you understand the allegation you
 23· ·made?
 24· · · · · · ·MR. FREEDMAN:· Objection.
 25· · · · · · ·THE WITNESS:· No.


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 ·1· ·BY MR. PASCHAL:
 ·2· · · · Q.· ·So if there is a similar allegation in the
 ·3· ·Second Amended Complaint which you filed against
 ·4· ·Dr. Wright you wouldn't understand that allegation
 ·5· ·either, would you?
 ·6· · · · · · ·MR. FREEDMAN:· Objection.
 ·7· · · · · · ·THE WITNESS:· I didn't draft the complaints.
 ·8· ·BY MR. PASCHAL:
 ·9· · · · Q.· ·Did you look at them?
 10· · · · A.· ·Yes.
 11· · · · Q.· ·Did you review them?
 12· · · · A.· ·Yes.
 13· · · · Q.· ·Did you say it's okay to file this?
 14· · · · A.· ·Yes.
 15· · · · Q.· ·Are did you look at these interrogatories?
 16· · · · A.· ·Yes.
 17· · · · Q.· ·Did you review them?
 18· · · · A.· ·Yes.
 19· · · · Q.· ·Did you swear under the penalty of perjury
 20· ·that these answers are correct?
 21· · · · A.· ·Yes.
 22· · · · · · ·MR. FREEDMAN:· Objection.
 23· ·BY MR. PASCHAL:
 24· · · · Q.· ·Are they correct?
 25· · · · · · ·MR. FREEDMAN:· Objection.


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 ·1· · · · · · ·THE WITNESS:· I don't know entirely.
 ·2· ·BY MR. PASCHAL:
 ·3· · · · Q.· ·So do you have any basis to support the
 ·4· ·allegation you're making here in the Computer Forensics
 ·5· ·complaint?
 ·6· · · · · · ·MR. FREEDMAN:· Objection.
 ·7· · · · · · ·THE WITNESS:· I believe so at the time.
 ·8· ·BY MR. PASCHAL:
 ·9· · · · Q.· ·And what was that?· What evidence?· What
 10· ·documents?
 11· · · · A.· ·I thought it was possible that they retain --
 12· ·being that they were partners with Dave they may have
 13· ·shared equipment, they may have had access to Dave's
 14· ·property.
 15· · · · Q.· ·So Ira, just -- your testimony today is that
 16· ·you made that allegation because they were partners with
 17· ·Dave and they had access to Dave's information?
 18· · · · · · ·MR. FREEDMAN:· Objection.· There's no question
 19· · · · pending.
 20· · · · · · ·MR. PASCHAL:· There is a question.
 21· · · · · · ·MR. FREEDMAN:· What's the question?· Do you
 22· · · · want to read it back?
 23· · · · · · ·MR. PASCHAL:· Read the question back.
 24· · · · · · ·(Thereupon, a portion of the record
 25· · · · · · ·was read back by the reporter.)


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 ·1· · · · · · ·MR. FREEDMAN:· It's not a question.
 ·2· ·BY MR. PASCHAL:
 ·3· · · · Q.· ·Add a question mark.· That's a question.· Is
 ·4· ·that your testimony today?
 ·5· · · · A.· ·We're talking about Computer Forensics?
 ·6· · · · Q.· ·Computer Forensics, this allegation.
 ·7· · · · A.· ·Yes, because I believe that they had access to
 ·8· ·Dave's --
 ·9· · · · Q.· ·Sorry, go ahead.
 10· · · · A.· ·To Dave's -- well, property that they shared
 11· ·with Dave.
 12· · · · Q.· ·That was enough for you to file a complaint
 13· ·against Computer Forensics?
 14· · · · · · ·MR. FREEDMAN:· Objection.
 15· · · · · · ·THE WITNESS:· That's not what solely the
 16· · · · complaint was about.
 17· ·BY MR. PASCHAL:
 18· · · · Q.· ·I'm talking about this very sentence, these
 19· ·two sentences I mentioned.
 20· · · · · · ·MR. FREEDMAN:· Objection.
 21· · · · · · ·THE WITNESS:· I suppose so.
 22· ·BY MR. PASCHAL:
 23· · · · Q.· ·Getting back to this though are there any
 24· ·communication aside from with your lawyers or any
 25· ·documents showing why you decided to leave out this


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 ·1· ·injunction or mention of the injunction in your
 ·2· ·interrogatories?
 ·3· · · · · · ·MR. FREEDMAN:· Objection.
 ·4· · · · · · ·THE WITNESS:· I don't know.
 ·5· ·BY MR. PASCHAL:
 ·6· · · · Q.· ·We talked about three or four hard drives
 ·7· ·earlier that you gave to Dr. Wright after Dave died.
 ·8· ·Let me repeat the question.· That there were three to
 ·9· ·four hard drives you gave to Patrick one month after
 10· ·Dave died?
 11· · · · A.· ·(Indicating).
 12· · · · Q.· ·Could Bitcoin address, Bitcoin wallets have
 13· ·been on those hard drives?
 14· · · · · · ·MR. FREEDMAN:· Objection.
 15· · · · · · ·THE WITNESS:· I was told that they were just
 16· · · · work related drives.
 17· ·BY MR. PASCHAL:
 18· · · · Q.· ·And who told you that?
 19· · · · A.· ·Patrick.
 20· · · · Q.· ·The person you're suing?
 21· · · · A.· ·Yes.
 22· · · · Q.· ·And that lawsuit is still active today?
 23· · · · A.· ·Yes.
 24· · · · Q.· ·Ira, did you ever notify this court in this
 25· ·action that you have a separate action where you're


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 ·1· ·seeking the same stuff against three other people?
 ·2· · · · · · ·MR. FREEDMAN:· Hold on.· Where are you in your
 ·3· · · · topics?
 ·4· · · · · · ·MR. PASCHAL:· I'm just asking him.
 ·5· · · · · · ·MR. FREEDMAN:· Don't answer the question.
                                Relevance, unduly prejudicial, subject to
 ·6· ·BY MR. PASCHAL:           pending MIL (through 107:4)
 ·7· · · · Q.· ·Ira, let's talk about as a personal
 ·7
 ·8· ·
 ·8  ·representative when you came in possession of Dave's
 ·9· ·
 ·9  ·stuff.· When did you learn that Dave passed away?
 10· · · · A.· ·Around April -- I think it was 27, 28 of 2013.
 10
 11· · · · Q.· ·So if Dave passed on the 26th you learned the
 11
 12· ·
 12  ·day after, two days after?
 13· · · · A.· ·I think so.
 13
 14· · · · Q.· ·Where were you?
 14
 15· · · · A.· ·I don't exactly recall.· Probably home.
 15
 16· · · · Q.· ·Do you remember what you were doing when you
 16
 17· ·
 17  ·found out that Dave died?
 18· · · · A.· ·No.
 18
 19· · · · Q.· ·Do you remember what time of the day it was?
 19
 20· · · · A.· ·No.
 20
 21· · · · Q.· ·Do you remember who told you?
 21
 22· · · · A.· ·Yes, my dad.
 22
 23· · · · Q.· ·Did you go to his house right away?
 23
 24· · · · A.· ·Go to whose house?
 24
 25· · · · Q.· ·Your brother, Dave.
 25


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                                     Relevance
                                     Relevance,
                                       l        unduly
                                                  d l prejudicial
                                                       prejudicial,
                                                          j di i l subject
                                                                     bj    to
 ·1· · · · A.· ·No.
 ·1                                  pending MIL (through 107:4)
 ·2· · · · Q.· ·When did you go to Dave's house after you
 ·2
 ·3· ·
 ·3  ·learned
      learned that he died?
 ·4· · · · A.· ·Probably maybe two or three weeks afterwards.
 ·4
 ·5· · · · Q.· ·Did you go to your dad's house right after you
 ·6· ·learned that Dave died?
 ·7· · · · A.· ·I don't remember.
 ·8· · · · Q.· ·Do you remember what you did after you learned
 ·9· ·that Dave died?
 10· · · · · · ·MR. FREEDMAN:· Objection.
 11· · · · · · ·THE WITNESS:· I just remember talking to my
 12· · · · dad about it.
 13· ·BY MR. PASCHAL:
 14· · · · Q.· ·But you don't remember anything else?
 15· · · · A.· ·No.
 16· · · · Q.· ·Ira, would it be fair to say that you weren't
 17· ·really close with Dave?
 18· · · · · · ·MR. FREEDMAN:· Objection, stop.· What does
 19· · · · this go to?
 20· ·BY MR. PASCHAL:
 21· · · · Q.· ·Let me rephrase.· You don't have personal
 22· ·knowledge relating to Dave's business activities, do
 23· ·you?
 24· · · · A.· ·No.
 25· · · · Q.· ·I'm showing you an e-mail exchange you had


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 ·1· ·with Angie Ojea, is that how you say her last name?
 ·2· · · · A.· ·Angie Ojea.
 ·3· · · · · · ·(Defendant's Exhibit No. 14 was
 ·4· · · · · · ·marked for identification.)
 ·5· ·BY MR. PASCHAL:
 ·6· · · · Q.· ·Can you turn to -- do you remember this
 ·7· ·e-mail?· Take a look at it.
 ·8· · · · A.· ·The one at the very top?
 ·9· · · · Q.· ·Do you remember this e-mail in general?· Do
 10· ·you remember having this e-mail conversation with
 11· ·Angela?
 12· · · · A.· ·I remember having a few e-mail exchanges.
 13· · · · Q.· ·If you go to page six.
 14· · · · A.· ·Okay.
 15· · · · · · ·MR. FREEDMAN:· These aren't Bates stamped.
 16· · · · · · ·MR. PASCHAL:· No, these are the ones you
 17· · · · produced to us.· I guess when I printed them out
 18· · · · they didn't have the Bates stamp.
 19· ·BY MR. PASCHAL:
 20· · · · Q.· ·Not important.· Somewhere in this e-mail you
 21· ·mentioned you hired a cleaning crew?
 22· · · · A.· ·Yes.
 23· · · · Q.· ·The cleaning crew found bullet casing?
 24· · · · A.· ·Yes.
 25· · · · Q.· ·Did you take out Dave's work papers and


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 ·1· ·electronic devices before the cleaning crew cleaned the
 ·2· ·house?
 ·3· · · · A.· ·No.· I definitely did not.
 ·4· · · · Q.· ·Can you tell me the name of the cleaning crew?
 ·5· · · · A.· ·I don't have it off --
 ·6· · · · Q.· ·Do you have any documents showing who the
 ·7· ·cleaning crew is?
 ·8· · · · A.· ·I think I can get the name.
 ·9· · · · · · ·MR. PASCHAL:· Can you give us that?
 10· · · · · · ·MR. FREEDMAN:· (Indicating).
 11· ·BY MR. PASCHAL:
 12· · · · Q.· ·Did the cleaning crew find anything else other
 13· ·than the bullet casing that they mentioned to you?
 14· · · · A.· ·That was the only thing they mentioned.
 15· · · · Q.· ·So how -- when did the cleaning crew clean
 16· ·Dave's house?
 17· · · · A.· ·Maybe -- I don't remember exactly.· I'm
 18· ·thinking maybe one or two weeks after.
 19· · · · Q.· ·Do you know when Dave's house was foreclosed?
 20· · · · A.· ·No.
 21· · · · Q.· ·Did you go by his house and check on his
 22· ·things or did you already remove everything from the
 23· ·house?
 24· · · · · · ·MR. FREEDMAN:· Objection.
 25· · · · · · ·THE WITNESS:· What time are you talking about?


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 ·1· ·BY MR. PASCHAL:
 ·2· · · · Q.· ·After he died -- before the house was
 ·3· ·foreclosed on did you already remove Dave's belongings
 ·4· ·from the house?
 ·5· · · · A.· ·I don't know exactly.· Are you talking like
 ·6· ·after the cleaning crew?
 ·7· · · · Q.· ·No.· So before Wells Fargo finished the
 ·8· ·foreclosure sale --
 ·9· · · · A.· ·I don't know when that was.
 10· · · · Q.· ·I know but let's say it's this date.· Any time
 11· ·before that date did you remove Dave's electronic
 12· ·devices, his papers, his possessions?
 13· · · · · · ·MR. FREEDMAN:· Objection.
 14· ·BY MR. PASCHAL:
 15· · · · Q.· ·Or were they foreclosed with his stuff still
 16· ·in the house?
 17· · · · · · ·MR. FREEDMAN:· Objection.
 18· · · · · · ·THE WITNESS:· I don't know when they
 19· · · · foreclosed.
 20· ·BY MR. PASCHAL:
 21· · · · Q.· ·Did you ever take all of Dave's stuff out of
 22· ·the house?
 23· · · · A.· ·I don't think I took everything.
 24· · · · Q.· ·Stuff was left in the house though?
 25· · · · A.· ·Yes.


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 ·1· · · · Q.· ·Who else had access to Dave's house?
 ·2· · · · A.· ·I think his girlfriend at the time, Lyneda.
 ·3· · · · Q.· ·What about after his death who had access to
 ·4· ·the house?
 ·5· · · · A.· ·I'm not sure if -- I'm not sure if anyone
 ·6· ·else -- I had his key.
 ·7· · · · Q.· ·Did you change his locks?
 ·8· · · · A.· ·No.
 ·9· · · · Q.· ·Did you have a security system on the house?
 10· · · · A.· ·I think he did.
 11· · · · Q.· ·Was it active after he died?
 12· · · · A.· ·I don't remember using a security system to
 13· ·get in.· I just used the key.
 14· · · · Q.· ·Were you paying the electrical bill for the
 15· ·house?
 16· · · · A.· ·I didn't.· I don't believe.
 17· · · · Q.· ·Was anybody paying the electric bill for the
 18· ·house?
 19· · · · A.· ·Not that I'm aware of.
 20· · · · Q.· ·So there was no electricity in the house as
 21· ·far as you're aware after he died?
 22· · · · A.· ·I'm trying to -- I don't remember.
 23· · · · Q.· ·So if there was no electricity in the house
 24· ·the house was going into foreclosure -- strike that.
 25· ·Can you definitively say whether or not there was any


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 ·1· ·other electronic devices in the house you may have not
 ·2· ·known about?
 ·3· · · · · · ·MR. FREEDMAN:· Objection.
 ·4· · · · · · ·THE WITNESS:· I believe I collected all of the
 ·5· · · · equipment that I visibly saw.
 ·6· ·BY MR. PASCHAL:
 ·7· · · · Q.· ·But there was still stuff in the house; right?
 ·8· · · · A.· ·Like furniture.
 ·9· · · · Q.· ·Did you check all the furniture to see what
 10· ·was in them?
 11· · · · A.· ·I don't remember.
 12· · · · Q.· ·So if something was important in some of his
 13· ·furniture you wouldn't be able to tell us that; right?
 14· · · · · · ·MR. FREEDMAN:· Objection.
 15· · · · · · ·THE WITNESS:· I don't remember searching
 16· · · · through his furniture.
 17· ·BY MR. PASCHAL:
 18· · · · Q.· ·Sorry, what did you say?
 19· · · · A.· ·I don't remember searching through his
 20· ·furniture.
 21· · · · Q.· ·When you saw -- so Dave had two Alienware
 22· ·computers and a laptop?
 23· · · · A.· ·Yes.
 24· · · · Q.· ·Was the Alienware -- was it -- was the
 25· ·Alienware computer was it the color black?


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 ·1· · · · A.· ·Yes.
 ·2· · · · Q.· ·One of them was, right?
 ·3· · · · A.· ·I believe both.
 ·4· · · · Q.· ·Were the hard drives in the computer or were
 ·5· ·they out of them when you got the Alienware computer?
 ·6· · · · A.· ·They were out of them.
 ·7· · · · Q.· ·Was there any evidence in the house showing
 ·8· ·why the hard drives were removed from the computers?
 ·9· · · · · · ·MR. FREEDMAN:· Objection.
 10· · · · · · ·THE WITNESS:· No.· I don't think so.
 11· ·BY MR. PASCHAL:
 12· · · · Q.· ·Did Dave typically keep his hard drives out of
 13· ·his computer?
 14· · · · A.· ·I don't know what he did.
 15· · · · Q.· ·On the ESI disclosure you listed one phone but
 16· ·you said that Patrick had destroyed Dave's phone so what
 17· ·phone -- did Dave have two phones?
 18· · · · A.· ·Yes.
 19· · · · Q.· ·What phone -- do you remember the make and
 20· ·model of the phone you gave to Patrick Paige?
 21· · · · A.· ·I believe it was a Samsung Galaxy.· I don't
 22· ·remember the model.· It's probably listed in --
 23· · · · Q.· ·It's in the disclosures.· No, it's not
 24· ·actually.· It's a Samsung Galaxy?
 25· · · · A.· ·That's all it says?


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 ·1· · · · Q.· ·I'm asking you.
 ·2· · · · A.· ·Yes, it was a Samsung Galaxy.
 ·3· · · · Q.· ·Did you see any devices used for Bitcoin
 ·4· ·mining, Bitcoin servers, anything?
 ·5· · · · A.· ·Not that I'm aware of.· I wouldn't know what a
 ·6· ·Bitcoin mining server would look like.
 ·7· · · · Q.· ·Would you have known what a Bitcoin wallet
 ·8· ·looks like?
 ·9· · · · A.· ·No.
 10· · · · Q.· ·So if you saw one you wouldn't have thought it
 11· ·was important, would you?
 12· · · · · · ·MR. FREEDMAN:· Objection.
 13· · · · · · ·THE WITNESS:· If I saw one?· I suppose not.                  I
 14· · · · wouldn't know how to detect what a Bitcoin wallet
 15· · · · was.
 16· ·BY MR. PASCHAL:
 17· · · · Q.· ·If he had a wallet for example on paper and it
 18· ·just had random letters and numbers on it you wouldn't
 19· ·have known that was a Bitcoin wallet; right?
 20· · · · · · ·MR. FREEDMAN:· Objection.
 21· · · · · · ·THE WITNESS:· I suppose not.
 22· ·BY MR. PASCHAL:
 23· · · · Q.· ·So when you threw papers away that you thought
 24· ·weren't important you could have thrown away one of
 25· ·those papers that had a Bitcoin wallet on it; right?


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 ·1· · · · · · ·MR. FREEDMAN:· Objection.
 ·2· · · · · · ·THE WITNESS:· It's possible, yes.
 ·3· · · · · · ·MR. PASCHAL:· Let's go to the ESI disclosure.
 ·4· · · · I haven't given that to you, I'm sorry.
 ·5· · · · · · ·(Defendant's Exhibit No. 15 was
 ·6· · · · · · ·marked for identification.)
 ·7· ·BY MR. PASCHAL:
 ·8· · · · Q.· ·On this ESI disclosure under number one you
 ·9· ·list David Kleiman's e-mail accounts.· You list five.
 10· ·You see that?
 11· · · · A.· ·Yes.
 12· · · · Q.· ·Do you have access to all five e-mail
 13· ·accounts?
 14· · · · A.· ·I don't believe so.
 15· · · · Q.· ·Which ones do you not have access to?
 16· · · · A.· ·I would have to check.· I don't remember
 17· ·offhand.
 18· · · · Q.· ·Do you know which e-mail account you do have
 19· ·access to?
 20· · · · A.· ·I have access to Dave@                                     .
 21· · · · Q.· ·But you're not sure about the rest?
 22· · · · A.· ·I don't believe I have access to the two on
 23· ·the bottom.· The two at the top I'm not sure about.
 24· · · · Q.· ·Have you tried to log into those?
 25· · · · A.· ·I may have.


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 ·1· · · · Q.· ·When did --
 ·2· · · · A.· ·I just don't remember at the present time.
 ·3· · · · Q.· ·So you don't remember any efforts you took to
 ·4· ·access those e-mail accounts, do you?
 ·5· · · · · · ·MR. FREEDMAN:· Objection.
 ·6· · · · · · ·THE WITNESS:· Like I said I do recall
 ·7· · · · accessing Dave@                                      .
 ·8· ·BY MR. PASCHAL:
 ·9· · · · Q.· ·The first two and last two?
 10· · · · A.· ·The first two I don't remember.
 11· · · · Q.· ·The last two what did you do to access those
 12· ·accounts?
 13· · · · A.· ·I think I recovered the domain names to those
 14· ·but I don't think I ever like set up an active account
 15· ·for them.· So I don't think those e-mail addresses work.
 16· · · · Q.· ·So when you say you have the domain name you
 17· ·should be able to get access then to the e-mail address,
 18· ·right?
 19· · · · A.· ·No, not unless you set up an account for it.
 20· · · · Q.· ·You haven't set up an account for these?
 21· · · · A.· ·I don't believe so.
 22· · · · Q.· ·Could you set up an account?
 23· · · · A.· ·Yes.
 24· · · · Q.· ·Why haven't you?
 25· · · · A.· ·Just there's no purpose.· If I set up an


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 ·1· ·account it's not going to suddenly give me access to
 ·2· ·e-mails that were sent to those addresses a long time
 ·3· ·ago.
 ·4· · · · Q.· ·Why not?
 ·5· · · · A.· ·It's just because his e-mails were hosted
 ·6· ·elsewhere.
 ·7· · · · Q.· ·Where were they hosted?
 ·8· · · · A.· ·I think they were hosted with Patrick's
 ·9· ·company, Computer Forensics LLC.
 10· · · · Q.· ·All five of his e-mail addresses were hosted
 11· ·by Patrick?
 12· · · · A.· ·I believe so.
 13· · · · Q.· ·Did Patrick give you access to these e-mail
 14· ·accounts?
 15· · · · A.· ·It's possible after the litigation with
 16· ·Patrick that he gave me those.· I would to check the
 17· ·records.
 18· · · · Q.· ·You said through the litigation, through the
 19· ·lawsuit?
 20· · · · A.· ·Yes.
 21· · · · Q.· ·When do you think you got access -- when do
 22· ·you think that Patrick may have given you access to
 23· ·those e-mail accounts?
 24· · · · A.· ·I would have to go back and look at the
 25· ·records.


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 ·1· · · · Q.· ·I just want to know the process.· For
 ·2· ·Patrick -- it would just be Patrick he can access the
 ·3· ·e-mail accounts and give you the documents in them?
 ·4· · · · A.· ·I'm not exactly sure what access he had to
 ·5· ·those accounts after Dave passed.
 ·6· · · · Q.· ·Did you request from Patrick access to those
 ·7· ·e-mails before you filed this lawsuit?
 ·8· · · · A.· ·Before this lawsuit?
 ·9· · · · Q.· ·Before this lawsuit.
 10· · · · A.· ·I believe so.
 11· · · · Q.· ·And he never gave them to you?
 12· · · · A.· ·I think eventually yes, he did.
 13· · · · Q.· ·So we haven't received any production from
 14· ·these e-mail addresses.· Why haven't we?
 15· · · · · · ·MR. FREEDMAN:· Objection.
 16· · · · · · ·THE WITNESS:· I don't know if we've -- if
 17· · · · they're currently active.· Like I said the only one
 18· · · · that I know for certain is Dave@                                   .
 19· · · · The others I have to check.
 20· ·BY MR. PASCHAL:
 21· · · · Q.· ·So Patrick obviously can help get access to
 22· ·these two e-mail address; right?
 23· · · · · · ·MR. FREEDMAN:· Objection.
 24· · · · · · ·THE WITNESS:· I don't know.· I don't know what
 25· · · · access he had to them.· For Dave@                               , yes.


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 ·1· ·BY MR. PASCHAL:
 ·2· · · · Q.· ·Did you access Dave Kleiman -- the one you can
 ·3· ·access before you filed this lawsuit?
 ·4· · · · A.· ·Well, it only allowed me to set up a new
 ·5· ·account.· Like once I received the domain name from that
 ·6· ·point forward I start getting new e-mail to it.
 ·7· ·BY MR. PASCHAL:
 ·8· · · · Q.· ·Not old e-mails?
 ·9· · · · A.· ·Not old e-mail.
 10· · · · Q.· ·What about the Dave@                                       ?
 11· · · · A.· ·That's what I'm talking about.· Once I
 12· ·received the domain at that point --
 13· · · · Q.· ·Do you have any old e-mails?· I'm sorry.· Do
 14· ·you want me to repeat the question because I wasn't
 15· ·finished?
 16· · · · A.· ·I may have some old that Patrick produced.                     I
 17· ·have to check.
 18· · · · Q.· ·So the only -- I want to break this down.· So
 19· ·the only e-mails that you have from Dave are coming from
 20· ·Patrick; right?
 21· · · · · · ·MR. FREEDMAN:· Objection.
 22· · · · · · ·THE WITNESS:· Yes.
 23· ·BY MR. PASCHAL:
 24· · · · Q.· ·So none of them are coming from these five
 25· ·e-mail addresses directly?


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 ·1· · · · · · ·MR. FREEDMAN:· Objection.
 ·2· · · · · · ·THE WITNESS:· Like I said I would have to go
 ·3· · · · back and look at those accounts to see if I have
 ·4· · · · access to them.· Like I said the two at the bottom
 ·5· · · · I'm certain I never accessed.· The two at the top I
 ·6· · · · have to check.
 ·7· ·BY MR. PASCHAL:
 ·8· · · · Q.· ·Just back on my question.· Did you review any
 ·9· ·documents from these e-mail accounts before you filed
 10· ·this lawsuit?
 11· · · · · · ·MR. FREEDMAN:· Obviously don't answer anything
 12· · · · to the extent it involves conversations with your
 13· · · · attorneys.
 14· · · · · · ·THE WITNESS:· I have to go back and look at
 15· · · · what records were produced.
 16· ·BY MR. PASCHAL:
 17· · · · Q.· ·What e-mail account is verifymail@                          ?
 18· · · · A.· ·Which one?
 19· · · · Q.· ·Verifymail@                              .
 20· · · · A.· ·I think it was just like a temporary account
 21· ·that I set up for my attorneys.
 22· · · · Q.· ·Them being them?
 23· · · · A.· ·Yes.
 24· · · · Q.· ·Do you have separate attorneys in the Computer
 25· ·Forensics lawsuit?


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 ·1· · · · A.· ·I had separate, yes.
 ·2· · · · Q.· ·Do you have attorneys in the lawsuit now?
 ·3· · · · A.· ·Currently, no.
 ·4· · · · Q.· ·So I think you have about 35 e-mail addresses
 ·5· ·give or take, I don't know.· Why so many?
 ·6· · · · A.· ·I don't know.
 ·7· · · · Q.· ·I want to ask you about one e-mail address in
 ·8· ·particular.· It's on the second page and I don't know
 ·9· ·what number it is but it's WrightKleiman@                            .
 10· ·What's the purpose of that e-mail account?
 11· · · · A.· ·It probably had something to do with the
 12· ·litigation but I would have to look at it to see.                    I
 13· ·don't remember offhand.
 14· · · · Q.· ·Have you produced documents from that e-mail
 15· ·account?
 16· · · · A.· ·I don't know.
 17· · · · Q.· ·I think we have one document which you
 18· ·produced to us where you communicated with the ATO which
 19· ·is this e-mail address?
 20· · · · A.· ·Maybe that's what it was.
 21· · · · Q.· ·Do you recall in this e-mail asking ATO if
 22· ·they're continuing to investigate your brother and
 23· ·Craig?
 24· · · · A.· ·Can you repeat that?
 25· · · · Q.· ·Do you remember if in that e-mail if you asked


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 ·1· ·the ATO whether they're investigating your brother as in
 ·2· ·Dave Kleiman and Craig Wright?
 ·3· · · · A.· ·I don't specifically remember what I discussed
 ·4· ·with them.
 ·5· · · · Q.· ·Did the ATO ever tell you we're not
 ·6· ·investigating David Kleiman?
 ·7· · · · A.· ·They never mentioned that to me.
 ·8· · · · · · ·MR. PASCHAL:· I'm showing you your e-mail to
 ·9· · · · Michael Hardy on June 30th 2015.
 10· · · · · · ·(Defendant's Exhibit No. 16 was
 11· · · · · · ·marked for identification.)
 12· ·BY MR. PASCHAL:
 13· · · · Q.· ·At the bottom you say "dear Mr. Hardy, I
 14· ·understand that you are investigating a case involving
 15· ·my brother David Kleiman and his partner Craig Wright.
 16· ·Could you tell me if you are still seeking new
 17· ·information regarding this case or if it was closed can
 18· ·you tell me when.· Thank you, Ira Kleiman."· Do you
 19· ·remember that?
 20· · · · A.· ·Yes.
 21· · · · Q.· ·And at the top -- I guess he doesn't give you
 22· ·an answer but at the top you say "what you can confirm
 23· ·there is presently no investigation of Dr. Craig Wright
 24· ·and my brother."· You see that?
 25· · · · A.· ·Yes.


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 ·1· · · · Q.· ·Did Mr. Hardy ever tell you one way or the
 ·2· ·other or give you an answer to that question one way or
 ·3· ·another?
 ·4· · · · A.· ·I guess if there's no e-mail to it probably
 ·5· ·not.
 ·6· · · · Q.· ·So was WrightKleiman@                                      was it used
 ·7· ·for any other reason?
 ·8· · · · A.· ·Not that I remember.
 ·9· · · · Q.· ·Let's talk about Coin Exchange briefly.· You
 10· ·had 10.5 million shares in Coin Exchange; right?
 11· · · · A.· ·Yes.
 12· · · · Q.· ·Now, you understand that Coin Exchange is
 13· ·under the control of an Australian liquidator; right?
 14· · · · A.· ·I didn't know who took control of it.
 15· · · · Q.· ·Is it your testimony today that you don't know
 16· ·who took control of it?
 17· · · · A.· ·Yes, I wasn't sure what happened with Coin
 18· ·Exchange.· I knew a liquidator was trying to find out
 19· ·information about Coin Exchange but I'm not exactly sure
 20· ·what activity they did.
 21· · · · · · ·MR. PASCHAL:· I'm showing you an e-mail with
 22· · · · Mr. Jeremy Mudford.· And these are August 31st
 23· · · · 2017.
 24· · · · · · ·(Defendant's Exhibit No. 17 was
 25· · · · · · ·marked for identification.)


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 ·1· ·BY MR. PASCHAL:
 ·2· · · · Q.· ·Is Jeremy Mudford, is he the liquidator for
 ·3· ·Coin Exchange?
 ·4· · · · A.· ·That's what he told me, yes.
 ·5· · · · Q.· ·I want you to look at his e-mail to you
 ·6· ·August 29, 2017.· Do you recall discussing W&K that you
 ·7· ·believe that Dr. Wright transferred assets from W&K to
 ·8· ·Coin Exchange and then to other various entities?
 ·9· · · · A.· ·Are you referring to an e-mail?
 10· · · · Q.· ·I'm just asking.· Do you remember telling
 11· ·Jeremy Mudford that, yes or no?
 12· · · · A.· ·Can you repeat that?
 13· · · · Q.· ·Do you remember telling Jeremy Mudford that
 14· ·Dr. Wright transferred from W&K assets to Coin Exchange
 15· ·and then to other entities that he was involved in?
 16· · · · A.· ·I don't remember specifically saying that but
 17· ·if you show me the e-mail --
 18· · · · Q.· ·I'll show it to you in a second.· Let's go to
 19· ·the bottom here.· On Jeremy Mudford's e-mail to you
 20· ·August 29, 2017?
 21· · · · A.· ·First page?
 22· · · · Q.· ·Yes.
 23· · · · A.· ·Of course.
 24· · · · Q.· ·It says "dear Ira, I referred to your e-mail
 25· ·below in your prior e-mail correspondence regarding the


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 ·1· ·company.· Besides the information provided which
 ·2· ·predominately has consisted of various blog site
 ·3· ·articles it would be appreciated if you could provide
 ·4· ·any tangible evidence that the company, being Coin
 ·5· ·Exchange, and/or its related entities" and you were
 ·6· ·talking about W&K "that we have been appointed over any
 ·7· ·IP which may include related to Bitcoin.· In the interim
 ·8· ·our preliminary investigations do not reveal any
 ·9· ·trademark registration to the company name" and then he
 10· ·refers you to two links supporting his conclusion.· Do
 11· ·you recall that e-mail?
 12· · · · A.· ·Yes.
 13· · · · Q.· ·This is in 2017.· In 2018 do you have any
 14· ·communications with Jeremy Mudford?
 15· · · · A.· ·Do you have any e-mails that --
 16· · · · Q.· ·I don't.· That's why I'm asking.
 17· · · · A.· ·I don't know.
 18· · · · Q.· ·Do you have any e-mails for 2019?
 19· · · · A.· ·Pretty sure, no.
 20· · · · Q.· ·Let's talk about W&K.· You said you first
 21· ·learned of W&K through Dr. Wright; is that correct?
 22· · · · A.· ·Yes.
 23· · · · Q.· ·At the time -- well, you reinstated W&K as a
 24· ·company in I think it was March of 2018; correct?
 25· · · · A.· ·I don't remember the date.


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 ·1· · · · Q.· ·But you reinstated it; correct?
 ·2· · · · A.· ·Yes.
 ·3· · · · Q.· ·When you reinstated W&K what was its business
 ·4· ·purpose?
 ·5· · · · · · ·MR. FREEDMAN:· Hold on.· Where are you in your
 ·6· · · · topics?
 ·7· · · · · · ·MR. PASCHAL:· W&K, information regarding W&K.
 ·8· · · · · · ·MR. FREEDMAN:· I don't see a general
 ·9· · · · information regarding W&K.· Maybe I'm missing it.
 10· · · · · · ·MR. PASCHAL:· I guess this is going to go to
 11· · · · the location of W&K's proprietary documents and
 12· · · · information slips identified W&K purchases, bit
 13· · · · message account, Panama and also W&K's membership.
 14· · · · · · ·MR. FREEDMAN:· What was the question?· Can you
 15· · · · read it back?
 16· · · · · · ·(Thereupon, a portion of the record
 17· · · · · · ·was read back by the reporter.)
 18· · · · · · ·MR. FREEDMAN:· Don't answer the question.
 19· ·BY MR. PASCHAL:
   · · · · Q.· ·Can you tell me what W&K's business purpose
 20·
   · ·ever was?
 21·
   · · · · · · ·THE WITNESS:· According to Craig it was for
 22·
 23·
   · · · · research purposes and mining of Bitcoin.
 24· ·BY MR. PASCHAL:
 25· · · · Q.· ·Based on your personal knowledge what was the


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 ·1· ·business purpose of W&K?
 ·2· · · · A.· ·Like I said according to Craig --
 ·3· · · · Q.· ·Not according to Craig.· Based on your own
 ·4· ·personal knowledge?
 ·5· · · · A.· ·My own personal knowledge about W&K came from
 ·6· ·Craig Wright.
 ·7· · · · Q.· ·So you have no testimony, documents or
 ·8· ·evidence other than Craig Wright?
 ·9· · · · A.· ·Correct.
 10· · · · Q.· ·About W&K?
 11· · · · A.· ·What's that?
 12· · · · Q.· ·About W&K?
 13· · · · A.· ·Yes.
 14· · · · Q.· ·When you reinstated W&K you removed Coin
 15· ·Exchange and Ms. Uyen as its publicly identified
 16· ·members, do you recall that?
 17· · · · · · ·MR. FREEDMAN:· Can you repeat the question?
 18· · · · Sorry, I didn't hear.
 19· · · · · · ·(Thereupon, a portion of the record
 20· · · · · · ·was read back by the reporter.)
 21· · · · · · ·MR. FREEDMAN:· Don't answer the question.                  I
 22· · · · don't see where it connects to your topics about
 23· · · · W&K's e-mail addresses, bit message accounts or W&K
 24· · · · Panama.
 25· · · · · · ·MR. PASCHAL:· I'm asking about proprietary


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 ·1· · · · documents about W&K.· That includes W&K's
 ·2· · · · membership and its filings with Sunbiz.org.· That
 ·3· · · · is the definition of proprietary documents.
 ·4· · · · · · ·MR. FREEDMAN:· And the location.
 ·5· · · · · · ·MR. PASCHAL:· Also very basic allegation in
 ·6· · · · the second amended complaint.
 ·7· · · · · · ·MR. FREEDMAN:· You'll have another chance to
 ·8· · · · depose Ira when you can go to the merits.· Right
 ·9· · · · now you're supposed to be asking location
 10· · · · proprietary documents.
 11· ·BY MR. PASCHAL:
 12· · · · Q.· ·Do you have documents establishing W&K's
 13· ·membership?
 14· · · · A.· ·From like SunBiz?
 15· · · · Q.· ·Do you have any documents establishing W&K's
 16· ·membership?
 17· · · · A.· ·The only documents would be whatever I found
 18· ·on the SunBiz web site.
 19· · · · Q.· ·Does SunBiz.org list every member of a
 20· ·company?
 21· · · · A.· ·I don't know.
 22· · · · · · ·(Thereupon, a portion of the record
 23· · · · · · ·was read back by the reporter.)
 24· · · · · · ·THE WITNESS:· No, I don't know.
 25


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 ·1· ·BY MR. PASCHAL:
 ·2· · · · Q.· ·Do you have any documents from the Department
 ·3· ·of Finance telling you that SunBiz.org you cannot rely
 ·4· ·on it to determine the membership of a company?
 ·5· · · · · · ·MR. FREEDMAN:· Objection.
 ·6· · · · · · ·THE WITNESS:· No.
 ·7· ·BY MR. PASCHAL:
 ·8· · · · Q.· ·You do not -- is it your testimony you do not
 ·9· ·have a document stating that?
 10· · · · A.· ·The Department of Finance -- say that again?
 11· · · · Q.· ·From the Department of Finance stating that
 12· ·you cannot rely on SunBiz.org to determine membership of
 13· ·the company?
 14· · · · A.· ·I'm not aware of it.
 15· · · · Q.· ·Before you filed this lawsuit or before you
 16· ·filed your amended complaint in this lawsuit are there
 17· ·any documents with Jeremy Mudford where you discussed
 18· ·removing Coin Exchange as a member of W&K?
 19· · · · A.· ·Discussing with Jeremy Mudford?
 20· · · · Q.· ·The liquidator for Coin Exchange.
 21· · · · A.· ·I don't believe so.
 22· · · · Q.· ·Do you have any documents that are resignation
 23· ·letters from any members of W&K before you reinstated
 24· ·and listed yourself as the member of W&K?
 25· · · · A.· ·No.


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 ·1· · · · Q.· ·Did you take out any loans on W&K's behalf?
 ·2· · · · A.· ·Not that I'm aware of.
 ·3· · · · Q.· ·Are you paying -- are there any tax returns
 ·4· ·right now for W&K or any tax information for W&K?
 ·5· · · · A.· ·No.
 ·6· · · · Q.· ·Are you paying W&K's taxes?
 ·7· · · · A.· ·No.
 ·8· · · · Q.· ·Do you know who last paid W&K's taxes?
 ·9· · · · A.· ·No.
 10· · · · Q.· ·Does W&K have any revenue for this year?
 11· · · · A.· ·Not that I'm aware of.
 12· · · · Q.· ·Does W&K have any revenue from last year?
 13· · · · A.· ·Not that I'm aware of.
 14· · · · Q.· ·Are you conducting any business on behalf of
 15· ·W&K?
 16· · · · A.· ·Me personally?
 17· · · · Q.· ·Yes.
 18· · · · A.· ·No.
 19· · · · Q.· ·Is anyone conducting business on behalf of
 20· ·W&K?
 21· · · · A.· ·No.
 22· · · · Q.· ·Has W&K assigned any of its rights in this
 23· ·lawsuit to anyone else?
 24· · · · · · ·MR. FREEDMAN:· Hold on.· What topic are you
 25· · · · on?


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 ·1· ·BY MR. PASCHAL:
 ·2· · · · Q.· ·Are there any documents showing whether or not
 ·3· ·W&K assigned any of its interest in its lawsuit to
 ·4· ·anyone else?
 ·5· · · · · · ·MR. FREEDMAN:· Don't answer the question.
 ·6· · · · · · ·MR. PASCHAL:· Under what basis?
 ·7· · · · · · ·MR. FREEDMAN:· If such documents exist they
 ·8· · · · would be work product.
 ·9· · · · · · ·MR. PASCHAL:· An assignment of a claim?· That
 10· · · · would be work product?
 11· · · · · · ·MR. FREEDMAN:· You don't like the instruction
 12· · · · bring it to the judge.
 13· · · · · · ·MR. PASCHAL:· I'm just trying to get it.                   I
 14· · · · just want the record to be complete on the
 15· · · · objection.· So you're saying that an assignment of
 16· · · · claim is going to be protected by work product?
 17· · · · · · ·MR. FREEDMAN:· Either work product or
 18· · · · attorney-client privilege or the common interest
 19· · · · privilege, yes.
 20· ·BY MR. PASCHAL:
 21· · · · Q.· ·We'll skip this.· Have the allegations that
 22· ·you made in this lawsuit or this second amended
 23· ·complaint or the amended complaint or its original
 24· ·complaint been given to any third party other than your
 25· ·attorneys?


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 ·1· · · · · · ·MR. FREEDMAN:· Objection.
 ·2· · · · · · ·THE WITNESS:· I believe so.
 ·3· ·BY MR. PASCHAL:
 ·4· · · · Q.· ·Who are those third parties?
 ·5· · · · A.· ·A company that assists in funding litigation
 ·6· ·cases.
 ·7· · · · Q.· ·What's the name of that company?
 ·8· · · · A.· ·Parabelum.
 ·9· · · · Q.· ·Can you say that again?
 10· · · · A.· ·Parabelum.
 11· · · · Q.· ·When did you give that complaint to Parabelum?
 12· · · · A.· ·I don't remember the date.
 13· · · · Q.· ·When did you first meet Parabelum?
 14· · · · A.· ·I don't remember the date.
 15· · · · Q.· ·Was it 2016?
 16· · · · A.· ·I would have to go look at the records.
 17· · · · Q.· ·Did Parabelum give you any money?
 18· · · · · · ·MR. FREEDMAN:· Hold on.· What topic are you
 19· · · · on?
 20· · · · · · ·MR. PASCHAL:· This goes to -- this really goes
 21· · · · to 31 but he just answered something different so
 22· · · · I'm --
 23· · · · · · ·MR. FREEDMAN:· How does it go into 31?                     I
 24· · · · don't see how it ties into 31.· If you want to ask
 25· · · · it with a tie in to 31 I'm happy to listen to it,


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 ·1· ·otherwise don't answer the question.
 ·2· · · · MR. PASCHAL:· Let me break that down in two
 ·3· ·things.· One, we asked questions about this
 ·4· ·regarding interrogatories, you objected.· We spoke
 ·5· ·on the phone yesterday we told you we would lay the
 ·6· ·record here so the judge could make a ruling based
 ·7· ·on the record and we wrote these topics what we
 ·8· ·knew.· I can't give exact topics on events because
 ·9· ·I just didn't know your witness would say that.                      I
 10· ·can't -- I mean --
 11· · · · MR. FREEDMAN:· I had the same problem deposing
 12· ·Dr. Wright.
 13· · · · MR. PASCHAL:· That's the problem.· That's not
 14· ·here right now.· I wasn't there.
 15· · · · MR. FREEDMAN:· Just saying the parties kept
 16· ·each other to their topics.· Your team members kept
 17· ·me to my topics so keeping you to your topics.
 18· ·Goose gander provision.
 19· · · · MR. PASCHAL:· Did Parabelum give you any
 20· ·money?
 21· · · · MR. FREEDMAN:· Don't answer the question.
 22· · · · MR. PASCHAL:· What's the basis?
 23· · · · MR. FREEDMAN:· First of all, I think you're
 24· ·outside the topic.· Second of all -- I think you're
 25· ·outside the topic.· I'm just going to rely on you


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 ·1· · · · being outside the topic.
 ·2· ·BY MR. PASCHAL:
 ·3· · · · Q.· ·Who is BTCN1610491, LLC?
 ·4· · · · A.· ·I think that's a company related to the entity
 ·5· ·that assists in litigation funding.
 ·6· · · · Q.· ·Is that Parabelum?
 ·7· · · · A.· ·Yes.
 ·8· · · · Q.· ·So when did you first speak with Parabelum?
 ·9· · · · A.· ·Like I said I would have to check the records.
 10· · · · Q.· ·Did BTCN or Parabelum give you any money?
 11· · · · · · ·MR. FREEDMAN:· Hold on.· We're going to
 12· · · · instruct Ira not to answer the question.
 13· · · · · · ·MR. PASCHAL:· On what basis?
 14· · · · · · ·MR. FREEDMAN:· A, on relevance and -- stay
 15· · · · with relevance for now.
 16· ·BY MR. PASCHAL:
 17· · · · Q.· ·Under what circumstances did BTCN give you
 18· ·money?
 19· · · · · · ·MR. FREEDMAN:· Stop.· Hold on a second.
 20· · · · Trying to figure out the position to take on your
 21· · · · question.· If you want to just stop or you want
 22· · · · take a break?
 23· · · · · · ·MS. MCGOVERN:· Let's take five minutes.
 24· · · · · · ·THE VIDEOGRAPHER:· The time is 2:08 p.m. and
 25· · · · we're off the record.


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 ·1· · · · · · ·(Thereupon, a brief recess was taken.)
 ·2· · · · · · ·THE VIDEOGRAPHER:· The time is now 2:23 p.m.
 ·3· · · · and we are now back on the record.
 ·4· · · · · · ·MR. FREEDMAN:· So we just spoke with our
 ·5· · · · client.· I'm going to state for the record that
 ·6· · · · BTCN is owned by Parabelum Capital which is an
 ·7· · · · entity that provides litigation financing
 ·8· · · · assistance.· Parabelum has provided litigation
 ·9· · · · financing assistance in this case.
 10· · · · · · ·I am not going to allow Ira to answer any
 11· · · · other questions about that topic because I believe
 12· · · · it will invade either work product privilege,
 13· · · · attorney-client privilege or common interest
 14· · · · privilege.· If you want more you have to go to the
 15· · · · court but I think your record is clear now what's
 16· · · · going on and what more you would want.
 17· · · · · · ·MR. PASCHAL:· There are a few things I want.
 18· · · · · · ·MR. FREEDMAN:· You can ask but I most likely
 19· · · · will instruct him not to answer.
 20· ·BY MR. PASCHAL:
 21· · · · Q.· ·When did you first speak to Parabelum?
 22· · · · · · ·MR. FREEDMAN:· That you can answer.
 23· · · · · · ·THE WITNESS:· I would have to go back and
 24· · · · check the records.
 25


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 ·1· ·BY MS. MCGOVERN:
 ·2· · · · Q.· ·What records would you have to check?
 ·3· · · · A.· ·I guess e-mail exchanges with them.
 ·4· · · · Q.· ·Did you give Parabelum documents relating to
 ·5· ·this case?· You don't have to say what documents?
 ·6· · · · · · ·MR. FREEDMAN:· Go ahead.
 ·7· · · · · · ·THE WITNESS:· I would have to check my
 ·8· · · · records.
 ·9· ·BY MR. PASCHAL:
 10· · · · Q.· ·What records would you have to check?
 11· · · · A.· ·E-mail.
 12· · · · Q.· ·E-mail?· Did you sign any documents with
 13· ·Parabelum?
 14· · · · · · ·MR. FREEDMAN:· That's fine.· Go ahead and
 15· · · · answer that question.
 16· · · · · · ·THE WITNESS:· I don't remember.· I have to
 17· · · · check that too.
 18· ·BY MR. PASCHAL:
 19· · · · Q.· ·Did W&K or the estate of Dave Kleiman --
 20· ·strike that.· Are there any documents showing that Dave
 21· ·Kleiman or the estate of Dave Kleiman or W&K assigned
 22· ·any portion or any right in this lawsuit to Parabelum or
 23· ·any third party?
 24· · · · · · ·MR. FREEDMAN:· Don't answer the question.
 25· · · · · · ·MR. PASCHAL:· What's the basis?


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 ·1· · · · · · ·MR. FREEDMAN:· I told you the basis.
 ·2· ·BY MR. PASCHAL:
 ·3· · · · Q.· ·Are there any documents that give your right
 ·4· ·to recovery of any money to Parabelum or BTCN?
 ·5· · · · · · ·MR. FREEDMAN:· Don't answer the question.
 ·6· ·BY MR. PASCHAL:
 ·7· · · · Q.· ·In connection with getting funding from
 ·8· ·Parabelum did you provide any documents to support any
 ·9· ·of the allegations of the complaint?
 10· · · · · · ·MR. FREEDMAN:· Don't answer that.· Well, the
 11· · · · answer yes or no you can answer.· Just don't
 12· · · · identify what, if any, documents you provided.
 13· · · · · · ·THE WITNESS:· Yes.
 14· ·BY MR. PASCHAL:
 15· · · · Q.· ·What documents did you provide?
 16· · · · · · ·MR. FREEDMAN:· Don't answer that.
 17· ·BY MR. PASCHAL:
 18· · · · Q.· ·Are there any documents that you provided to
 19· ·them that you haven't produced in this case?
 20· · · · · · ·MR. FREEDMAN:· Don't answer that.
 21· · · · · · ·MR. PASCHAL:· I'm showing you an e-mail you
 22· · · · had with Patrick Paige on March 24th 2016.
 23· · · · · · ·(Defendant's Exhibit No. 18 was
 24· · · · · · ·marked for identification.)
 25


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 ·1· ·BY MR. PASCHAL:
 ·2· · · · Q.· ·In the e-mail you say "hey Patrick, I haven't
 ·3· ·heard back from you about the hosting file stuff.
 ·4· ·Anyway, there is another issue I was wondering if you
 ·5· ·can help me with.· I'm trying to locate any documents
 ·6· ·related to the W&K business Dave operated.· I remember
 ·7· ·we had a conversation at Dave's house shortly after he
 ·8· ·passed away.· You were mentioning to me how my dad was
 ·9· ·asking for the return of a file cabinet he bought for
 10· ·Dave and you said something like what does your dad need
 11· ·another file cabinet.· I was like I don't know I guess
 12· ·he just wants it because he bought it.· Of course I
 13· ·didn't think anything of it at the time but it just
 14· ·donned on me maybe inside that cabinet is where Dave
 15· ·stored his W&K related stuff.· You didn't possibly come
 16· ·across any papers mentioning W&K."· Do you remember this
 17· ·e-mail?
 18· · · · A.· ·Yes.
 19· · · · Q.· ·Did you ever recover that file cabinet?
 20· · · · A.· ·No.
 21· · · · Q.· ·Did you ever see what was in that file
 22· ·cabinet?
 23· · · · A.· ·No.
 24· · · · Q.· ·Why did you believe that Dave may have kept
 25· ·his W&K stuff in that file cabinet?


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 ·1· · · · · · ·MR. FREEDMAN:· Objection.
 ·2· · · · · · ·THE WITNESS:· I didn't know what was kept in
 ·3· · · · the file cabinet.
 ·4· ·BY MR. PASCHAL:
 ·5· · · · Q.· ·Well, I'm asking -- so --
 ·6· · · · A.· ·I wanted to determine what was --
 ·7· · · · · · ·MR. FREEDMAN:· There's no question pending,
 ·8· · · · Ira.
 ·9· ·BY MR. PASCHAL:
 10· · · · Q.· ·Are there any documents showing or any
 11· ·documents evidencing or supporting your belief that W&K
 12· ·documents may have been inside that cabinet?
 13· · · · A.· ·No.
 14· · · · · · ·MR. PASCHAL:· I'm showing you an e-mail with
 15· · · · Patrick Paige on March 17, 2017.
 16· · · · · · ·(Defendant's Exhibit No. 19 was
 17· · · · · · ·marked for identification.)
 18· ·BY MR. PASCHAL:
 19· · · · Q.· ·If you go on the second page on March 28th
 20· ·2016 Patrick Paige says "what would Appriver support do
 21· ·for us," question mark.· "Also I found the original
 22· ·court mailing about W&K.· Has a case number, see
 23· ·attached."
 24· · · · · · ·You respond -- you respond by saying I don't
 25· ·know -- only relevant part is when did you find that W&K


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 ·1· ·filing question mark.· Were you ever contacted by the
 ·2· ·girl Uyen that took over David's position as director
 ·3· ·for W&K?· Patrick responds "I just found the filing
 ·4· ·today and I was looking for something else.· I was never
 ·5· ·contacted by anyone about W&K and never heard the girl."
 ·6· · · · · · ·Then you respond on the first sentence in the
 ·7· ·next e-mail responding to Patrick "can you keep the
 ·8· ·letter and envelope in a safe place for me?· I would
 ·9· ·like to check it out some time."
 10· · · · · · ·Then Patrick responds "yes, I will keep it.
 11· ·It seems weird that the address of the envelope is
 12· ·handwritten considering it came from the Supreme Court."
 13· ·How did Patrick get the original envelope from the
 14· ·Australian case?
 15· · · · · · ·MR. FREEDMAN:· Objection.
 16· ·BY MR. PASCHAL:
 17· · · · Q.· ·Strike that.· Do you know where Patrick found
 18· ·the original court mailing about W&K?
 19· · · · A.· ·I assume it would be to the mailing address --
 20· ·the Computer Forensics mailing address that they shared.
 21· · · · Q.· ·Was that the address that was listed for W&K
 22· ·on SunBiz.org as the registered agent?
 23· · · · A.· ·I would have to check.· I don't remember what
 24· ·that address is.
 25· · · · Q.· ·Could this envelope had been -- you sent this


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 ·1· ·e-mail four days after you asked about the file cabinet.
 ·2· ·Could this envelope have been in the file cabinet?
 ·3· · · · A.· ·I never asked Patrick where he found it.
 ·4· · · · Q.· ·Did you ever recover the envelope from
 ·5· ·Patrick?
 ·6· · · · A.· ·No, I think he just e-mailed me like a scan of
 ·7· ·it.
 ·8· · · · Q.· ·What was the document?· What was the contents
 ·9· ·of the document?
 10· · · · A.· ·I would have to look at it.· I don't remember.
 11· · · · Q.· ·Was it the statement of claim in Australia?
 12· · · · A.· ·I would have to look at it.· I remember seeing
 13· ·like an envelope but I don't remember what the contents
 14· ·inside of it was.
 15· · · · Q.· ·So is it fair to say that something was mailed
 16· ·from Australia with the W&K court case to a mailing
 17· ·address in Palm Beach from either Computer Forensics or
 18· ·Dave's house?
 19· · · · · · ·MR. FREEDMAN:· Objection.
 20· · · · · · ·THE WITNESS:· Again I would have to go look at
 21· · · · it to make sure what it was.
 22· ·BY MR. PASCHAL:
 23· · · · Q.· ·Well, in your Second Amended Complaint you
 24· ·allege that W&K was never served with the filings in the
 25· ·Australian court.· Do you recall that?


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 ·1· · · · A.· ·I believe --
 ·2· · · · · · ·MR. FREEDMAN:· Objection.
 ·3· · · · · · ·THE WITNESS:· I believe so.
 ·4· ·BY MR. PASCHAL:
 ·5· · · · Q.· ·Did you make the allegation -- well,
 ·6· ·obviously -- you sent this e-mail before you made that
 ·7· ·allegation; correct?
 ·8· · · · A.· ·I think so.
 ·9· · · · Q.· ·And you never bothered -- sorry, you never
 10· ·read that document before you filed the complaint?
 11· · · · · · ·MR. FREEDMAN:· Objection.
 12· · · · · · ·THE WITNESS:· I'm pretty sure I did.
 13· ·BY MR. PASCHAL:
 14· · · · Q.· ·But you just don't remember what it says?
 15· · · · A.· ·I don't remember now.· I have to look at it.
 16· · · · Q.· ·Just earlier I asked you about two homes you
 17· ·had.· I think one was on                                  that's the one you
 18· ·you live in now?
 19· · · · A.· ·Yes.
 20· · · · Q.· ·Then you had one on                                  ?
 21· · · · A.·                              .
 22· · · · Q.· ·You didn't sell your first home when you
 23· ·purchased your second home; right?
 24· · · · A.· ·Correct.
 25· · · · Q.· ·You kept it until about 2018?


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 ·1· · · · A.· ·I would have to check.· Possibly.
 ·2· · · · Q.· ·On your second home there's no mortgage
 ·3· ·recorded for that house?
 ·4· · · · · · ·MR. FREEDMAN:· Don't answer the question.
 ·5· · · · · · ·MR. PASCHAL:· On what basis?
 ·6· · · · · · ·MR. FREEDMAN:· What basis are you asking?
 ·7· · · · Where does this tie into your topics?
 ·8· · · · · · ·MR. PASCHAL:· Several of my topics.
 ·9· · · · · · ·MR. FREEDMAN:· Which one of them, name one?
 10· · · · · · ·MR. PASCHAL:· Goes to the administration of
 11· · · · the estate and goes into --
 12· · · · · · ·MR. FREEDMAN:· Whether or not Ira Kleiman has
 13· · · · a mortgage on his house goes to the administration?
 14· · · · · · ·MR. PASCHAL:· That's my question.
 15· · · · · · ·MR. FREEDMAN:· I instruct him not to answer
 16· · · · unless you can convince me it comes into a topic.
 17· · · · · · ·MS. MCGOVERN:· We're just going to make the
 18· · · · record.
 19· ·BY MR. PASCHAL:
 20· · · · Q.· ·Are there any documents showing where the
 21· ·source of funds came to purchase the second home?
 22· · · · · · ·MR. FREEDMAN:· Don't answer.
 23· ·BY MR. PASCHAL:
 24· · · · Q.· ·Did you purchase that home two or three weeks
 25· ·after Craig first reached out to you?


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 ·1· · · · A.· ·I would have to check.· I don't remember.
 ·2· · · · Q.· ·Would it sound about right if you purchased
 ·3· ·that home -- the finalized closing was in March of 2014?
 ·4· · · · · · ·MR. FREEDMAN:· Objection.
 ·5· · · · · · ·THE WITNESS:· I would have to check.· I know
 ·6· · · · it was 2014.
 ·7· ·BY MR. PASCHAL:
 ·8· · · · Q.· ·Then Craig first reached out to you in about
 ·9· ·February 2014?
 10· · · · A.· ·Right.
 11· · · · Q.· ·Telling you about Bitcoin?
 12· · · · A.· ·Yes.
 13· · · · Q.· ·You paid $450,000 cash for that house?
 14· · · · · · ·MR. FREEDMAN:· Objection, don't answer.
 15· ·BY MR. PASCHAL:
 16· · · · Q.· ·Did the purchase of that house have anything
 17· ·to do with the administration of the estate or Bitcoin?
 18· · · · A.· ·No.
 19· · · · Q.· ·Do you have documents reflecting that?
 20· · · · · · ·MR. FREEDMAN:· Objection.· You can answer.
 21· · · · · · ·THE WITNESS:· Showing that it didn't have
 22· · · · anything to do with --
 23· ·BY MR. PASCHAL:
 24· · · · Q.· ·Yes.· That the source of funds for that house
 25· ·did not come from Dave's possession, Bitcoin?


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 ·1· · · · A.· ·I probably do.
 ·2· · · · Q.· ·What documents would that be?
 ·3· · · · A.· ·I guess a check written by myself for the
 ·4· ·house.
 ·5· · · · Q.· ·What about the underlying funds for that
 ·6· ·check?
 ·7· · · · · · ·MR. FREEDMAN:· Objection.· I don't understand
 ·8· · · · your question and it's touching on this area I've
 ·9· · · · been instructing him not to answer so could you try
 10· · · · to clarify what you mean?
 11· ·BY MR. PASCHAL:
 12· · · · Q.· ·Were there any documents to show that the
 13· ·underlying funds to write a $450,000 check for that
 14· ·house are there any documents showing it didn't come
 15· ·from Dave's estate, from Bitcoin, from Dave's
 16· ·possession?
 17· · · · · · ·MR. FREEDMAN:· So I don't want to instruct him
 18· · · · not to answer if I can avoid it.· The problem is
 19· · · · you're asking him about proving a negative.· Are
 20· · · · you asking whether -- obviously you don't have to
 21· · · · adopt my formulation just to see if I can get you
 22· · · · the information you want.· Are you asking whether
 23· · · · there's documents that identify where the funds
 24· · · · actually came from?
 25· · · · · · ·MR. PASCHAL:· I've asked that you've told him


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 ·1· · · · not to answer so I'm asking a different one.
 ·2· · · · · · ·MR. FREEDMAN:· If you ask if there are
 ·3· · · · documents that exist to show where the funds came
 ·4· · · · from I'll allow him to answer.
 ·5· · · · · · ·MR. PASCHAL:· Can you repeat my question,
 ·6· · · · Mr. Court reporter, and then you can answer?
 ·7· · · · · · ·(Thereupon, a portion of the record
 ·8· · · · · · ·was read back by the reporter.)
 ·9· · · · · · ·MR. FREEDMAN:· Don't answer.
 10· ·BY MR. PASCHAL:
 11· · · · Q.· ·Are there any documents showing the source of
 12· ·the funds to purchase the house came from?
 13· · · · A.· ·I imagine yes, there should be.
 14· · · · Q.· ·What documents would those be?
 15· · · · · · ·MR. FREEDMAN:· You can describe the types of
 16· · · · documents.· Don't go beyond that.
 17· · · · · · ·THE WITNESS:· Checks.
 18· ·BY MR. PASCHAL:
 19· · · · Q.· ·That's it?
 20· · · · A.· ·Yes.· Personal checks.
 21· · · · Q.· ·Did the purchase of the house have anything to
 22· ·do with the financing of this lawsuit?
 23· · · · A.· ·No.
 24· · · · · · ·MR. PASCHAL:· I think we're almost done so can
 25· · · · we take a break?


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 ·1· · · · · · ·MR. FREEDMAN:· Sure.
 ·2· · · · · · ·THE VIDEOGRAPHER:· The time is now 2:38 p.m.
 ·3· · · · and we're off the record.
 ·4· · · · · · ·(Thereupon, a brief recess was taken.)
 ·5· · · · · · ·THE VIDEOGRAPHER:· The time is 2:49 p.m. and
 ·6· · · · we're back on the record.
 ·7· ·BY MR. PASCHAL:
 ·8· · · · Q.· ·Ira, could you go back to your second amended
 ·9· ·complaint and that's probably Exhibit 2 or 3?
 10· · · · · · ·MR. FREEDMAN:· 2.
 11· ·BY MR. PASCHAL:
 12· · · · Q.· ·Can you go to page 46.· From 46 to 47 you
 13· ·allege that Dr. Wright stole or committed theft of
 14· ·Dave's Bitcoin, forked assets and intellectual
 15· ·properties.· Do you see that?
 16· · · · A.· ·Yes.
 17· · · · Q.· ·Ira, you don't have any documents showing that
 18· ·Dr. Wright stole Dave's Bitcoin, do you?
 19· · · · · · ·MR. FREEDMAN:· Objection.
   · · · · · · ·THE WITNESS:· Documents?· Well, I have
 20·
   · · · · documents that lead me to believe that he stole
 21·
 22· · · · Dave's Bitcoin.
 23· ·BY MR. PASCHAL:
 24· · · · Q.· ·Well, let me break that down in two parts.· Do
 25· ·you have documents that actually show that Dr. Wright


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 ·1· ·stole Dave's Bitcoin?
 ·2· · · · · · ·MR. FREEDMAN:· Objection.
 ·3· · · · · · ·THE WITNESS:· I don't have like a document
 ·4· · · · with the kind of evidence like showing that he
 ·5· · · · withdrew funds like from a bank account, no.
 ·6· · · · Nothing like that, no.
 ·7· ·BY MR. PASCHAL:
 ·8· · · · Q.· ·What documents led you to believe that
 ·9· ·Dr. Wright stole from Dave?
 10· · · · A.· ·Lots of e-mails from Craig Wright.
 11· · · · Q.· ·Are the e-mails that you produced to us?
 12· · · · A.· ·Should be.
 13· · · · Q.· ·In none of those e-mails does Dr. Wright say I
 14· ·took Dave's Bitcoin; right?
 15· · · · A.· ·He may not have said that, no.· I would
 16· ·imagine he wouldn't say that.
 17· · · · Q.· ·Other than communications with Craig do you
 18· ·have any other documents evidencing that Dr. Wright
 19· ·stole Bitcoin from Dave?
 20· · · · A.· ·I would have to check.· I don't know off the
 21· ·top of my head.
 22· · · · Q.· ·Sitting here today do you have any knowledge
 23· ·of any documents that evidence that Dr. Wright stole
 24· ·Bitcoin from Dave?
 25· · · · A.· ·Again I would have to go back and look at all


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 ·1· ·my documents.
 ·2· · · · Q.· ·Right now today can you recall any of them?
 ·3· · · · A.· ·At this moment, no.
 ·4· · · · Q.· ·Do you have testimony from anyone or
 ·5· ·statements saying that -- or evidencing that Dr. Wright
 ·6· ·stole Bitcoin or intellectual property from Dave?
 ·7· · · · A.· ·Testimony from other people?
 ·8· · · · Q.· ·Or statements.
 ·9· · · · A.· ·Not that I remember.
 10· · · · Q.· ·So today in this deposition you can't recall
 11· ·any testimony or documents?
 12· · · · A.· ·No.
 13· · · · Q.· ·That last question to be clear is about
 14· ·Bitcoin and intellectual property?
 15· · · · · · ·MR. FREEDMAN:· Objection.
 16· · · · · · ·THE WITNESS:· Okay.
 17· ·BY MR. PASCHAL:
 18· · · · Q.· ·The answer is still the same; right?
 19· · · · A.· ·Yes.
 20· · · · Q.· ·The answer is no?
 21· · · · A.· ·No.
 22· · · · · · ·MR. PASCHAL:· I think that's about it.
 23· · · · · · ·MR. FREEDMAN:· Okay.
 24· · · · · · ·THE VIDEOGRAPHER:· Read or waive?
 25· · · · · · ·MR. FREEDMAN:· We'll read.


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 ·1· · · · THE VIDEOGRAPHER:· The time is now 2:54 p.m
 ·2· ·and this concludes the video deposition.· We're off
 ·3· ·the record.
 ·4· · · · THE COURT REPORTER:· Do you want to order?
 ·5· · · · MR. PASCHAL:· Yes.
 ·6· · · · MR. FREEDMAN:· Take a copy as well.
 ·7· · · · MR. PASCHAL:· As soon as possible.
 ·8· · · · MR. ROCHE:· Can we get a rough of that?
 ·9· · · · THE COURT REPORTER:· Yes.
 10· · · · MR. ROCHE:· You guys as well?
 11· · · · MR. PASCHAL:· Yes.
 12· · · · · · · · ·(Witness excused.)
 13· · · · · · (Deposition was concluded.)
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       IRA KLEIMAN on 04/08/2019                                            Page 151

 ·1

 ·2· · · · · · · · CERTIFICATE OF REPORTER

 ·3· · · · · · ·THE STATE OF FLORIDA

 ·4· · · · · · ·COUNTY OF DADE

 ·5

 ·6·   · · · I, Rick Levy, Registered Professional Reporter
 · ·   ·and Notary Public in and for the State of Florida at
 ·7·   ·large, do hereby certify that I was authorized to
 · ·   ·and did report said deposition in stenotype of IRA
 ·8·   ·KLEIMAN; and that the foregoing pages, numbered from
 · ·   ·1 to 148, inclusive, are a true and correct
 ·9·   ·transcription of my shorthand notes of said
 · ·   ·deposition.
 10
 · ·   · · · I further certify that said deposition was
 11·   ·taken at the time and place hereinabove set forth
 · ·   ·and that the taking of said deposition was commenced
 12·   ·and completed as hereinabove set out.

 13·   · · · I further certify that I am not attorney or
 · ·   ·counsel of any of the parties, nor am I a relative
 14·   ·or employee of any attorney or counsel of party
 · ·   ·connected with the action, nor am I financially
 15·   ·interested in the action.

 16·   · · · The foregoing certification of this transcript
 · ·   ·does not apply to any reproduction of the same by
 17·   ·any means unless under the direct control and/or
 · ·   ·direction of the certifying reporter.
 18
 · ·   · · · IN WITNESS WHEREOF, I have hereunto set my hand
 19·   ·this 10TH day of April, 2019.

 20
 · ·   · · · ·_____________________________________
 21
 · ·   ·   ·   ·   ·   Rick Levy, RPR, FPR, Notary Public
 22·   ·   ·   ·   ·   in and for the State of Florida
 · ·   ·   ·   ·   ·   My Commission Expires:· 12/7/19
 23·   ·   ·   ·   ·   My Commission No.:· FF 939483.

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 ·1· · · · · · · · · · · · · CERTIFICATE OF OATH

 ·2· ·THE STATE OF FLORIDA

 ·3· · · · · · ·COUNTY OF DADE

 ·4

 ·5· · · · I, Rick Levy, REGISTERED PROFESSIONAL REPORTER,

 ·6· ·Notary Public, State of Florida, certify that IRA

 ·7· ·KLEIMAN personally appeared before me on the 8th day

 ·8· ·of April, 2019 and was duly sworn.

 ·9

 10· · · · · · ·Signed this 11th day of April, 2019.

 11

 12

 13

 14
 · ·   · · · · · · · ·_________________________________
 15
 · ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·    ·Rick Levy, RPR, FPR
 16·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·    ·Notary Public - State of Florida
 · ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·    ·My Commission Expires:· 12/7/19
 17·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·    ·My Commission No.:· FF 939483

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 ·1· · · · · · · ·E R R A T A· ·S H E E T

 ·2· ·IN RE:· IRA KLEIMAN VS CRAIG WRIGHT

 ·3· ·DEPOSITION OF:· IRA KLEIMAN

 ·4· ·TAKEN: 4/8/2019

 ·5· · · ·DO NOT WRITE ON TRANSCRIPT - ENTER CHANGES HERE

 ·6· ·PAGE #· LINE #· ·CHANGE· · · · · · · ·REASON

 ·7· ·_____________________________________________________

 ·8· ·_____________________________________________________

 ·9· ·_____________________________________________________

 10· ·_____________________________________________________

 11· ·_____________________________________________________

 12· ·_____________________________________________________

 13· ·_____________________________________________________

 14· ·_____________________________________________________

 15· ·_____________________________________________________

 16· ·_____________________________________________________

 17· ·Please forward the original signed errata sheet to
 · · ·this office so that copies may be distributed to all
 18· ·parties.

 19·   ·Under penalty of perjury, I declare that I have read
 · ·   ·my deposition and that it is true and correct
 20·   ·subject to· ·any changes in form or substance
 · ·   ·entered here.
 21

 22· ·DATE: ________________________

 23

 24· ·SIGNATURE OF
 · · ·DEPONENT:_________________________________
 25


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 ·1· ·DATE:· · · April 11, 2019

 ·2·   ·TO:·    VEL FREEDMAN, ESQUIRE
 · ·   · · ·    BOIES, SCHILLER & FLEXNER LLP
 ·3·   · · ·    100 S.E. 2nd Street
 · ·   · · ·    Suite 2800
 ·4·   · · ·    Miami, Florida 33131

 ·5· ·IN RE: IRA KLEIMAN VS CRAIG WRIGHT

 ·6· ·Dear Mr. Freedman:

 ·7·   ·Enclosed please find the original errata page with
 · ·   ·your copy of the transcript so IRA KLEIMAN may read
 ·8·   ·and sign their transcript.· Please have him/her make
 · ·   ·whatever changes are necessary on the errata page
 ·9·   ·and sign it.· Then place the original errata page
 · ·   ·back into the original transcript.· Please then
 10·   ·forward the original errata page back to our office
 · ·   ·@1080 Woodcock Road, Suite 100, Orlando, Florida
 11·   ·32803.

 12·   ·If the errata page is not signed by the witness
 · ·   ·within 30 days after this letter has been furnished,
 13·   ·we will then process the transcript without a signed
 · ·   ·errata page.· If your client wishes to waive their
 14·   ·right to read and sign, please have him/her sign
 · ·   ·their name at the bottom of this letter and send it
 15·   ·back to the office.

 16· · · · Your prompt attention to this matter is

 17· ·appreciated.

 18· ·Sincerely,

 19·   ·__________________________________
 · ·   ·RICK E. LEVY, RPR
 20
 · ·   ·I do hereby waive my signature:
 21
 · ·   ·___________________________________
 22·   ·IRA KLEIMAN

 23· ·cc via transcript:· Bryan Paschal, Esq.
 · · · · · · · · · · · · ·Vel Freedman, Esq.
 24· ·file copy

 25


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             Defendant's Designations
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             Plaintiffs' Objections
                           j
             Plaintiffs' Counters
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                              Plaintiffs conditionally withdraw the counters on
                              9:7-10:5 if pending MIL on Dave & Ira Kleiman's
                              relationship is granted.
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                              Plaintiffs conditionally withdraw the counters on
                              10:9-10:12 if pending MIL on Dave & Ira Kleiman's
                              relationship is granted.
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                           Plaintiffs conditionally withdraw the counters on
                           L.6-16 if pending MIL on Dave & Ira Kleiman's
                           relationship is granted.
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